Case 1:23-cv-00326-LMB-LRV   Document 26-5   Filed 04/12/23   Page 1 of 166 PageID#
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     1:23-cv-00326-LMB-LRV
        1:23-cv-00476-LMB-LRV Document
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                                                    04/12/23
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                                                                1 of 7
                                                                     2 PageID#
                                                                       of 166 PageID#
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                             UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF VIRGINIA
                                  ALEXANDRIA DIVISION


   ERIC MISSIMER,

                           Plaintiff,
           vs.                                       Case No.:

   DARK CIRCUIT LABS, INC.,

                           Defendants.

                         NOTICE OF AND PETITION FOR REMOVAL

  TO:    THE HONORABLE JUDGES OF THE UNITED STATES DISTRICT COURT FOR THE
         EASTERN DISTRICT OF VIRGINIA, ALEXANDRIA DIVISION

         Defendant Dark Circuit Labs, Inc. (hereinafter “DCL”) pursuant to 28 U.S.C. §§ 1441 and

  1446, hereby removes the action captioned Eric Missimer v. Dark Circuit Labs, Inc., Civil Case

  No. 2023-5543, now pending in the Circuit Court of Virgnia, Fairfax County, to the United States

  District Court for the Eastern District of Virginia, Alexandria Division. In support of this Notice

  of and Petition for Removal, DCL states:

                  The Procedural Requirements for Removal Have Been Satisfied

         1.       On April 7, 2023, Plaintiff Eric Missimer (“Missimer”) filed an action against DCL

  in the Circuit Court of Virginia, Fairfax County (the “State Complaint”).

         2.       A true and correct copy of the State Complaint, dated April 7, 2023, and exhibits

  thereto are attached hereto and incorporated as Exhibit 1.

         3.       Neither the State Complaint nor a Summons in Missimer’s state court action have

  been served upon DCL.

         4.       This Notice of Removal in being served within the time limitation of 28 U.S.C.

  § 1446(b)(1).
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     1:23-cv-00326-LMB-LRV
        1:23-cv-00476-LMB-LRV Document
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                                                    04/12/23
                                                           PagePage
                                                                2 of 7
                                                                     3 PageID#
                                                                       of 166 PageID#
                                                                                175
                                       880



          5.      Simultaneously with the filing of this Notice of and Petition for Removal, pursuant

  to 28 U.S.C. § 1446(d), DCL served a Notice of Removal upon Missimer’s counsel and filed a

  copy of such Notice of Removal with the Clerk of the Circuit Court of Virginia, Fairfax County.

                               Diversity Jurisdiction – 28 U.S.C. § 1332

          6.      A true and correct copy of the First Amended Verified Complaint, dated March 23,

  2023, filed by DCL, as a plaintiff, against Missimer as a defendant, entitled, Dark Circuit Labs,

  Inc. v. Black Sails Security, LLC, John Carpenter, Eric Missimer, Michael Frank, and Keith

  Haddock, Civil Action No. 1:23-cv-00326- LMB-LRV, pending within the United States District

  Court for the Eastern District of Virginia, Alexandria Division, is attached hereto and incorporated

  as Exhibit 2 (the “Federal Complaint”).

          7.      A true and correct copy of Missimer’s Form W-4, executed by Missimer on

  November 3, 2021, providing Missimer’s address as 237 West Street, Mansfield, Massachusetts

  02048, is attached hereto and incorporated as Exhibit 3.

          8.      A true and correct copy of a paystub issued to Missimer, dated December 30, 2022,

  utilizing the same Massachusetts address on Missmer’s Form W-4, is attached hereto and

  incorporated as Exhibit 4.

          9.      This Court has subject matter jurisdiction based on diversity of citizenship under

  28 U.S.C. § 1332(a) because Missimer is a citizen of the Commonwealth of Massachusetts and

  DCL is incorporated under the laws of the State of Delaware and is headquartered in the

  Commonwealth of Virginia, (see Exhibit 2, ¶¶ 2-3; Exhibits 3 and 4), and the amount in

  controversy is far beyond the $75,000 threshold, not counting interest and costs of court. (See

  Exhibit 1, at pg. 10). Therefore, because both diversity of the parties and the damages threshold

  is present, this Court has diversity jurisdiction.




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        1:23-cv-00476-LMB-LRV Document
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                                                    04/12/23
                                                           PagePage
                                                                3 of 7
                                                                     4 PageID#
                                                                       of 166 PageID#
                                                                                176
                                       881



                   Entire Controversy Doctrine and Supplemental Jurisdiction

            10.   This Court also has jurisdiction over this matter pursuant to the entire controversy

  doctrine and principles of supplemental jurisdiction, because, among other reasons, a common

  nucleus of operative facts exists between the State Complaint and Federal Complaint.

            11.   28 U.S.C. § 1367(a) provides that a court has supplemental jurisdiction over claims

  “that are so related to the claims in the action within such original jurisdiction that they form part

  of the same case or controversy under Article III of the United States Constitution.”

            12.   Claims are considered part of the same case or controversy when they “derived

  from a common nucleus of operative fact.” United Mine Workers v. Gibbs, 383 U.S. 715, 725

  (1966).

            13.   “Most federal courts require only a ‘loose factual connection between the claims’

  to satisfy the requirement that the claims arise from a common nucleus of operative fact.” Nicol v.

  Imagematrix, Inc., 767 F. Supp. 744, 748 (E.D. Va. 1991) (quoting 13B Wright & Miller, Federal

  Practice & Procedure, § 3567.1, at 117 (1984)).

            14.   Missimer’s State Complaint alleges claims arising out of his shareholder and

  employment status with DCL involving: (1) Breach of Contract; (2) the Virgnia Wage Payment

  Act, Va. Code § 40.1-29 (“VWPA”); (3) the Virginia Whistleblower Protection Law, Va. Code

  § 40.1-27.3 (“VWPL”); and (4) Declaratory Judgment, Va. Code § 8.01-184. (See Exhibit 1).

            15.   Specifically, Missimer alleges in his State Complaint, inter alia, that DCL breached

  its obligations to him under a Shareholders Agreement, executed by Missimer on November 3,

  2021, (compare Exhibit 1 at ¶ 6, annexing Ex. A with Exhibit 2 at ¶42, annexing Ex. A), and

  that Missimer was subjected to retaliatory conduct during his employment with DCL such as




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     1:23-cv-00326-LMB-LRV
        1:23-cv-00476-LMB-LRV Document
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                                                    04/12/23
                                                           PagePage
                                                                4 of 7
                                                                     5 PageID#
                                                                       of 166 PageID#
                                                                                177
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  reducing his salary and retaliatory termination by DCL when it terminated his employment on or

  about March 6, 2023. (See Exhibit 1).

         16.     DCL’s legitimate, non-retaliatory reason for reducing his salary and Missimer’s

  termination, which is the subject of DCL’s defenses to the State Complaint, is founded directly

  upon DCL’s allegations in the Federal Complaint that Missimer and the other Defendants, toward

  the end of 2022, if not sooner, misappropriated DCL’s Trade Secrets, which are protected under

  the Defend Trade Secrets Act (“DTSA”), see 18 U.S.C. § 1836(c) (“The district court of the United

  States shall have original jurisdiction of civil actions brought under this section”), and which are

  products or service used in, or intended for use in, interstate or foreign commerce, in that its

  clients/customers and employees are located throughout the United States, its products or services

  are utilized throughout the United States and it obtains goods and services from vendors

  throughout the United States and beyond. (See Exhibit 2¶¶ 1, 40, 211-224). DCL further asserts

  factual allegations regarding Missimer’s conduct that led to his termination in the Federal

  Complaint that are directly related to the claims asserted by Missimer against DCL in the State

  Complaint. (See Exhibit 2¶¶ 89, 101, 138-140).

         17.     As DCL’s defenses to Missimer’s claims in the State Complaint are directly

  dependent on DCL’s allegations against Missimer in the Federal Complaint, which will require

  analysis of the DTSA and alleged breaches of the same Shareholder Agreement that is annexed to

  both the State Complaint and Federal Complaint, (compare Exhibit 1 at ¶ 6, annexing Ex. A with

  Exhibit 2 at ¶42, annexing Ex. A), the State Complaint and Federal Complaint arise from a

  common nucleus of operative facts and the State Court Complaint is therefore removable.




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        1:23-cv-00476-LMB-LRV Document
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                                                           PagePage
                                                                5 of 7
                                                                     6 PageID#
                                                                       of 166 PageID#
                                                                                178
                                       883



                                      Non-Waiver of Defenses

         18.     By removing this action from the Circuit Court of Virginia, Fairfax County, DCL

  does not admit any of the allegations in Missimer’s Complaint.

                                                Venue

         19.     Venue is proper, pursuant to 28 U.S.C. § 1391(b)(2), as a substantial part of the

  events giving rise to the claims in the State Complaint occurred within the jurisdiction of this

  judicial district, because the State Complaint concerns the employment of Missimer at DCL, which

  is headquartered in Reston, Virginia, and the Shareholder Agreement that is annexed to both the

  State Complaint and Federal Complaint mandates (i) that Virginia law would apply, and (ii) that

  all actions would be brought in the state or federal courts of Virginia. (Compare Exhibit 1 at ¶ 6,

  annexing Ex. A with Exhibit 2 at ¶42, annexing Ex. A).

                                           Relief Requested

         WHEREFORE, DCL prays this Honorable Court will take jurisdiction of this action and

  issue all necessary orders and process to remove said action from the Circuit Court of Virginia,

  Fairfax County, to the United States District Court for the Eastern District of Virginia.

  Dated: April 11, 2023                         Respectfully submitted,

                                                __________________________________
                                                Steven J. Weber, VSB No. 35573
                                                Gregory R. Begg, Pro Hac Vice (pending)
                                                Lauren Rayner Davis, Pro Hac Vice (pending)
                                                Peckar & Abramson, P.C.
                                                2055 L Street, NW, Suite 750
                                                Washington, DC 20036
                                                Telephone: (202) 293-8815
                                                Facsimile: (202) 293-7994
                                                SWeber@pecklaw.com
                                                GBegg@pecklaw.com
                                                LDavis@pecklaw.com
                                                Attorneys for Defendant Dark Circuit Labs, Inc.




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     1:23-cv-00326-LMB-LRV
        1:23-cv-00476-LMB-LRV Document
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                                                 04/12/23
                                                    04/12/23
                                                           PagePage
                                                                6 of 7 PageID#
                                                                       of 166 PageID#
                                                                                179
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                                          CERTIFICATION

         I, STEVEN J. WEBER, counsel for Defendant Dark Circuit Labs, Inc., a Delaware

  corporation, certify that the matter in controversy is the subject of another pending matter entitled,

  Dark Circuit Labs, Inc. v. Black Sails Security, LLC, et al., Civil Action No. 1:23-cv-00326-TSE-

  LRV, pending within the United States District Court for the Eastern District of Virginia,

  Alexandria Division. However, this action is not the subject of any other pending arbitration or

  administrative proceeding.


  Dated: April 11, 2023
                                                    Steven J. Weber, VSB No. 35573




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        1:23-cv-00476-LMB-LRV Document
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                                                    04/12/23
                                                           PagePage
                                                                7 of 7
                                                                     8 PageID#
                                                                       of 166 PageID#
                                                                                180
                                       885



                                   CERTIFICATE OF SERVICE

         I hereby certify that, on this date, I electronically filed the foregoing Notice of and Petition

  for Removal with the Clerk of the Court via the Eastern District of Virginia Court’s CM/ECF

  system and served a copy of Notice of and Petition for Removal via electronic mail and Federal

  Express upon counsel for Plaintiff as follows:

         Broderick C. Dunn, Esq.
         COOK CRAIG & FRANCUZENKO, PLLC
         3050 Chain Bridge Road, Suite 200
         Fairfax, VA 22030
         (703) 865-7480
         bdunn@cookcraig.com
         Attorneys for Plaintiff Eric Missimer

  Dated: April 11, 2023
                                                    Steven J. Weber, VSB No. 35573




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The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)
I. (a) PLAINTIFFS                                                                                        DEFENDANTS
         ERIC MISSIMER                                                                                   DARK CIRCUIT LABS, INC.
   (b) County of Residence of First Listed Plaintiff             Bristol County, MA                      County of Residence of First Listed Defendant              Fairfax County, VA
                                (EXCEPT IN U.S. PLAINTIFF CASES)                                                                (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                         NOTE:      IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                    THE TRACT OF LAND INVOLVED.

   (c) Attorneys (Firm Name, Address, and Telephone Number)                                               Attorneys (If Known)

         COOK CRAIG & FRANCUZENKO, PLLC                                                                  PECKAR & ABRAMSON, P.C.

II. BASIS OF JURISDICTION (Place an “X” in One Box Only)                                     III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
                                                                                                      (For Diversity Cases Only)                                    and One Box for Defendant)
  1    U.S. Government                 3   Federal Question                                                                    PTF        DEF                                         PTF      DEF
         Plaintiff                           (U.S. Government Not a Party)                      Citizen of This State            1          1      Incorporated or Principal Place         4     4
                                                                                                                                                     of Business In This State

  2    U.S. Government                 4   Diversity                                            Citizen of Another State            2          2   Incorporated and Principal Place           5         5
         Defendant                           (Indicate Citizenship of Parties in Item III)                                                           of Business In Another State

                                                                                                Citizen or Subject of a             3          3   Foreign Nation                             6         6
                                                                                                  Foreign Country
IV. NATURE OF SUIT (Place an “X” in One Box Only)                                                                                   Click here for: Nature of Suit Code Descriptions.
          CONTRACT                                               TORTS                            FORFEITURE/PENALTY                       BANKRUPTCY                       OTHER STATUTES
  110 Insurance                      PERSONAL INJURY                  PERSONAL INJURY              625 Drug Related Seizure             422 Appeal 28 USC 158             375 False Claims Act
  120 Marine                         310 Airplane                    365 Personal Injury -             of Property 21 USC 881           423 Withdrawal                    376 Qui Tam (31 USC
  130 Miller Act                     315 Airplane Product                 Product Liability        690 Other                                28 USC 157                        3729(a))
  140 Negotiable Instrument               Liability                  367 Health Care/                                                     INTELLECTUAL                    400 State Reapportionment
  150 Recovery of Overpayment        320 Assault, Libel &                Pharmaceutical                                                 PROPERTY RIGHTS                   410 Antitrust
      & Enforcement of Judgment           Slander                        Personal Injury                                                820 Copyrights                    430 Banks and Banking
  151 Medicare Act                   330 Federal Employers’              Product Liability                                              830 Patent                        450 Commerce
  152 Recovery of Defaulted               Liability                  368 Asbestos Personal                                              835 Patent - Abbreviated          460 Deportation
      Student Loans                  340 Marine                          Injury Product                                                     New Drug Application          470 Racketeer Influenced and
      (Excludes Veterans)            345 Marine Product                  Liability                                                      840 Trademark                         Corrupt Organizations
  153 Recovery of Overpayment             Liability                 PERSONAL PROPERTY                       LABOR                       880 Defend Trade Secrets          480 Consumer Credit
      of Veteran’s Benefits          350 Motor Vehicle               370 Other Fraud               710 Fair Labor Standards                 Act of 2016                       (15 USC 1681 or 1692)
  160 Stockholders’ Suits            355 Motor Vehicle               371 Truth in Lending              Act                                                                485 Telephone Consumer
  190 Other Contract                     Product Liability           380 Other Personal            720 Labor/Management                  SOCIAL SECURITY                      Protection Act
  195 Contract Product Liability     360 Other Personal                  Property Damage               Relations                        861 HIA (1395ff)                  490 Cable/Sat TV
  196 Franchise                          Injury                      385 Property Damage           740 Railway Labor Act                862 Black Lung (923)              850 Securities/Commodities/
                                     362 Personal Injury -               Product Liability         751 Family and Medical               863 DIWC/DIWW (405(g))                Exchange
                                         Medical Malpractice                                           Leave Act                        864 SSID Title XVI                890 Other Statutory Actions
      REAL PROPERTY                    CIVIL RIGHTS                 PRISONER PETITIONS             790 Other Labor Litigation           865 RSI (405(g))                  891 Agricultural Acts
  210 Land Condemnation              440 Other Civil Rights          Habeas Corpus:                791 Employee Retirement                                                893 Environmental Matters
  220 Foreclosure                    441 Voting                      463 Alien Detainee                Income Security Act              FEDERAL TAX SUITS                 895 Freedom of Information
  230 Rent Lease & Ejectment         442 Employment                  510 Motions to Vacate                                              870 Taxes (U.S. Plaintiff             Act
  240 Torts to Land                  443 Housing/                        Sentence                                                            or Defendant)                896 Arbitration
  245 Tort Product Liability             Accommodations              530 General                                                        871 IRS—Third Party               899 Administrative Procedure
  290 All Other Real Property        445 Amer. w/Disabilities -      535 Death Penalty                 IMMIGRATION                           26 USC 7609                      Act/Review or Appeal of
                                         Employment                  Other:                        462 Naturalization Application                                             Agency Decision
                                     446 Amer. w/Disabilities -      540 Mandamus & Other          465 Other Immigration                                                  950 Constitutionality of
                                         Other                       550 Civil Rights                  Actions                                                                State Statutes
                                     448 Education                   555 Prison Condition
                                                                     560 Civil Detainee -
                                                                         Conditions of
                                                                         Confinement
V. ORIGIN (Place an “X” in One Box Only)
  1 Original             2 Removed from                     3     Remanded from               4 Reinstated or             5 Transferred from      6 Multidistrict                     8 Multidistrict
    Proceeding             State Court                            Appellate Court               Reopened                    Another District          Litigation -                      Litigation -
                                                                                                                            (specify)                 Transfer                          Direct File
                                       Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                                       28 U.S.C. 1332(a)
VI. CAUSE OF ACTION Brief description of cause:
                                       Breach of Contract and supplemental state law claims
VII. REQUESTED IN                           CHECK IF THIS IS A CLASS ACTION                        DEMAND $                                    CHECK YES only if demanded in complaint:
     COMPLAINT:                             UNDER RULE 23, F.R.Cv.P.                               $975,000                                    JURY DEMAND:           Yes       No
VIII. RELATED CASE(S)
                                           (See instructions):
      IF ANY                                                       JUDGE          Leonie M. Brinkema, U.S.D.J.                          DOCKET NUMBER 1:23-cv-00326- LMB-LRV
DATE                                                                 SIGNATURE OF ATTORNEY OF RECORD
04/11/2023                                                                                                                  Steven J. Weber, Esq.
FOR OFFICE USE ONLY

  RECEIPT #                     AMOUNT                                    APPLYING IFP                                    JUDGE                           MAG. JUDGE
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                                                                           Page 2 Page
                                                                                  of 2 PageID#
                                                                                        10 of 166
                                                                                                182
                                                PageID# 887
                     INSTRUCTIONS FOR ATTORNEYS COMPLETING CIVIL COVER SHEET FORM JS 44
                                                               Authority For Civil Cover Sheet

The JS 44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and service of pleading or other papers as
required by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is
required for the use of the Clerk of Court for the purpose of initiating the civil docket sheet. Consequently, a civil cover sheet is submitted to the Clerk of
Court for each civil complaint filed. The attorney filing a case should complete the form as follows:

I.(a)    Plaintiffs-Defendants. Enter names (last, first, middle initial) of plaintiff and defendant. If the plaintiff or defendant is a government agency, use
         only the full name or standard abbreviations. If the plaintiff or defendant is an official within a government agency, identify first the agency and then
         the official, giving both name and title.
  (b)    County of Residence. For each civil case filed, except U.S. plaintiff cases, enter the name of the county where the first listed plaintiff resides at the
         time of filing. In U.S. plaintiff cases, enter the name of the county in which the first listed defendant resides at the time of filing. (NOTE: In land
         condemnation cases, the county of residence of the "defendant" is the location of the tract of land involved.)
  (c)    Attorneys. Enter the firm name, address, telephone number, and attorney of record. If there are several attorneys, list them on an attachment, noting
         in this section "(see attachment)".

II.      Jurisdiction. The basis of jurisdiction is set forth under Rule 8(a), F.R.Cv.P., which requires that jurisdictions be shown in pleadings. Place an "X"
         in one of the boxes. If there is more than one basis of jurisdiction, precedence is given in the order shown below.
         United States plaintiff. (1) Jurisdiction based on 28 U.S.C. 1345 and 1348. Suits by agencies and officers of the United States are included here.
         United States defendant. (2) When the plaintiff is suing the United States, its officers or agencies, place an "X" in this box.
         Federal question. (3) This refers to suits under 28 U.S.C. 1331, where jurisdiction arises under the Constitution of the United States, an amendment
         to the Constitution, an act of Congress or a treaty of the United States. In cases where the U.S. is a party, the U.S. plaintiff or defendant code takes
         precedence, and box 1 or 2 should be marked.
         Diversity of citizenship. (4) This refers to suits under 28 U.S.C. 1332, where parties are citizens of different states. When Box 4 is checked, the
         citizenship of the different parties must be checked. (See Section III below; NOTE: federal question actions take precedence over diversity
         cases.)

III.     Residence (citizenship) of Principal Parties. This section of the JS 44 is to be completed if diversity of citizenship was indicated above. Mark this
         section for each principal party.

IV.      Nature of Suit. Place an "X" in the appropriate box. If there are multiple nature of suit codes associated with the case, pick the nature of suit code
         that is most applicable. Click here for: Nature of Suit Code Descriptions.

V.       Origin. Place an "X" in one of the seven boxes.
         Original Proceedings. (1) Cases which originate in the United States district courts.
         Removed from State Court. (2) Proceedings initiated in state courts may be removed to the district courts under Title 28 U.S.C., Section 1441.
         Remanded from Appellate Court. (3) Check this box for cases remanded to the district court for further action. Use the date of remand as the filing
         date.
         Reinstated or Reopened. (4) Check this box for cases reinstated or reopened in the district court. Use the reopening date as the filing date.
         Transferred from Another District. (5) For cases transferred under Title 28 U.S.C. Section 1404(a). Do not use this for within district transfers or
         multidistrict litigation transfers.
         Multidistrict Litigation – Transfer. (6) Check this box when a multidistrict case is transferred into the district under authority of Title 28 U.S.C.
         Section 1407.
         Multidistrict Litigation – Direct File. (8) Check this box when a multidistrict case is filed in the same district as the Master MDL docket.
         PLEASE NOTE THAT THERE IS NOT AN ORIGIN CODE 7. Origin Code 7 was used for historical records and is no longer relevant due to
         changes in statute.

VI.      Cause of Action. Report the civil statute directly related to the cause of action and give a brief description of the cause. Do not cite jurisdictional
         statutes unless diversity. Example: U.S. Civil Statute: 47 USC 553 Brief Description: Unauthorized reception of cable service.

VII.     Requested in Complaint. Class Action. Place an "X" in this box if you are filing a class action under Rule 23, F.R.Cv.P.
         Demand. In this space enter the actual dollar amount being demanded or indicate other demand, such as a preliminary injunction.
         Jury Demand. Check the appropriate box to indicate whether or not a jury is being demanded.

VIII. Related Cases. This section of the JS 44 is used to reference related pending cases, if any. If there are related pending cases, insert the docket
      numbers and the corresponding judge names for such cases.

Date and Attorney Signature. Date and sign the civil cover sheet.
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                                                                       11 of 166183
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                                        UNITED STATES DISTRICT COURT
                                     FOR THE EASTERN DISTRICT OF VIRGINIA
                                             ALEXANDRIA DIVISION


              DARK CIRCUIT LABS, INC.,

                                     Plaintiff,
                      vs.
                                                                 Case No.: 1:23-cv-00326
              BLACK SAILS SECURITY LLC, JOHN
              CARPENTER, ERIC MISSIMER,
              MICHAEL FRANK, and KEITH
              HADDOCK,

                                     Defendants.

                                     FIRST AMENDED VERIFIED COMPLAINT

                    Plaintiff Dark Circuit Labs, Inc. (hereafter “DCL” or “Plaintiff”), by and through its

             attorneys, Peckar & Abramson, P.C., as and for its First Amended Verified Complaint

             (“Complaint”) against Black Sails Security LLC (“BSS”), Eric Missimer (“Missimer”), John

             Carpenter (“Carpenter”), Michel Frank (“Frank”), and Keith Haddock (“Haddock”) (hereafter

             collectively referred to as “Defendants”) hereby alleges the following:

                                             JURISDICTION AND VENUE

                    1.      This Court has subject matter jurisdiction over actions involving the Defend Trade

             Secrets Act (“DTSA”), see 18 U.S.C. § 1836(c) (“The district court of the United States shall have

             original jurisdiction of civil actions brought under this section”). This Court has subject matter

             jurisdiction over this action because this case involves misappropriation of DCL Trade Secrets,

             which are protected under the DTSA and which are products or service used in, or intended for

             use in, interstate or foreign commerce, in that its clients/customers and employees are located

             throughout the United States, its products or services are utilized throughout the United States and

             it obtains goods and services from vendors throughout the United States and beyond. Supplemental




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                                                                                     of 166
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                                           PageID# 925



             jurisdiction over the Virginia state law claims is conferred by 28 U.S.C. § 1367(a), as such claims

             are so related in this action within such original jurisdiction that they form part of the same case

             or controversy under Article III of the United States Constitution.

                    2.      This Court also has subject matter jurisdiction based on diversity of citizenship

             under 28 U.S.C. § 1332(a) because Plaintiff DCL is incorporated under the laws of the State of

             Delaware. Defendant BSS is incorporated under the laws of Virginia and has its principal place of

             business in Virginia, Defendants Carpenter, Frank, and Haddock are citizens of Virginia, and

             Defendant Missimer is a citizen of the Commonwealth of Massachusetts. The amount in

             controversy exceeds $7,000,000, far beyond the $75,000 threshold, not counting interest and costs

             of court. Therefore, because both diversity of the parties and the damages threshold is present, this

             Court has diversity jurisdiction.

                    3.      This Court has personal jurisdiction over BSS because it is incorporated and

             headquartered in Alexandria, Virginia. This Court has personal jurisdiction over Carpenter,

             Missimer, and Frank because this action concerns the employment of Carpenter, Missimer, and

             Frank at DCL, which is headquartered in Reston, Virginia, and the employment and shareholder

             agreements at issue mandate (i) that Virginia law would apply and (ii) that all actions would be

             brought in the state or federal courts of Virginia. Additionally, Carpenter resides in Alexandria,

             Virginia, Missimer is as shareholder and Board Member of DCL which is headquartered in Reston,

             Virginia, and Frank resides in Herndon, Virginia. This Court has personal jurisdiction over

             Haddock because he resides in Winchester, Virginia which is within this judicial district and the

             events alleged with respect to Haddock and others occurred within this judicial district.

                    4.      Venue is proper, pursuant to 28 U.S.C. § 1391(b)(2), as a substantial part of the

             events giving rise to the claim, including the misappropriation of DCL Trade Secrets, in violation




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             of federal law and the statutory and common laws of the state of Virginia, occurred within the

             jurisdiction of this judicial district.

                                                       PLAINTIFF DCL

                     5.      Plaintiff DCL is a domestic business corporation duly organized and existing under

             the laws of the State of Delaware and maintains a principal place of business at 1900 Reston Metro

             Plaza, Floors 5-6, Reston, Virginia 20190.

                     6.      DCL is comprised of highly skilled software engineers, reverse engineers, and

             vulnerability researchers who possess appropriate Government security clearances to serve as a

             subcontractor to large organizations, such as Lockheed Martin, to provide cyber security

             personnel, tools, and expertise in support of the United States’ National security missions.

                     7.      The means, methods and products which DCL develops are inherently confidential,

             proprietary and constitute Trade Secrets because they contain unique and proprietary code which

             must, by its nature, be diversified and dissimilar to other software and products developed by

             others in the market.

                     8.      DCL’s current government contracts include providing software development

             services in support of National security, intelligence, and law enforcement missions and any

             enterprises that provide substantially similar services under government contracts are considered

             as competitors of DCL.

                     9.      DCL’s enterprise is incredibly niche, in that it requires deep knowledge of low level

             computer operating systems, programming languages, and advanced techniques to carry out the

             missions it is tasked with. This can include not just the inner-workings of operating systems, but

             also applied across multiple computer architectures, and programming languages needed to

             perform our tasks. The tasks can often vary in scope and require employees to have a wide breadth




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             of knowledge and often deep specializations to accomplish. The skill set requires the ability to

             reverse engineer proprietary components to understand how they operate in order to fully develop

             capabilities. Because of this, most DCL employees either have or are pursuing advanced degrees

             within the field of computer science.

                    10.       DCL is permitted to hire only U.S. citizens who have been granted and maintain an

             appropriate clearance and pass additional background checks to staff positions on the contracts

             DCL has been awarded. Often, employees must work at locations that prevent them from carrying

             personal devices such as phones or other electronics on their person, which often deters potential

             candidates from applying as they would need to be local to the area and give up common

             conveniences.

                    11.       The talent required to fully staff these positions due to the requirements outlined

             above makes the “pool” of developers a small/shallow one where reputational damage can carry a

             large lasting impact on recruiting and business development.

                    12.       DCL, through a substantial investment of time and resources, has developed a

             highly specialized package of offensive cybersecurity tools, engineers and services, which give it

             a decisive edge in the market. Carpenter, Missimer and to some degree Frank were leaders of this

             effort at DCL.

                    13.       Carpenter, Missimer, and Frank were well compensated employees of DCL;

             Missimer is also a DCL shareholder. In consideration for their compensation, Carpenter, Missimer,

             and Frank executed confidentiality, non-compete, and non-solicitation agreements, promising that

             they would do precisely what they are doing now: stealing DCL Trade Secrets, employees and

             customers, singularly and in concert with the other Defendants.




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                                  DEFENDANTS AND SUMMARY OF THIS ACTION

                    14.    Defendant BSS is a corporation duly organized and existing under the laws of the

             Commonwealth of Virginia, and maintains a principal place of business at 1610 Kenwood Avenue,

             Alexandria, Virginia 22302.

                    15.    As described in more detail below, BSS was formed as part of the Defendants’ plan

             to usurp DCL, its employees, customers and proprietary information in violation of the DTSA, in

             violation of contracts between DCL, Missimer, Carpenter, and Frank, and in violation of Virginia

             statutory and common law.

                    16.    Missimer has been a shareholder of DCL and Member of the Board of Directors

             from November 3, 2021 until the present day.

                    17.    Missimer was an employee of DCL from on or about November 3, 2021 until on

             or about March 6, 2023, when he was terminated due to his involvement in the activities alleged

             in this Complaint.

                    18.    From November 3, 2021 to December 15, 2022, Missimer served as Treasurer and

             Chief Financial Officer of DCL.

                    19.    From the commencement of his employment on November 3, 2021 until the

             termination of his employment by DCL on March 6, 2023, Missimer served as the Chief Technical

             Officer (“CTO”) of DCL.

                    20.    In his capacity as CTO, Missimer served as the custodian of and had access to all

             electronic data for DCL including its business records, business plans and other confidential and

             proprietary data which constitute confidential and proprietary information protected by the

             employment agreements and shareholder agreement referenced herein as well as “trade secrets”




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                                                                                     of 166
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             within the meaning of the DTSA and other applicable laws cited herein. Such information is

             referred to collectively herein as “Trade Secrets.”

                      21.   When DCL confronted Missimer with the evidence giving rise to this Complaint,

             Missimer blocked DCL’s access to its own data for a period of approximately two weeks and

             refused to return other DCL property. Only after the filing of the original Complaint in this action

             did Missimer return some, but not all, DCL Trade Secrets and other property or information.

                      22.   As described in more detail below, Missimer, singularly and in concert with the

             other Defendants has unlawfully deprived DCL of access to and has otherwise utilized DCL Trade

             Secrets in violation of his Shareholder Agreement with DCL, in violation of the DTSA and in

             violation of other statutory and common laws.

                      23.   As described in more detail below, Missimer has in the past, and continues to act

             singularly and in concert with the other Defendants to further facilitate the actions of the

             Defendants in violation of their employment agreements, shareholder agreements and in violation

             of the DTSA and other statutory and common laws.

                      24.   As a DCL shareholder, Missimer is bound to covenants which prohibit the conduct

             he engaged in as alleged in this complaint. The restrictive covenants are set forth in more detail

             below.

                      25.   Carpenter was an employee of DCL from on or about December 15, 2021 until on

             or about March 3, 2023 when he submitted a notice of resignation, upon information and belief, in

             an effort to avoid accountability for his role in the conduct giving rise to this Complaint. For a

             period of time, Carpenter served as an Officer of DCL.




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                     26.     As an employee of DCL, Carpenter is bound to duly executed restrictive covenants

             which prohibit the conduct alleged in this Complaint. The details of the applicable contractual

             restrictions are set forth in detail below.

                     27.     As described in more detail below, Carpenter, singularly and in concert with the

             other Defendants has unlawfully deprived DCL of access to and has otherwise utilized DCL Trade

             Secrets in violation of his employment agreement with DCL and in violation of the DTSA and

             other statutory and common laws.

                     28.     As described in more detail below, Carpenter has in the past, and continues to act

             singularly and in concert with the other Defendants to further facilitate the actions of the

             Defendants in violation of their employment agreements, shareholder agreements, and in violation

             of the DTSA and other statutory and common laws.

                     29.     Frank was an employee of DCL from July 30, 2022 until his resignation on March

             14, 2023 when he resigned, upon information and belief, in an effort to avoid accountability for

             his role in the conduct giving rise to this Complaint.

                     30.     As a DCL employee, Frank is bound to duly executed restrictive covenants which

             prohibit the conduct alleged in this Complaint. The details of the applicable contractual restrictions

             are set forth in detail below.

                     31.     Frank, singularly and in concert with the other Defendants, has unlawfully deprived

             DCL of access to and has otherwise utilized DCL confidential and proprietary information in

             violation of his employment agreement with DCL, and in violation of the DTSA and other statutory

             and common laws.

                     32.     Frank has in the past, and continues to act singularly and in concert with the other

             Defendants to further facilitate the actions of the Defendants in violation of their employment




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                                                                                  PageID#
                                                                                     of 166
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                                           PageID# 931



             agreements, shareholder agreements, and in violation of the DTSA and other statutory and

             common laws.

                    33.     Lockheed Martin Corp. (“LMCO”) is a current client of DCL. Haddock is the

             Project Manager for LMCO on the Task Order (“Task Order”) under the IDIQ Contract (“IDIQ

             Contract”) for which DCL renders services to LMCO by and through its employees.

                    34.     As described in more detail below, Haddock, singularly and in concert with the

             other Defendants has unlawfully deprived DCL of access to and has otherwise utilized DCL

             confidential and proprietary information in violation of the DTSA and in violation of other

             statutory and common laws.

                    35.     As described in more detail below, Haddock has in the past, and continues to act

             singularly and in concert with the other Defendants to further facilitate the actions of the

             Defendants in violation of their employment agreements, shareholder agreements, and in violation

             of the DTSA and other statutory and common laws.

                    36.     As described in more detail below, Haddock, despite previously bestowing

             accolades upon DCL for the quality of its work for LMCO, has more recently used his influence

             to cause LMCO to diminish and eventually terminate its relationship with DCL and to otherwise

             cause harm to DCL for the benefit of Defendants.

                    37.     On or about December 2, 2022, Carpenter and the other Defendants incorporated

             BSS in the Commonwealth of Virginia for the purpose of diverting DCL Trade Secrets, customers

             and clients to Defendants for use to engage in illegal competition including to supplant DCL with

             BSS under the IDIQ Contract.

                    38.     DCL’s performance for LMCO under the contract has met or exceeded the

             contractual requirements, so much so that: (a) in January, 2023, Defendant Haddock engaged in




                                                            8
#4910599v1
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                                                                              115PageID#
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                                                                                   PageID#
                                                                                     of 166
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                                          PageID# 932



             discussions with DCL for LMCO to outright purchase DCL; (b) Haddock and/or LMCO

             nominated DCL as LMCO Subcontractor of the Year in 2022; (c) Haddock and/or LMCO

             accelerated contract payments to DCL; (d) Haddock and/or LMCO provided assurances and

             otherwise created the reasonable expectation that DCL would continue as a subcontractor through

             2026 and beyond and that DCL’s work volume would continue to increase; and (e) Haddock and/or

             LMCO otherwise promoted DCL.

                    39.     Within the past several months, Defendant Haddock has commenced a course of

             conduct, along with the other Defendants to cause LMCO to diminish and/or terminate its

             relationship with DCL, to usurp DCL, its employees, customers and its proprietary information

             through a conspiracy involving violations of the DTSA and in breach of contractual, statutory and

             common law obligations owed to DCL by Defendants.

                    40.     Toward the end of 2022, if not sooner, while still employed by DCL and thereafter,

             Carpenter, Missimer, and Frank, singularly and in concert with Haddock, conspired to create a

             competing business, to obtain employment or otherwise obtain work with competing businesses,

             to divert DCL existing and prospective customers, to divert DCL current employees, to utilize

             DCL Trade Secrets, to deprive DCL access to its own Trade Secrets in violation of the DTSA and

             in violation of contractual, common law and statutory obligations, thereby cause damage to DCL

             for the benefit of the Defendants.

                    41.     At present, DCL’s damages as a result of Defendants’ conduct include but are not

             limited to: (1) lost revenue to DCL under the IDIQ Contract and its reasonable expectation of an

             extension of that Contract; (2) loss of employees and expenses associated with recruiting and

             retaining employees with appropriate skills and security clearances; (3) irreparable harm to its

             business relationship and reputation with existing and prospective clients including LMCO and




                                                            9
#4910599v1
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        Case
          Case
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              1:23-cv-00326-TSE-LRV
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                                                                             115PageID#
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                                                                                    of 166
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                                         PageID# 933



             others; (4) irreparable harm to its business relationships and reputation with existing and

             prospective DCL employees; (5) irreparable harm to DCL’s ability to be competitive as a result of

             misappropriated Trade Secrets; and (6) loss of employees and damages related to obtaining highly

             skilled and properly cleared employees and personnel to perform work on DCL contracts.

                                     RESTRICTIVE COVENANTS APPLICABLE
                                     TO MISSIMER AS A DCL SHAREHOLDER

                    42.     On or about November 3, 2021, Missimer entered into a DCL Shareholders

             Agreement (“Shareholders Agreement”), a copy of which is annexed hereto as Exhibit “A” and

             incorporated by reference, for purposes of setting forth their respective rights, duties, and

             obligations as it relates to their positions as owners of DCL, including but not limited to restrictive

             covenants and non-disclosure obligations by which they agreed to abide.

                    43.     Pursuant to the Shareholders Agreement, Missimer acquired 325,000 shares of

             common stock of DCL with a par value of $0.0001 (the “Shares”).

                    44.     From November 3, 2021 to December 15, 2022, in addition to his position as a

             shareholder of DCL and member of the Board of Directors of DCL, Missimer served as the CFO

             and Treasurer of DCL.

                    45.     At all relevant times, Missimer’s direct report was Chase Bertke (“Bertke”), the

             Chief Executive Officer (“CEO”) of DCL.

                    46.     From on or about November 3, 2021 to March 6, 2023, Missimer had management

             authority over DCL’s employees, including but not limited to Carpenter, Missimer, and Frank.

                    47.     As a founding member of DCL and member of DCL’s senior leadership, Missimer

             acquired an intimate knowledge of DCL Trade Secrets including market analysis, product

             development, pricing, marketing strategies, employee recruitment and retention strategies.




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#4910599v1
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                                                                             115PageID#
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                                                                                  PageID#
                                                                                    of 166
                                                                                         101
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                                         PageID# 934



                    48.     From on or about November 3, 2021 to March 6, 2023, Missimer also served as

             DCL’s Chief Technology Officer (“CTO”).

                    49.     In his capacity as CTO, Missimer served as the custodian of and had access to all

             electronic data for DCL including its business records, business plans and other confidential and

             proprietary data which constitute confidential and proprietary information protected by the

             employment agreements and shareholder agreement referenced herein as well as “trade secrets”

             within the meaning of the DTSA and other applicable laws cited herein.

                    50.     When DCL confronted Missimer with the evidence giving rise to this Complaint,

             Missimer blocked DCL’s access to its own data for a period of approximately two weeks and

             refused to return other DCL property. Only after the filing of the original Complaint in this action

             did Missimer return some, but not all, DCL Trade Secrets and other property or information.

                    51.     The Shareholders Agreement, sets forth restrictive covenants by which Missimer

             agreed to be bound.

                    52.     Section 6.4 of the Shareholders Agreement provides as follows regarding

             confidentiality with respect to DCL information and which constitute Trade Secrets under the

             DTSA and other laws:

                    6.4     Confidential Information. Each Shareholder agrees that he, she or it will
                    utilize Confidential Information (as defined below) solely for the purpose of the
                    business of the Company and will make no other use of Confidential Information.
                    In furtherance of the foregoing, no Shareholder shall directly or indirectly divulge,
                    communicate, use to the detriment of the Company or for the benefit of any other
                    person or entity or misuse in any way, any Confidential Information, including, but
                    not limited to, personal information, forms, know-how, client lists, technical data,
                    business plans and industry analyses. For the purposes of this Agreement,
                    “Confidential Information” means that information which is confidential and
                    proprietary to the Company (including, but not limited to, trade secrets) and which
                    derives (or may derive) economic value to the Company by not being generally
                    known to others, or which the Company is otherwise under an agreement of
                    confidentiality with an unaffiliated third party. Each Shareholder agrees that he or
                    it will maintain and preserve the confidentiality and secrecy of such Confidential



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                                                                             115PageID#
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                                                                                  PageID#
                                                                                    of 166
                                                                                         102
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                                         PageID# 935



                    Information. In the event that a Shareholder shall receive a request to disclose all
                    or any part of the Confidential Information under the terms of a subpoena or order
                    issued by a court of competent jurisdiction, such Shareholder agrees, to the extent
                    legally permissible to (i) promptly notify the Company of the existence, terms and
                    circumstances surrounding such a request, (ii) consult with the Company on the
                    advisability of taking legally available steps to resist or narrow such request, and
                    (iii) if disclosure of such information is required, exercise reasonable efforts to
                    obtain an order or other reliable assurance that confidential treatment will be
                    accorded to such information and to reasonably cooperate with the Company in any
                    such effort by the Company, at Company’s sole cost and expense.

                    53.     Section 6.3 of the Shareholders Agreement prohibits Missimer from engaging in

             competitive activity against DCL as follows:

                    6.3     Non-Compete[.] No Shareholder shall, during the time such Shareholder is
                    a Shareholder or employee of the Company, and for a period of one (1) year
                    following the later to occur of (i) the date such Shareholder is no longer a
                    Shareholder of the Company and (ii) such Shareholder’s employment with the
                    Company is terminated, without the prior written consent of the Company, directly
                    or indirectly, and whether as principal, agent, officer, director, partner, employee,
                    consultant, broker, dealer or otherwise, alone or in association with any other
                    person, firm, corporation or other business organization, carry on, or be engaged,
                    have an interest in or take part in, or render services to any person, firm, corporation
                    or other business organization (other than the Company) engaged in a business
                    which is competitive with all or part of the business of the Company.

                    54.     Section 6.5 of the Shareholder Agreement prohibits Missimer from poaching or

             soliciting DCL’s employees, diverting DCL’s business to a competitor, and soliciting DCL’s

             actual or potential customers, as follows:

                    6.5     Non-Solicitation. For so long as a Shareholder is a Shareholder or
                    employee of the Company and for a period of twenty four (24) months following
                    the later to occur of (i) the date such Shareholder is no longer a Shareholder of the
                    Company and (ii) such Shareholder’s employment with the Company is terminated,
                    such Shareholder shall not, without the written permission of the Company or any
                    Affiliate, directly or indirectly (i) solicit, employ or retain, or have or cause any
                    other person or entity to solicit, employee or retain, any other Shareholder or other
                    person who is employed by the Company or (ii) solicit the business of or provide
                    services or products to any client (or prospective client) of the Company at any time
                    while such Shareholder was an employee or Shareholder of the Company.




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                    55.     Section 6.6 of the Shareholders Agreement prohibits Missimer from disparaging

             DCL as follows:

                    6.6    Non-Disparagement. No Shareholder shall, directly or indirectly,
                    individually or in concert with others, knowingly engage in any conduct or make
                    any statement that is reasonably likely to have the effect of undermining or
                    disparaging the reputation of the Company or any Affiliate of the Company, or the
                    good will of the Company or any Affiliate of the Company, products, or business
                    opportunities, or that is reasonably likely to have the effect of undermining or
                    disparaging the reputation of any officer, director or employee, past or present, of
                    the Company or any of its Affiliates. This Section does not in any way restrict or
                    impede any Shareholder from exercising protected rights, including rights under
                    the National Labor Relations Act (NLRA) or the federal securities laws, including
                    the Dodd-Frank Act, to the extent that such rights cannot be waived by agreement
                    or from complying with any applicable law or regulation or a valid order of a court
                    of competent jurisdiction or an authorized government agency.

                    56.     In Section 8.9 of the Shareholders Agreement, Missimer consented to injunctive

             relief and attorneys’ fees in the event of a dispute regarding a breach of the restrictive covenants

             therein:

                    8.9     Specific Performance. The parties hereto acknowledge that irreparable
                    damage would occur in the event that any of the provisions of this Agreement were
                    not performed in accordance with their specific terms or were otherwise breached
                    and that money damages would not provide an adequate remedy. It is accordingly
                    agreed that each of the parties hereto shall be entitled to an injunction and other
                    equitable remedies to prevent breaches or threatened breaches by the other parties
                    hereto of this Agreement, and to enforce specifically the terms and provisions
                    hereof or thereof in any court of the United States or any state thereof having
                    jurisdiction, this being in addition to any other remedy to which the parties may be
                    entitled at law or in equity.

                          RESTRICTIVE COVENANTS APPLICABLE TO CARPENTER
                            AND FRANK AS DCL OFFICERS AND/OR EMPLOYEES

                    57.     On or about December 15, 2021, Carpenter was hired by DCL as a Senior Computer

             Network Operations (“CNO”) Developer and became a Vice President (“VP”) of DCL on or about

             March 4, 2022.




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#4910599v1
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                                                                                    of 166
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                                         PageID# 937



                    58.     As a VP and member of DCL’s senior leadership, Carpenter acquired an intimate

             knowledge of DCL’s market analysis, product development, pricing, and marketing strategies.

                    59.     On or about December 20, 2021, Carpenter entered into a Confidentiality, Non-

             Competition and Protectable Interest Agreement (“Restrictive Covenants Agreement”), a copy of

             which is annexed hereto as Exhibit “B” and incorporated by reference, as it relates to his

             employment with DCL, including but not limited to covenants not to compete or solicit as well as

             an inventions assignment clause.

                    60.     On or about July 30, 2022, Frank was hired by DCL as a Senior CNO Developer.

                    61.     On or around July 30, 2022, Frank executed an identical Restrictive Covenants

             Agreement, a copy of which is annexed hereto as Exhibit “C” and incorporated by reference, as it

             relates to his employment with DCL, including but not limited to covenants not to compete or

             solicit as well as an inventions assignment clause.

                    62.     Section 3 of the Restrictive Covenants Agreement provides as follows regarding

             confidentiality of DCL information defined in the employment agreements and which constitute

             Trade Secrets under the DTSA:

                    (a)     Confidential Information and Trade Secrets. The Employee and the
                    Company agree that for the purposes of this Agreement, and in addition to any
                    meaning that it may have under the common law, the term “Confidential
                    Information” shall mean information belonging to or possessed by the Company,
                    whether or not reduced to writing (or in a form from which such information can
                    be obtained, translated or derived into reasonably usable form), that derives
                    independent economic value from not being readily known to or ascertainable by
                    proper means by others who can obtain economic value from the disclosure or use
                    of such information, including without limitation, financial information, reports,
                    and forecasts; improvements and other intellectual property owned by or relating
                    to the Company; the buying practices of Clients or prospective Clients; the
                    disclosures from or to Service Providers or prospective Service Providers; pricing
                    offered to Clients or; pricing offered from Service Providers; the Company’s
                    production, advertising, marketing and growth strategies, methods and research;
                    the prices/rates/terms at which the Company obtains or has obtained, or sells or has
                    sold its products or services; the Company’s sales, costs and sales methods; and



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                                                                                    of 166
                                                                                         105
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                                         PageID# 938



                business plans, prospects and opportunities (such as possible acquisitions or
                dispositions of businesses or facilities) that have been discussed or considered by
                the management of the Company; the Company’s business systems and
                methodologies employed by the creation, delivery, maintenance and improvement
                of the Company’s product and services. Confidential Information also includes the
                confidential information of others, such as Clients and Service Providers with
                which Employee or the Company has a business relationship. Confidential
                Information shall also include any information that Employee is required to keep
                confidential pursuant to any ethical obligation or state or federal law, rule or
                regulation. Notwithstanding the foregoing, Confidential Information does not
                include documents in the public domain unless due to breach of Employee’s duties
                under the Agreement. Confidential Information, such as all forms and types of
                financial, business, scientific, technical, economic, or engineering information,
                including patterns, plans, compilations, program devices, formulas, designs,
                inventions, product drawings, designs and photographs, prototypes, methods,
                business systems, techniques, processes, procedures, programs, or codes, whether
                tangible or intangible, and whether or how stored, compiled, or memorialized
                physically, electronically, graphically, photographically, or in writing for which
                reasonable measures are taken to protect the information from disclosure and which
                derive independent economic value from not being generally known are referred to
                as “Trade Secrets”.

                (b)     Use of Information During Employment. While employed by the
                Company, Employee shall not use any Confidential Information or Trade Secrets
                other than on behalf of and in furthering the business and business interest of the
                Company. Employee shall adhere to all rules and policies of the Company relating
                to maintaining and safeguarding Confidential Information from public disclosure
                or use by an individual or business, including those that compete for Company
                Business.

                (c)     Information if no Longer Employed. All documents, records, data,
                information and physical property, whether or not amounting to or containing
                Confidential Information or Trade Secrets, which are furnished to Employee by the
                Company or are produced by Employee in connection with Employee’s
                employment will be and remain the sole property of the Company. Employee is
                required to return to the Company all such materials and property, including any
                material or medium from which any Confidential Information or Trade Secrets may
                be ascertained or derived, as and when requested by the Company. In the event
                Employee shall no longer be employed by the Company, Employee shall not use
                or otherwise distribute or disseminate Confidential Information or Trade Secrets on
                his/her/their behalf or that of a third person. Upon the end of the employment
                relationship between the Employee and the Company, Employee shall immediately
                gather and return to the Company all Confidential Information and Trade Secrets
                in his/her/their possession or control. At the Company’s request, Employee shall
                delete all Confidential Information and Trade Secrets stored electronically which
                he/she/they maintains or has access to, including those residing in email accounts



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                                                                             68
                                                                             115PageID#
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                                                                                  PageID#
                                                                                    of 166
                                                                                         106
                                                                                           234
                                         PageID# 939



                    or on computers or portable electronic devices and shall remove from Employee’s
                    electronic storage, email or networking sites (such as LinkedIn) any Confidential
                    Information or Trade Secrets by deleting such contacts from such websites and not
                    re-engineering same. It is the express intent of the Parties that if no longer employed
                    by the Company, the Employee shall not use or have access to Confidential
                    Information or Trade Secrets relating to Clients, Prospective Clients, Service
                    Providers, Prospective Service Providers, and Referral Sources including those for
                    which Employee had a pre-existing relationship that existed prior to employment
                    by Company (or its subsidiaries, affiliates or predecessors) it being expressly
                    understood and agreed that the goodwill in such relationships has been transferred
                    and sold to the Company.

                    (d)      Defend Trade Secret Act Notice. An individual shall not be held
                    criminally or civilly liable under any Federal or State trade secret law for the
                    disclosure of a Trade Secret that is made in confidence to a Federal, State, or local
                    government official, either directly or indirectly, or to an attorney; and is (i) solely
                    for the purpose of reporting or investigating a suspected violation of law; or (ii) is
                    made in a complaint or other document filed in a lawsuit or other proceeding, if
                    such filing is made under seal. Further, an individual who files a lawsuit for
                    retaliation by an employer for reporting a suspected violation of law may disclose
                    the Trade Secret to the attorney of the individual and use the Trade Secret
                    information in the court proceeding, if the individual (iii) files any document
                    containing the Trade Secret under seal; and (iv) does not disclose the Trade Secret,
                    except pursuant to court order.

                    63.     Section 4 of the Restrictive Covenants Agreements prohibit Carpenter and Frank

             from diverting DCL’s business to a competitor, and from soliciting DCL’s actual or potential

             customers, from soliciting DCL employees, all of which are designed, in part to protect DCL Trade

             Secrets as follows:

                    4.      No Diversion Of Client, Prospective Client, Service Provider,
                            Prospective Service Providers, and Referral Source Relationships.

                    (a)     During the course of Employee’s employment, Employee shall not, directly
                    or indirectly: (i) solicit, accept an offer to do business with, service or divert any
                    Clients, prospective Clients, Service Providers, prospective Service Providers,
                    Referral Sources and/or Company Business for Employee’s personal benefit or that
                    of a third-party or to the Company’s detriment or (ii) consistent with Employee’s
                    duty of loyalty, work for another business which competes with the Company for
                    Company Business including, without limitation, running, owning, managing,
                    operating, controlling, being employed by, providing consulting services to, being
                    a manager, officer, director or employee of, participating in, lending Employee’s
                    name to, investing in, or being connected in any manner with the management,



                                                              16
#4910599v1
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                                                                             68
                                                                             115PageID#
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                                                                                  PageID#
                                                                                    of 166
                                                                                         107
                                                                                           235
                                         PageID# 940



                    ownership, operation, or control of any business, venture or activity that performs
                    competitive services with the Company.

                    (b)     In recognition of the Company’s interest in protecting its Goodwill interest
                    in Clients, Prospective Clients, Service Providers, Prospective Service Providers
                    and Referral Source relationships, Employee agrees that for a period of twelve (12)
                    months after he/she is no longer employed, Employee shall not directly or
                    indirectly, on behalf of himself/herself/themselves or a third party: solicit business
                    of the same type or related to the Company Business from; accept an offer to do
                    business of the same type or related to the Company Business with or referral from;
                    provide services of the same type or related to the Company Business to; or induce
                    the termination, non-renewal of, or reduction of business done or referred of any
                    person or entity who, at the time Employee’s employment with the Company ended
                    was a Client, Prospective Client, Service Provider, Prospective Service Provider,
                    or Referral Source of the Company within the last twenty-four (24) month period
                    prior to termination of Employee’s employment with the Company.

                    64.     Section 5 of the Restrictive Covenants Agreement prohibits Carpenter and Frank

             from poaching or soliciting DCL’s employees as follows:

                    5.      Non-Solicitation of Company Employees.

                    Employee recognizes the desire of the Company to preserve its Goodwill, its
                    Confidential Information and Trade Secrets through the continued services of its
                    employees. While employed by the Company and for a period of twelve (12)
                    months thereafter, Employee shall not (directly or indirectly or on behalf of
                    himself/herself or a third party) solicit, assist or induce any then-current (a)
                    employee; (b) independent contractor; or (c) consultant of the Company, to
                    terminate or reduce his, her, their or its relationship with the Company or to become
                    an employee, consultant or independent contractor with an entity other than the
                    Company. Furthermore, Employee shall not (directly or indirectly on behalf of
                    himself/herself or a third-party) hire as an employee, or engage as independent
                    contractor or consultant, any former employee, consultant or independent
                    contractor of the Company who was employed or engaged by the Company at any
                    time during the twelve (12) month period prior to such hiring or engagement.

                    65.     In Section 8 of the Restrictive Covenants Agreement, Carpenter and Frank

             consented to injunctive relief and attorneys’ fees in the event of a dispute regarding a breach of

             the restrictive covenants therein:




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                                                                             115PageID#
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                                                                                  PageID#
                                                                                    of 166
                                                                                         108
                                                                                           236
                                         PageID# 941



                    8.     Remedies for Breach.

                    (a)     In the event of any actual or threatened breach of any of the covenants
                    contained in this Agreement, the Company shall be entitled to seek an injunction
                    (temporary, preliminary and/or permanent) to enforce this Agreement, without the
                    requirement of posting a bond or other form of collateral, and may also pursue any
                    other available remedies available to it in law and/or equity.

                    (b)     Should the Company be a Prevailing Party in any litigation to enforce the
                    terms of this Agreement, Employee shall be responsible for and pay the reasonable
                    costs, fees and expenses of Company’s attorneys associated with such litigation,
                    including appeals. The Company shall be a “Prevailing Party” if it obtains
                    temporary, preliminary and/or permanent injunctive relief, or is awarded monetary
                    damages for such breach or threatened breach.

                            DEFENDANTS’ CONCERTED EFFORT TO CONVERT DCL
                          TRADE SECRETS, CLIENTS AND EMPLOYEES IN VIOLATION
                                OF CONTRACTS, FEDERAL AND STATE LAW

                                 Carpenter, Missimer, and Frank’s Breaches of Their
                                      Restrictive Covenants and Duties to DCL

                    66.    Ronald Pelkey (“Pelkey”) is shareholder of DCL and serves as its President. Bertke

             is a shareholder and serves as the CEO of DCL. Lawrence Littleton (“Littleton”) serves as Chief

             Financial Officer (“CFO”) of DCL.

                    67.    On or about January 25, 2023, Pelkey received a phone call from Haddock who is

             the Project Manager for LMCO on the Task Order under the IDIQ Contract for which DCL renders

             services by and through its employees.

                    68.    Haddock informed Pelkey that he had a conversation with Carpenter about a

             company that he started, BSS, and confirmed that Carpenter intended to compete with DCL and

             solicited Haddock for a subcontract on the Task Order.

                    69.    At the time of the conversation between Haddock and Carpenter, Carpenter was an

             employee of DCL.




                                                           18
#4910599v1
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                                                                                  PageID#
                                                                                    of 166
                                                                                         109
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                                         PageID# 942



                    70.     On or about January 26, 2023, Missimer called Pelkey and informed Pelkey that he

             has been aware of Carpenter’s new company, BSS, from “the beginning.”

                    71.     Missimer stated to Pelkey during this telephone conversation that Missimer and

             Carpenter solicited LMCO by way of communications with Haddock to obtain a subcontract on

             Task Order for BSS so that Missimer and Carpenter could continue working under the IDIQ

             Contract after quitting from DCL.

                    72.     Missimer had previously informed DCL that he was expecting a child and stated to

             Pelkey that he still intended to take a month of paid paternity leave beginning on January 30, 2023

             and then would quit DCL on his return from leave and join BSS.

                    73.     On or about January 26, 2023, Haddock sent to electronic mail to Bertke, Carpenter,

             and Missimer stating as follows: “Can we all meet in person Friday (tomorrow) to discuss the

             DarkCircuit / BlackSails ConOp going forward and come to an early agreement?”

                    74.     DCL interpreted Haddock’s electronic mail as a communication by LMCO that

             DCL’s subcontract with LMCO on the Task Order under the IDIQ Contract was at risk of being

             diverted to BSS.

                    75.     Following the January 25 and 26, 2023 disclosures made by Haddock and

             Missimer, respectively, on January 27, 2023, DCL sent letters to Carpenter and Missimer

             informing them that DCL was opening an internal investigation as a result of the disclosures and

             putting them on notice of potential litigation (“Cease and Desist Letters”).

                    76.     These Cease and Desist Letters described the disclosures made as of that date and

             set forth the restrictive covenants by which Carpenter and Missimer were bound.




                                                             19
#4910599v1
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              1:23-cv-00326-TSE-LRV
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                                                                             115PageID#
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                                                                                  PageID#
                                                                                    of 166
                                                                                         110
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                                         PageID# 943



                    77.     The Cease and Desist Letters further advised Carpenter and Missimer that they

             were being placed on administrative leave effective immediately pending an internal investigation

             by DCL with respect to their actions in assisting a competing enterprise, BSS.

                    78.     The Cease and Desist Letters further demanded the immediate return of any and all

             company property in Carpenter and Missimer’s possession.

                    79.     On January 31, 2023, Pelkey sent a text message to current DCL employee Frank,

             informing him that DCL was conducting an internal investigation regarding Carpenter and

             Missimer’s activities as it relates to BSS.

                    80.     Frank stated via text message to Pelkey that Carpenter had informed him of the

             formation of BSS and had stated that “they” would send him an offer letter so that Frank could

             join BSS.

                    81.     There was no mention of who “they” entails in the text message exchange, but

             Pelkey believed that Frank was referring to both Carpenter and Missimer.

                    82.     On or about January 31, 2023, Carpenter and Missimer admitted during an

             interview with Pelkey, Bertke and Littleton, that Carpenter and Missimer intended to terminate

             their employment with DCL to further pursue opportunities with the newly formed enterprise BSS

             and that at least one other current employees of DCL had been solicited to terminate their

             employment with DCL and work for BSS.

                    83.     Based on Carpenter and Missimer’s disclosures, it appears that BSS was

             incorporated by Carpenter and the other Defendants for the purpose of providing cyber security

             products and services marketed to the United States federal government, which is the exact type

             of services and products on which Carpenter and Missimer work at DCL in violation of the DTSA




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#4910599v1
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              1:23-cv-00326-TSE-LRV
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                                                                             115PageID#
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                                                                                  PageID#
                                                                                    of 166
                                                                                         111
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                                         PageID# 944



             and in violation of contractual, common law and statutory obligations thereby causing damage to

             DCL for the benefit of the Defendants

                    84.     On February 1, 2023, Pelkey and Bertke interviewed Frank as part of DCL’s

             internal investigation.

                    85.     Pelkey asked Frank if Carpenter and Missimer had approached Frank with an offer

             letter, to which Frank responded that both Carpenter and Missimer contacted him shortly before

             DCL’s all hands staff meeting on January 27, 2023 to discuss joining BSS.

                    86.     Frank stated no official offer letter had been extended by BSS, but that Carpenter

             told Frank that he would protect him if Frank violated his employment agreement with DCL.

                    87.     DCL also learned during the internal investigation that at least one other current

             DCL employee in addition to Frank was solicited as well.

                    88.     As it relates to the formation of BSS, public records reveal that BSS was

             incorporated as a limited liability company with a sole managing member, Carpenter, in the

             Commonwealth of Virginia on December 2, 2022.

                    89.     At the time of BSS’s incorporation, Missimer was a shareholder and officer of DCL

             and Carpenter was an employee of DCL.

                    90.     On December 15, 2022, DCL’s Board of Directors, consisting of Pelkey, Bertke,

             Littleton, and Missimer, unanimously voted to remove Missimer as an officer effective

             immediately.

                    91.     At the time of the December 15, 2022 vote, Pelkey and Bertke were unaware of

             Carpenter and Missimer’s activities as it relates to BSS.

                    92.     On information and belief, Defendants conspired to divert DCL’s business interests

             for purposes of their competitive venture long before the formal incorporation of BSS.




                                                             21
#4910599v1
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                                                                             115PageID#
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                                                                                    of 166
                                                                                         112
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                                         PageID# 945



                     93.    For example, the vote was proposed to remove Missimer as Treasurer because,

             among other issues, Pelkey and Bertke had determined there were significant problems with

             Missimer’s management abilities as it relates to other DCL employees, specifically Carpenter, and

             the flow of information from Missimer to the Board of Directors.

                     94.    DCL invested significant time and resources trying to fix communication issues

             and functionality of the Board of Directors throughout 2022, including expending nearly $20,000

             on an executive coach to help with communications and understanding of each other.

                     95.    The primary issue was that Carpenter was not effectively communicating on IDIQ-

             related matters to the Board of Directors as a Vice President (“VP”) of DCL.

                     96.    At that time, Pelkey and Bertke believed that Carpenter’s lack of communication

             on management and IDIQ-related issues as a VP was caused by issues related to Missimer’s

             management of him.

                     97.    Specifically, Pelkey and Bertke believed that because Carpenter was

             communicating directly with Missimer, Carpenter thought that such communications were

             sufficient.

                     98.    Pelkey and Bertke determined that Missimer was blocking communications to them

             as Board members, whether through Missimer’s lack of skills discerning what was important to

             convey or that he may have been doing so intentionally.

                     99.    As a result, the Board voted on whether to remove Missimer’s ability to execute

             documents on behalf of DCL as an officer, which Missimer himself voted for in the affirmative at

             DCL’s December 15, 2022 Board meeting.

                     100.   Though Missimer was removed as an officer, he remained a member of the Board

             of Directors and is still presently a shareholder of DCL.




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#4910599v1
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                                                                             115PageID#
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                                                                                  PageID#
                                                                                    of 166
                                                                                         113
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                                         PageID# 946



                    101.    The intent was for the Board to revisit these issues in six months to determine

             whether Missimer should be reinstated as an officer if communication and management

             functionality improved.

                    102.    On or about January 16, 2023, Pelkey and Bertke had a conversation with Carpenter

             about realignment of his duties given his communications issues.

                    103.    After this conversation, Pelkey sent a text message to Missimer to discuss the

             outcome of the conversation with Carpenter.

                    104.    Specifically, Pelkey asked if Missimer was available for a call to which Missimer

             responded he was “[a]t the gym[,] what’s up?”

                    105.    Pelkey responded to Missimer, “Nothing big, just wanted to back track with you on

             the Anthony thing and make sure we’re all on the same page,” to which Missimer responded “Oh

             so he just wanted to talk about Antony [sic] [a DCL employee],” followed up “Good” and “Man

             they are handling this poorly.”

                    106.    Pelkey believed that Missimer mistakenly thought Missimer was corresponding

             with Carpenter in the text message exchange.

                    107.    Shortly after sending the above three text messages, Missimer apparently realized

             his mistake that he was corresponding with Pelkey rather than Carpenter and deleted the message

             stating “Man they are handling this poorly” and then stated that he “[m]eant to say ‘he’” and that

             it was supposed to be “you in the first message.”

                    108.    Shortly after these text messages, that same day on or about January 16, 2023,

             Pelkey called Missimer to discuss business but also to discuss the text messages.




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                                                                             115PageID#
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                                                                                  PageID#
                                                                                    of 166
                                                                                         114
                                                                                           242
                                         PageID# 947



                    109.    During this conversation, Pelkey specifically confronted Missimer about the text

             messages, stating that Pelkey felt that Missimer thought he was communicating with Carpenter,

             and changed his messages once he realized his mistake.

                    110.    Missimer assured Pelkey that it was not the case and that his text messages were

             intended for Pelkey and Missimer stated that the wording of the text messages was a result of

             sending texts over his smart watch.

                    111.    Pelkey asked Missimer if he was happy working at DCL and stated that if Missimer

             had any issues he could discuss them with Pelkey.

                    112.    Missimer stated to Pelkey that he was happy working at DCL and that he had no

             issues to discuss.

                    113.    On or about January 18, 2023, Pelkey and Bertke were notified by DCL employee

             Frank that Carpenter approved his timesheet before he had the chance to appropriately add in all

             the correct hours.

                    114.    Carpenter was never given the authority by DCL to approve timesheets.

                    115.    Only an individual with managerial access has the ability to grant an employee

             authority to approve time sheets and the only individuals with such access at the time were Pelkey,

             Bertke, and Missimer. Pelkey and Bertke confirmed to each other that they did not grant such

             access and thus the only individual who could have done so was Missimer.

                    116.    Pelkey and Bertke further learned that Carpenter was made a manager of the Task

             Order work group.

                    117.    In response to Frank’s disclosure, Bertke conducted an investigation and

             downloaded several logs from TSheets, a timekeeping program used by DCL, which show




                                                             24
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                                                                          of
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                                                                             115PageID#
                                                                                 71
                                                                                  PageID#
                                                                                    of 166
                                                                                         115
                                                                                           243
                                         PageID# 948



             Carpenter having the ability and taking action to approve employee time cards as well as his status

             as a manager in the program.

                    118.    Bertke further discovered that DCL had improperly invoiced the incorrect hours for

             Frank as a result of time sheets that Carpenter approved.

                    119.    Specifically, twenty (20) hours were incorrectly billed instead of the correct thirty-

             five and a half (35.5) hours resulting in additional administrative work and corrections by DCL’s

             management team and unnecessary communications with DCL’s client.

                    120.    In making this determination, Bertke reviewed several documents, including but

             not limited to: (1) a Weekly Labor Report showing the incorrect hours; (2) an Approval History

             Report showing Carpenter’s unauthorized managerial access; (3) a System Log Report showing

             Carpenter approving Frank’s time for the date and approving all employees’ time on the Task

             Order; and (4) screenshots showing Carpenter as a manager of the Task Order work group.

                    121.    Missimer’s improper action in granting Carpenter unauthorized managerial access

             further shows their conspiracy to engage in conduct to the detriment of DCL.

                    122.    That same day, on or about January 18, 2023, Bertke discovered that Carpenter had

             unfollowed all of DCL’s social media accounts, which led Bertke to conclude that Carpenter may

             be showing signs of being a disgruntled employee.

                    123.    In light of the disclosures made to Pelkey on January 25 and 26, 2023 and the

             subsequent ongoing internal investigation conducted by DCL, on information and belief, the

             communication issues sought to be addressed by the Board of Directors throughout late 2022

             actually stemmed from Carpenter and Missimer working together to build their own directly

             competitive enterprise by taking DCL’s largest client, DCL’s employees, and confidential

             information and Trade Secrets with them in the process.




                                                             25
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                                                                 Page
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                                                                             115PageID#
                                                                                 72
                                                                                  PageID#
                                                                                    of 166
                                                                                         116
                                                                                           244
                                         PageID# 949



                     124.    On or about January 31, 2023, Pelkey, Bertke, and Littleton interviewed Carpenter

             and Missimer as part of DCL’s internal investigation regarding Carpenter and Missimer’s activities

             as it relates to BSS.

                     125.    During his interview, Carpenter referred to Missimer as his “employee” as well as

             stating that Missimer was “potentially” his “employee.”

                     126.    These statements show that Carpenter was directly employing, soliciting, and/or

             recruiting Missimer, a current shareholder and employee of DCL.

                     127.    On or about February 6, 2023, DCL, by and through its counsel, conveyed a

             settlement proposal to counsel for Defendants on a confidential basis.

                     128.    On or about February 7, 2023, counsel for the parties conferred regarding the

             proposed settlement terms.

                     129.    On or about February 9, 2023, Haddock, in his capacity as Project Manager for

             LMCO, called Bertke to inform him that if Missimer or Carpenter resigned from employment at

             DCL, DCL would be immediately terminated from the IDIQ Contract.

                     130.    During this same phone call, Haddock also specifically mentioned a material term

             that had been proposed by DCL in settlement discussions that was conveyed to Defendants on a

             confidential basis.

                     131.    Pelkey, Bertke, and Littleton were the only individuals at DCL who had knowledge

             of the proposed settlement terms and none of these individuals disclosed any of the proposed terms

             to Haddock.

                     132.    The only other individuals who could have disclosed these terms to third parties,

             such as Haddock, were Carpenter and Missimer, unless Carpenter and Missimer disclosed it to

             Frank (or others) who disclosed it to Haddock.




                                                              26
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                                                                 Page
                                                                 Page 27
                                                                       28 of
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                                                                             68
                                                                             115PageID#
                                                                                 73
                                                                                  PageID#
                                                                                    of 166
                                                                                         117
                                                                                           245
                                         PageID# 950



                     133.   On or about February 9, 2023 at approximately 6:17 p.m. EST, Haddock left a

             voicemail for Bertke stating as follows:

                     Hey Chase [Bertke], unfortunately, I got a call from Eric [Missimer] and John
                     [Carpenter] again. They’re going to quit tonight. Um, they say it’s driven by the
                     issues they’re having with you, um, so tomorrow I got to draft a letter with Amber,
                     um, if we can’t get them to not quit tonight, um, we’re going to draft, uh, a letter to
                     Amber Bowen to you guys to start removing from contract you as an entity. Um, I
                     intend to keep all the developers like we did with IC1, um, same conop where we
                     give them opportunities to stay on contract, um, to any other company. Um, I have
                     not sent that letter through Amber yet. That is going to happen the second they quit.
                     They say they’re tired and they want a quick resolution and they are going to quit
                     tonight. So Saturday morning I got to send that letter.

                     134.   DCL urged Carpenter and Missimer not to resign and neither individual responded

             to attempts by DCL to contact them.

                     135.   Despite Haddock’s voicemail, Carpenter and Missimer did not quit on February 9,

             2023.

                     136.   Based on Haddock’s February 9, 2023 communications, Defendants continued to

             communicate with Haddock or others at LMCO regarding confidential and proprietary

             information, DCL’s internal business affairs, and solicitation of DCL employees to work for BSS

             or other entities on behalf of LMCO, all while they purported to be engaging in good faith

             settlement negotiations with DCL.

                     137.   Partially in response to threats made by Haddock to terminate DCL unless DCL

             resolved its disputes with Missimer and Carpenter in a manner satisfactory to Haddock, to preserve

             continuity of mission and reduce impact on the U.S. Government as LMCO’s end customer and to

             mitigate the harm caused by Defendants to the business relationship between DCL and LMCO,

             DCL engaged with Missimer and Carpenter to negotiate their separation from DCL on terms which

             would permit them to work for LMCO and others.




                                                               27
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                                                                 Page
                                                                 Page 28
                                                                       29 of
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                                                                             115PageID#
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                                                                                  PageID#
                                                                                    of 166
                                                                                         118
                                                                                           246
                                         PageID# 951



                    138.    On or about February 15, 2023, Missimer, by and through his counsel, sent a letter

             to DCL’s counsel requesting inspection of DCL’s books and records, including but not limited to

             DCL’s balance sheets, cash flow statements, bank and credit card statements, customer invoices,

             and payroll records for 2022 and year to date in 2023.

                    139.    On or about February 17, 2023, DCL responded to Missimer’s request by letter

             stating that it declined to provide the records requested as a result of Missimer’s demonstrated

             intent to compete with DCL.

                    140.    DCL’s February 17, 2023 letter further stated:

                    Furthermore, should your letter be insinuating that there are potential financial
                    issues with DCL, such issues, should they exist, would have arisen when Missimer
                    was the . . . CFO . . . and Treasurer of DCL from November 2021 to December
                    2022 until he was removed by unanimous vote and replaced by . . . Littleton as
                    CFO. DCL is currently performing a third-party audit of its books and records as a
                    result of Missimer’s removal and his misconduct revealed during the ongoing
                    internal investigation. Any potential issues identified by the audit of DCL’s
                    financial records, such as incorrect accounting, general errors, or misappropriation
                    of company funds during this time period may implicate liability on the part of
                    Missimer. Should the third-party audit identify any such issues during Missimer’s
                    time as CFO and Treasurer, DCL will have reason to believe that these actions or
                    omissions were done intentionally or maliciously by Missimer in light of
                    Missimer’s demonstrated intent to compete with DCL.

                    141.    Subsequent to Frank’s resignation, DCL discovered that while Frank was still an

             employee, he utilized his DCL email account (mike.frank@darkcircuitlabs.com), with the subject

             line “Frank Status” to communicate with Haddock at LMCO via an email sent on Friday, February

             23, 2023 at 9:07 a.m. as follows:

                    I talk to John & Eric pretty much daily about what’s going on with DCL. I figured
                    out something was up sometime last year, and give that Eric and are I [sic] close, I
                    was fortunate enough to be in a position to help them work through this. Anyways,
                    it seems at this point that the writing is on the wall that we (current employees)(and
                    possibly all) of us need to make a transition in the near future, and that BSS will
                    not be setting sail anytime this year. Alternatively, I’ve known Stan Nolen from
                    PLEX for a few years, and I think that his model of tool development aligns nicely
                    with the work we do offsite, and it could be a good setup for me and possibly others.



                                                             28
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                                                                             115PageID#
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                                                                                  PageID#
                                                                                    of 166
                                                                                         119
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                                         PageID# 952



                    I know that may be more difficult to negotiate for obvious reasons. I would love to
                    talk for you to talk to him, or just to hear what you think I should do in the next
                    coming months (if anything at the moment). Regards, Mike.

                    142.     Frank’s February 23, 2023 email demonstrates Defendants were actively working

             behind the scenes during settlement discussions to unlawfully divert DCL’s interests under the

             IDIQ Contract as well as shift DCL employees to “PLEX,” who on information and belief is a

             direct competitor of DCL, now that Defendants’ plans to launch BSS had been revealed.

                    143.     On or about February 27, 2023, DCL’s counsel was notified via email that

             Carpenter had obtained new counsel who requested one week to review the case file and respond

             to DCL’s settlement proposal.

                    144.     On information and belief, Defendants continued to disparage DCL to third parties

             and to solicit, recruit, and employ DCL employees throughout DCL’s efforts to resolve this matter

             out of court.

                    145.     For example, on or about March 2, 2023, one of DCL’s employees, Paul Jalufka

             (“Jalufka”), informed Pelkey that he was approached in-person by another individual who is

             working under the IDIQ Contract, “Joe B.,” who asked him if he knew anything about DCL

             employees leaving the company.

                    146.     Jalufka stated to Pelkey that he told “Joe B.” that he was unaware of anything like

             that occurring, at which point “Joe B.” proceeded to avoid the subject and not provide any

             additional information to Jalufka about the issue.

                    147.     On or about March 2, 2023 Bertke received the latest purchase order from LMCO

             under the IDIQ Contract.

                    148.     The contract modification was for $75,416.15, a drastic departure from previous

             purchase order amounts of roughly $500,000.00.




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#4910599v1
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              1:23-cv-00326-TSE-LRV
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                                                                                    of 166
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                    149.    On or about March 3, 2023, DCL notified LMCO regarding the first year of funding

             being estimated to be depleted in approximately one month under the IDIQ Contract.

                    150.    Later that day, on or about March 3, 2023, Carpenter sent an email to Pelkey,

             Bertke, and Littleton noticing his intent to resign on April 3, 2023.

                    151.    On information and belief, Carpenter and Frank, who on March 14, 2023 noticed

             his intent to resign from DCL on March 15, 2023, noticed their intent to resign with the knowledge

             LMCO intends not to issue any further work to DCL under the IDIQ Contract.

                    152.    On information and belief, Defendants and Haddock agreed to this course of action

             to ensure DCL would be phased out in order to divert DCL’s business interests under the IDIQ

             Contract to Defendants.

                    153.    In light of Carpenter, Missimer, and Frank’s continued breach of ongoing non-

             disclosure obligations, there could be no reasonable expectation by DCL that information provided

             for purposes of settlement would remain confidential and would not be used for leveraging a

             competitive advantage to BSS and/or be disclosed to Haddock, LMCO, or other third parties such

             as “Joe B.”

                    154.    On information and belief, Carpenter, Missimer, and Frank’s disclosures of

             confidential information related to settlement negotiations to Haddock, “Joe B.,” and other third

             parties working under the IDIQ Contract, including but not limited to DCL’s existing and

             prospective employees and other Trade Secrets has irreparably harmed DCL’s reputation.

                    155.    On or about March 3, 2023, as part of DCL’s ongoing internal investigation and

             determined that Carpenter and Missimer should be terminated for cause on or before March 7,

             2023 as a result of DCL’s finding that Carpenter and Missimer were in breach of their respective

             contractual, statutory, and common law obligations to DCL.




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                                                                                  PageID#
                                                                                    of 166
                                                                                         121
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                                         PageID# 954



                    156.    On or about March 6, 2023, DCL terminated the employment of Carpenter and

             Missimer for cause.

                    157.    Frank resigned from employment with DCL on March 14, 2023.

                                    Defendants’ Failure to Return Company Property
                                   and Further Misappropriation of DCL Trade Secrets

                    158.    DCL demanded the return of any and all company property and Trade Secrets in

             Carpenter and Missimer’s possession in its January 27, 2023 letter placing them on administrative

             leave pending the internal investigation.

                    159.    On information and belief, at the time of DCL’s initial demand to return company

             property immediately, Missimer was in possession of (a) two (2) server blades, (b) two (2) server

             towers, (c) one (1) KVM switch, (d) one (1) network switch, (e) one (1) raspberry pi running pivpn,

             (f) one (1) router running openwrt, and (g) one Samsung Galaxy Fold cell phone.

                    160.    Missimer failed to immediately return any of DCL’s company property and Trade

             Secrets in his possession, including but not limited to DCL’s servers which are housed in

             Missimer’s basement and hold DCL’s intellectual property, including several software products.

                    161.    Missimer, being the CTO of DCL, oversaw standing up and configuring DCL’s

             corporate network.

                    162.    The corporate servers in Missimer’s possession and control hold all of DCL Trade

             Secrets including software repositories which contain DCL’s software products developed since

             founding of the company and all other Company information.

                    163.    All software developed was developed on the internal network of DCL on DCL

             provided computers, and was not to be shared outside of DCL.

                    164.    These software products were developed to be sold by DCL through U.S.

             Government contracts.



                                                             31
#4910599v1
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        Case
          Case
            1:23-cv-00476-LMB-LRV
              1:23-cv-00326-TSE-LRV
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                                                                             115PageID#
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                                                                                  PageID#
                                                                                    of 166
                                                                                         122
                                                                                           250
                                         PageID# 955



                    165.    Throughout February 2023, DCL, as well as by and through DCL’s counsel to

             counsel for Missimer, continued to demand return of company property from Missimer.

                    166.    On or about February 23, 2023, by and through his counsel, Missimer requested

             “greater specificity” as to the company property to be returned.

                    167.    Notwithstanding Missimer’s position as DCL’s CTO and system administrator,

             which required that he be aware of any and all equipment that was used in hosting, storing,

             transmitting data, or running on the DCL network, and as a current DLC shareholder, on or about

             March 3, 2023, DCL communicated via its counsel to Missimer’s counsel that was directed to

             immediately return to DCL (a) two (2) server blades, (b) two (2) server towers, (c) one (1) KVM

             switch, (d) one (1) network switch, (e) one (1) raspberry pi running pivpn, (f) one (1) router running

             openwrt, and (g) one Samsung Galaxy Fold cell phone, and that DCL required his assistance in

             identifying any further equipment that was associated with these purposes that was not identified.

                    168.    Despite DCL providing the information requested, which DCL maintains was

             unnecessary given Misismer’s knowledge and expertise, Missimer still failed to immediately

             return the company property in his possession.

                    169.    On or about March 1, 2023, DCL discovered that Missimer had disconnected

             DCL’s virtual private network (“VPN”), which is a secure tunnel between a device, such as a

             server, and the internet, thus cutting off DCL’s access to its own servers.

                    170.    On or about March 1, 2023, Pelkey sent an email to Missimer stating “the company

             VPN is down, am I correct in assuming that it is down because the network equipment is being

             shipped down to Virginia?”

                    171.    DCL received no response from Missimer regarding Pelkey’s March 1, 2023 email

             nor did DCL receive any company property following its discovery of the VPN’s disconnection.




                                                              32
#4910599v1
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        Case
          Case
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              1:23-cv-00326-TSE-LRV
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                                                                          of
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                                                                             115PageID#
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                                                                                  PageID#
                                                                                    of 166
                                                                                         123
                                                                                           251
                                         PageID# 956



                    172.    Despite repeated demands for the return of property by DCL and by and through

             DCL’s counsel to Defendants’ counsel, DCL’s company property in Missimer’s possession had

             still not been returned as of the date of the initial commencement of this action on or about March

             10, 2023.

                    173.    As DCL did not have access to the servers used to store the code because Missimer

             improperly disconnected the VPN without DCL’s authorization, DCL has been unable to sell or

             deliver its products to any clients or customers adding to a significant loss of revenue for DCL

             beyond the loss of revenue related to the IDIQ Contract.

                    174.    In addition to company products and source code, the DCL corporate network also

             holds sensitive DCL business documents that constitute confidential, proprietary, and Trade Secret

             information.

                    175.    These confidential and proprietary documents on DCL’s corporate servers in

             Missimer’s possession include but are not limited the following Trade Secrets such as customer

             lists, company contracts, bid proposals, labor rates, and legal documents (such as non-disclosure

             agreements and teaming agreements), all used for business governance and operations that give

             DCL a competitive advantage in the marketplace.

                    176.    On or about March 16, 2023, as a result of DCL’s substantial efforts seeking the

             return of company property, including initiating the instant action, DCL received notification, by

             and through Missimer’s counsel, that Missimer had shipped at least some of DCL’s property back

             to the company.

                    177.    DCL intends to engage in forensic analysis of any and all company equipment that

             it has yet to receive from Missimer to determine whether Defendants transmitted, copied,




                                                             33
#4910599v1
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        Case
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            1:23-cv-00476-LMB-LRV
              1:23-cv-00326-TSE-LRV
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                                                                       35 of
                                                                          of
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                                                                             115PageID#
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                                                                                  PageID#
                                                                                    of 166
                                                                                         124
                                                                                           252
                                         PageID# 957



             duplicated, deleted, or otherwise compromised the information and software stored in DCL’s

             corporate networks.

                    178.   On information and belief, Missimer disconnected the VPN to engage in

             unauthorized access to DCL’s company property.

                    179.   On information and belief, Missimer granted Carpenter and BSS unauthorized

             access to DCL’s company property while it was in his possession.

                    180.   Based on DCL’s internal forensic investigation to date, which remains ongoing, on

             or about November 10, 2022, Carpenter accessed and downloaded DCL’s business development

             plans and strategies (“Business Plan”) from DCL’s corporate network, which includes but is not

             limited to DCL’s prospective and existing customer lists.

                    181.   On or about November 15, 2022, after updates were made to the Business Plan by

             DLC senior leadership, Carpenter downloaded this same document again.

                    182.   There was no business necessity for Carpenter to access and download the Business

             Plan on or around November 10 and 15, 2023.

                    183.   There is no reason for any DCL employee to download the Business Plan as it is a

             working document with all edits being made live via a document hosting service within the DCL

             corporate network.

                    184.   In fact, DCL’s corporate network user logs reveal that while Carpenter frequently

             viewed or edited other documents on DCL’s corporate networks, the Business Plan was the only

             document that he ever downloaded.

                    185.   Carpenter never uploaded the document with any changes, but instead simply

             downloaded it, on information and belief, to utilize DCL’s trades secrets for Defendants’




                                                            34
#4910599v1
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                                                                             68
                                                                             115PageID#
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                                                                                  PageID#
                                                                                    of 166
                                                                                         125
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                                         PageID# 958



             competitive venture, BSS, which was incorporated approximately two weeks after he downloaded

             the Business Plan for a second time.

                    186.    Defendants have already misappropriated DCL’s customer list by way of soliciting

             Haddock of LMCO for a subcontract on the Task Order related to the IDIQ Contract.

                    187.    Missimer, Carpenter, Frank and Haddock have been acting alone and/or in concert

             with each other and that knowledge and/or action by one is attributable to the other in all respects

             including the deprivation of DCL’s access to DCL Trade Secret information and the use and

             dissemination thereof.

                                        Damage Caused by Defendants’ Conduct

                    188.    Defendants’ activities related to BSS have irreparably harmed DCL’s business

             relationship with its client LMCO.

                    189.    On or about October 28, 2021, DCL was awarded a subcontract by LMCO for the

             Task Order under the IDIQ Contract.

                    190.    The total purchase order value for DCL under the IDIQ Contract is $9,176,491.00

             with annual option periods extending the contract through on or about August 3, 2026.

                    191.    The first option period under the IDIQ Contract was exercised by LMCO before its

             expiration date of August 3, 2022.

                    192.    The deadline for the LMCO to exercise the second option period under the IDIQ

             Contract is August 3, 2023.

                    193.    DCL had been receiving “NET 14” accelerated payments since commencing work

             on the IDIQ Contract, meaning that DCL had been receiving payment from LMCO for invoices

             within fourteen (14) days after approval by LMCO.




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#4910599v1
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                                                                             115PageID#
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                                                                                  PageID#
                                                                                    of 166
                                                                                         126
                                                                                           254
                                         PageID# 959



                    194.   Following Haddock’s disclosure to Pelkey regarding BSS on or about January 25,

             2023, LMCO immediately changed DCL’s payment terms to the maximum time allowable under

             the IDIQ Contract which is “NET 45,” meaning that payments must be made within forty-five (45)

             days of LMCO’s approval of an invoice.

                    195.   This sudden change in payment terms caused float and payroll issues for DCL,

             requiring Pelkey, Bertke, and Littleton to raise $50,000.00 in personal loans to DCL to cover

             payroll for DCL’s employees.

                    196.   Additionally, LMCO reduced its purchase order amount for DCL in its tenth

             contract modification sent to DCL on or about March 6, 2023.

                    197.   Specifically, prior to LMCO’s March 6, 2023 contract modification, DCL had

             received approximately $500,000.00 per contract modification under the Task Order.

                    198.   LMCO communicated to DCL that approximately $500,000.00 was the highest

             purchase order possible under the terms of the IDIQ Contract that did not require an additional

             lengthy approval process by LMCO that would have delayed payment of DCL’s invoices and

             impeded DCL’s ability to make payroll.

                    199.   Larger purchase orders provide longer term stability for start-up ventures such as

             DCL.

                    200.   On or about March 6, 2023, DCL received its most recent purchase order from

             LMCO which was only $75,416.15.

                    201.   LMCO’s extreme downward departure from its prior course of dealing in issuing

             nine previous purchase orders to DCL shows that LMCO has decided not to fund DCL’s

             subcontract on a long-term basis.




                                                           36
#4910599v1
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        Case
          Case
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              1:23-cv-00326-TSE-LRV
                 1:23-cv-00326-LMB-LRV
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                                                                             115PageID#
                                                                                 83
                                                                                  PageID#
                                                                                    of 166
                                                                                         127
                                                                                           255
                                         PageID# 960



                     202.    Based on LMCO’s drastic change in course of dealing, DCL anticipates that LMCO

             will not exercise its option under the IDIQ Contract by the deadline of August 3, 2023.

                     203.    The only aspect of DCL’s business relationship with LMCO that changed from the

             previous purchase orders to the $75,416.15 purchase order was the activities of Carpenter and

             Missimer as it relates to BSS and their communications with Haddock beginning in or around

             December 2022.

                     204.    DCL’s performance for LMCO under the contract has met or exceeded the

             contractual requirements, so much so that: (a) in January, 2023, Defendant Haddock engaged in

             discussions with DCL in January, 2023 for LMCO to outright purchase DCL; (b) Haddock and/or

             LMCO nominated DCL as LMCO Subcontractor of the Year in 2022; (c) Haddock and/or LMCO

             accelerated contract payments to DCL; (d) Haddock and/or LMCO provided assurances and

             otherwise created the reasonable expectation that DCL would continue as a subcontractor through

             2026 and beyond and that DCL’s work volume would continue to increase; (e) Haddock and/or

             LMCO otherwise promoted DCL.

                     205.    For example, on or about July 13, 2022, Haddock sent an email to Bertke stating as

             follows: “You guys are class act and wonderful teammates. Looking forward to working with you

             all for a long time.”

                     206.    As it relates to a potential acquisition of DCL, Haddock sent an email to Pelkey on

             or about January 5, 2023 stating as follows: “I have a business case in review and if that gets

             approved, I could recommend a company purchase and then my leadership would evaluate the

             idea and move from there. Those usually take a few months to make a decision on.”




                                                             37
#4910599v1
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        Case
          Case
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              1:23-cv-00326-TSE-LRV
                 1:23-cv-00326-LMB-LRV
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                                                                 Page
                                                                 Page 38
                                                                       39 of
                                                                          of
                                                                           Page
                                                                             68
                                                                             115PageID#
                                                                                 84
                                                                                  PageID#
                                                                                    of 166
                                                                                         128
                                                                                           256
                                         PageID# 961



                    207.   Throughout the course of working on the IDIQ Contract up until in or around

             February 2023, LMCO went out of its way to provide DCL with accelerated payments as it was

             aware that DCL is a start-up venture with potential cashflow issues for making payroll.

                    208.   Up until January 25, 2023, DCL was assured by Haddock throughout the course of

             working with LMCO that it was an integral part of LMCO’s work on the Task Order and that

             LMCO intended to exercise its options under the recompete clauses in Task Order to keep DCL

             on contract through 2026.

                    209.   Defendants have disclosed DCL Trade Secrets and have communicated with other

             existing and prospective customers and employees regarding the facts and circumstances described

             in this Complaint, with the intent to disparage DCL, to cause other persons or entities to cease

             doing business with DCL and to otherwise cause harm to DCL.

                    210.   At present, DCL’s losses as a result of Carpenter and Missimer’s activities related

             to BSS include but are not limited to: (1) lost revenue to DCL under the IDIQ Contract; (2)

             irreparable harm to its business relationship and reputation with existing client LMCO;

             (3) irreparable harm to DCL’s business relationships and reputation with existing and prospective

             clients; (4) irreparable harm to its business relationships and reputation with existing and

             prospective DCL employees; (5) irreparable harm to DCL’s ability to be competitive as a result of

             misappropriated confidential information and Trade Secrets; and (6) loss of employees and

             damages related to obtaining highly skilled and properly cleared employees and personnel to

             perform work on DCL contracts.




                                                            38
#4910599v1
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        Case
          Case
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              1:23-cv-00326-TSE-LRV
                 1:23-cv-00326-LMB-LRV
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                                                         Filed 04/12/23
                                                                 Page
                                                                 Page 39
                                                                       40 of
                                                                          of
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                                                                             68
                                                                             115PageID#
                                                                                 85
                                                                                  PageID#
                                                                                    of 166
                                                                                         129
                                                                                           257
                                         PageID# 962



                                 AS AND FOR THE FIRST CAUSE OF ACTION
                 (Misappropriation of Trade Secrets under the Defend Trade Secrets Act (“DTSA”),
                                 18 U.S.C. § 1831, et seq., against All Defendants)

                    211.    Plaintiff repeats, reiterates and realleges each and every allegation contained in the

             foregoing paragraphs of this Complaint with the same force an effect as though alleged herein.

                    212.    18 U.S.C. § 1839(3) defines a “trade secret” as “all forms and types of financial,

             business, scientific, technical, economic, or engineering information, including patterns, plans,

             compilations, program devices, formulas, designs, prototypes, methods, techniques, processes,

             procedures, programs, or codes, whether tangible or intangible, and whether or how stored,

             compiled, or memorialized physically, electronically, graphically, photographically, or in writing

             if — (A) the owner thereof has taken reasonable measures to keep such information secret; and

             (B) the information derives independent economic value, actual or potential, from not being

             generally known to, and not being readily ascertainable through proper means by, another person

             who can obtain economic value from the disclosure or use of the information.”

                    213.    18 U.S.C. § 1839(3) defines a “misappropriation” as “(A) acquisition of a trade

             secret of another by a person who knows or has reason to know that the trade secret was acquired

             by improper means; or (B) disclosure or use of a trade secret of another without express or implied

             consent by a person who — (i) used improper means to acquire knowledge of the trade secret;

             (ii) at the time of disclosure or use, knew or had reason to know that the knowledge of the trade

             secret was — (I) derived from or through a person who had used improper means to acquire the

             trade secret; (II) acquired under circumstances giving rise to a duty to maintain the secrecy of the

             trade secret or limit the use of the trade secret; or (III) derived from or through a person who owed

             a duty to the person seeking relief to maintain the secrecy of the trade secret or limit the use of the

             trade secret; or (iii) before a material change of the position of the person, knew or had reason to




                                                               39
#4910599v1
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        Case
          Case
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              1:23-cv-00326-TSE-LRV
                 1:23-cv-00326-LMB-LRV
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                                                                 Page
                                                                 Page 40
                                                                       41 of
                                                                          of
                                                                           Page
                                                                             68
                                                                             115PageID#
                                                                                 86
                                                                                  PageID#
                                                                                    of 166
                                                                                         130
                                                                                           258
                                         PageID# 963



             know that - (I) the trade secret was a trade secret; and (II) knowledge of the trade secret had been

             acquired by accident or mistake.”

                    214.    Defendants intentionally misappropriated and/or conspired to misappropriate Trade

             Secrets from DCL to their own economic benefit, knowing that the misappropriation would harm

             DCL.

                    215.    DCL had and has valuable Trade Secrets relating to its product and service offerings

             in interstate and/or foreign commerce, namely its provision of cyber security products and services

             marketed to the United States federal government including but not limited to hypervisor

             development, reverse engineering, and CNO tool development.

                    216.    DCL Trade Secrets constitute business and financial information, both tangible and

             intangible, relating to its company operations and including, but is not limited to, plans,

             compilations, formulas, designs, methods, techniques, processes, procedures and customer lists.

                    217.    These Trade Secrets derive their independent economic value from not being

             generally known to, and not being readily ascertainable through proper means by, another person

             who can obtain economic value from their disclosure or use.

                    218.    DCL’s competitors, such as BSS, could use DCL Trade Secrets to procure an unfair

             competitive advantage over it, steal its customers, undercut its pricing and replicate its customer

             service methods.

                    219.    DCL has taken reasonable measures to keep such information secret by, among

             other things, (i) securing DCL’s physical servers in a secure location and providing custody and

             control to DCL’s co-founder and CTO Missimer, which is not generally accessible to the public;

             (ii) having employees sign non-disclosure and mutual confidentiality agreements; (iii) requiring

             that DCL leadership mark outgoing information as “confidential”, “company confidential”, and/or




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             “proprietary” before sending it externally; (iv) password-protecting all employees’ laptops; (v)

             requiring full disk encryption of all employee’s laptops; (vi) utilizing a corporate VPN with per

             employee certificates to access the network; (vii) requiring the use of a sophisticated local

             password management application, Keepass, to encrypt all employees’ corporate passwords; (viii)

             requiring Keepass randomly generated confidential passwords to access DCL’s work-related

             network applications, which also must be accessed through the DCL network; (ix) requiring non-

             disclosure and mutual confidentiality agreements with all vendors, insurance carriers,

             subcontractors, co-brokers and other third-parties; (x) assuring compliance with all applicable

             cybersecurity regulations; and (xi) utilizing role-based access control to enforce least privilege

             required and only granting developers access to source code repositories for which they were

             authorized by DCL.

                    220.    DCL has further taken reasonable measures to secure its software products, which

             Trade Secret information, by requiring all developers working on software products to utilize

             company laptops for development and to utilize the DCL GitLab which does not have connection

             to the internet. In order to view the repositories, an administrator must affirmatively grant access.

             The only administrators are the owners of DCL, which includes Missimer. DCL additionally

             requires all employees with access to DCL’s network to take reasonable countermeasures to ensure

             access to the company network and subsequent source code repositories are protected. To do so,

             DCL employees were required to have a VPN certificate generated by Missimer, who was DCL’s

             CTO, to gain access to the internal network. Furthermore, once inside the DCL corporate network

             employees were required to authenticate with their DCL accounts through the use of single-sign-

             on (“SSO”) which validated the account permissions allowed.




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                    221.    By way of the disclosures to DCL and the reasonable measures in place to protect

             DCL’s Trade Secret information, it cannot reasonably be disputed Carpenter and Missimer, in

             concert with Haddock, stole, or otherwise removed or used without authorization and through

             improper means, confidential and proprietary corporate documents from DCL, in violation of the

             DTSA, 18 U.S.C. § 1831, et seq.

                    222.    There exists a substantial likelihood of “inevitable disclosure” of DCL Trade

             Secrets if Missimer, Carpenter or Frank are allowed to work at a competitor company, in part

             because they cannot unlearn what he learned while working at DCL and if they are allowed to

             work with a competitor, their extensive knowledge would almost certainly filter into their work

             and result in disclosure of DCL Trade Secrets. See Atlantic Diving Supply, Inc. v. Jay Basnight,

             No. 2:22cv298, 2022 WL 5568083, at *12-13 (E.D. Va. Sept. 21, 2022) (citing W.L. Gore &

             Assocs., Inc. v. Wu, No. C. A. 263-N, 2006 WL 2692584, at *14 (Del. Ch. Sept. 15, 2006), aff’d,

             918 A.2d 1171 (Del. 2007)).

                    223.    Based on Defendants’ blatant conduct in disregard for their respective contractual,

             statutory and common law obligations, Missimer’s refusal to return DCL’s company property,

             Defendants’ disclosure of DCL’s Trade Secret and confidential information including disclosure

             of proposed settlement terms, and the highly sensitive nature of DCL’s business operations, a court

             could not have “confidence that [Defendants] w[ould] refrain from using [DCL]’s Trade Secrets

             if [they were] allowed to work in areas where [they would] have to exercise the discretion and

             judgment to not use them.” Id. at *12 (quoting W.L. Gore, 2006 WL 2692584, at *10, 14).

                    224.    Defendants have violated the DTSA and other obligations owed to DCL by, inter

             alia, (i) wrongfully possessing, disseminating, misappropriating, utilizing or destroying Trade

             Secrets and/or confidential/proprietary business information, (ii) recruiting and soliciting DCL




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#4910599v1
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              1:23-cv-00326-TSE-LRV
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             employees away from DCL to join BSS or other employers (iii) soliciting, diverting and/or

             servicing DCL’s actual or prospective customers, (iv) working for DCL’s direct competitor, BSS

             and others, while still employed by DCL, and thereafter, (v) using Trade Secrets for the benefit of

             a person or entity other than DCL, (vii) disclosing Trade Secrets to BSS, Haddock and others, (vii)

             failing to return to DCL all of its confidential and Trade Secret information, (viii) causing LMCO

             to threaten to terminate or actually terminate DCL, (ix) inducing DCL to continue to employ

             Carpenter, Missimer, and Frank until Defendants could complete their plan to misappropriate DCL

             Trade Secrets, and (x) Defendants utilizing Trade Secrets to accomplish these aforementioned acts.

                    225.    Defendants acted singular and in concert in the misappropriation of DCL Trade

             Secrets and other wrongful acts alleged herein for the benefit of Defendants.

                    226.    Defendants have disclosed DCL Trade Secrets and have communicated with other

             existing and prospective customers and employees regarding the facts and circumstances described

             in this Complaint, with the intent to disparage DCL, to cause other persons or entities to cease

             doing business with DCL and to otherwise cause harm to DCL.

                    227.    Defendants knew or had reason to know that the Trade Secrets and

             confidential/proprietary business information were meant to be kept confidential, yet still

             misappropriated and disclosed same to others.

                    228.    Defendants acquired, utilized and/or disseminated DCL Trade Secrets with

             knowledge that Missimer, Carpenter and Frank breached their various duties to DCL.

                    229.    DCL demands the return of its Trade Secrets, a preliminary and permanent

             injunction stopping further dissemination or use of Trade Secrets and mandating destruction of the

             Trade Secrets in the hands of the misappropriating parties, as well as damages, including




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                                         PageID# 967



             exemplary damages, attorneys’ fees and costs because Defendants misappropriated DCL Trade

             Secrets willfully and maliciously.

                              AS AND FOR THE SECOND CAUSE OF ACTION
                 (Misappropriation of Trade Secrets under the Virginia Uniform Trade Secrets Act
                        (“VUTSA”), Va. Code §§ 59.1-336, et seq., against All Defendants)

                    230.    Plaintiff repeats, reiterates and realleges each and every allegation contained in the

             foregoing paragraphs of this Complaint with the same force an effect as though alleged herein.

                    231.    Va. Code § 59.1-336 defines a “trade secret” as “information, including but not

             limited to, a formula, pattern, compilation, program, device, method, technique, or process,” that:

             (i) “[d]erives independent economic value, actual or potential, from not being generally known to,

             and not being readily ascertainable by proper means by, other persons who can obtain economic

             value from its disclosure or use,” and (ii) “[i]s the subject of efforts that are reasonable under the

             circumstances to maintain its secrecy.”

                    232.    Va. Code § 59.1-336 defines a “misappropriation” as (i) “[a]cquisition of a trade

             secret of another by a person who knows or has reason to know that the trade secret was acquired

             by improper means;” or (ii) “[d]isclosure or use of a trade secret of another without express or

             implied consent by a person who [(a)] [u]sed improper means to acquire knowledge of the trade

             secret; or [(b)] At the time of disclosure or use, knew or had reason to know that his knowledge of

             the trade secret was (1) Derived from or through a person who had utilized improper means to

             acquire it; (2) Acquired under circumstances giving rise to a duty to maintain its secrecy or limit

             its use; (3) Derived from or through a person who owed a duty to the person seeking relief to

             maintain its secrecy or limit its use; or (4) Acquired by accident or mistake..”




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                    233.    Defendants intentionally misappropriated and/or conspired to misappropriate Trade

             Secrets from DCL to their own economic benefit, knowing that the misappropriation would harm

             DCL.

                    234.    DCL had and has valuable Trade Secrets relating to its product and service offerings

             in interstate and/or foreign commerce, namely its provision of cyber security products and services

             marketed to the United States federal government including but not limited to hypervisor

             development, reverse engineering, and CNO tool development.

                    235.    DCL Trade Secrets constitute business and financial information, both tangible and

             intangible, relating to its company operations and including, but is not limited to, business data

             compilations, programs, diagrams, drawings, plans, compilations, formulas, designs, methods,

             techniques, processes, procedures and customer lists.

                    236.    These Trade Secrets derive their independent economic value from not being

             generally known to, and not being readily ascertainable through proper means by, another person

             who can obtain economic value from their disclosure or use.

                    237.    DCL’s competitors, such as BSS, could use DCL Trade Secrets to procure an unfair

             competitive advantage over it, steal its customers, undercut its pricing and replicate its customer

             service methods.

                    238.    DCL has taken reasonable measures to keep such information secret by, among

             other things, (i) securing DCL’s physical servers and providing custody and control to Defendant

             Missimer, DCL’s co-founder and CTO, which is not generally accessible to the public; (ii) having

             employees sign non-disclosure and mutual confidentiality agreements; (iii) requiring that DCL

             leadership mark outgoing information as “confidential”, “company confidential”, and/or

             “proprietary” before sending it externally; (iv) password-protecting all employees’ laptops; (v)




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                                                                                    of 166
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                                         PageID# 969



             requiring full disk encryption of all employee’s laptops; (vi) utilizing a corporate VPN with per

             employee certificates to access the network; (vii) requiring the use of a sophisticated local

             password management application, Keepass, to encrypt all employees’ corporate passwords; (viii)

             requiring Keepass randomly generated confidential passwords to access DCL’s work-related

             network applications, which also must be accessed through the DCL network; (ix) requiring non-

             disclosure and mutual confidentiality agreements with all vendors, insurance carriers,

             subcontractors, co-brokers and other third-parties; (x) assuring compliance with all applicable

             cybersecurity regulations; and (xi) utilizing role-based access control to enforce least privilege

             required and only granting developers access to source code repositories for which they were

             authorized by DCL.

                    239.    DCL has further taken reasonable measures to secure its software products, which

             Trade Secret information, by requiring all developers working on software products to utilize

             company laptops for development and to utilize the DCL GitLab which does not have connection

             to the internet. In order to view the repositories, an administrator must affirmatively grant access.

             The only administrators are the owners of DCL, which includes Missimer. DCL additionally

             requires all employees with access to DCL’s network to take reasonable countermeasures to ensure

             access to the company network and subsequent source code repositories are protected. To do so,

             DCL employees were required to have a VPN certificate generated by Missimer, who was DCL’s

             CTO, to gain access to the internal network. Furthermore, once inside the DCL corporate network

             employees were required to authenticate with their DCL accounts through the use of SSO which

             validated the account permissions allowed.

                    240.    By way of the disclosures to DCL and the reasonable measures in place to protect

             DCL’s Trade Secret information, it cannot reasonably be disputed that Carpenter and Missimer




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                                                                                    of 166
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                                         PageID# 970



             separately and with the other Defendants stole, or otherwise utilized or removed without

             authorization and through improper means, confidential and proprietary corporate documents from

             DCL, in violation of the VUTSA, Va. Code § 59.1-336, et seq.

                    241.    Defendants acted singularly and in concert to misappropriate DCL Trade Secrets

             for their own benefit to the detriment of DCL.

                    242.    Defendants have violated the VUTSA and other obligations owed to DCL by, inter

             alia, (i) wrongfully possessing, disseminating, misappropriating, utilizing or destroying Trade

             Secrets and/or confidential/proprietary business information, (ii) recruiting and soliciting DCL

             employees away from DCL to join BSS or other employers, (iii) soliciting, diverting and/or

             servicing DCL’s actual or prospective customers, (iv) working for DCL’s direct competitor, BSS

             and others, while still employed by DCL, and thereafter, (v) using Trade Secrets for the benefit of

             a person or entity other than DCL; (vii) disclosing Trade Secrets to BSS, Haddock and others, (vii)

             failing to return to DCL all of its confidential and Trade Secret information, (viii) causing LMCO

             to threaten to terminate or actually terminate DCL, (ix) inducing DCL to continue to employ

             Carpenter, Missimer, and Frank until Defendants could complete their plan to misappropriate DCL

             Trade Secrets, and (x) Defendants utilizing Trade Secrets to accomplish these aforementioned acts.

                    243.    Defendants acted singular and in concert in the misappropriation of DCL Trade

             Secrets and other wrongful acts alleged herein for the benefit of Defendants and others.

                    244.    Defendants have disclosed DCL Trade Secrets and have communicated with other

             existing and prospective customers and employees regarding the facts and circumstances described

             in this Complaint, with the intent to disparage DCL, to cause other persons or entities to cease

             doing business with DCL and to otherwise cause harm to DCL.




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                                                                             115PageID#
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                                                                                  PageID#
                                                                                    of 166
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                                         PageID# 971



                    245.    Defendants knew or had reason to know that the Trade Secrets and

             confidential/proprietary business information were meant to be kept confidential, yet still

             misappropriated and disclosed same to others.

                    246.    Defendants acquired, utilized and/or disseminated DCL Trade Secrets with

             knowledge that Missimer, Carpenter and Frank breached their various duties to DCL.

                    247.    DCL demands the return of its Trade Secrets, a preliminary and permanent

             injunction stopping further dissemination or use of Trade Secrets and mandating destruction of the

             Trade Secrets in the hands of the misappropriating parties, as well as damages, including punitive

             damages, attorneys’ fees and costs because Defendants misappropriated DCL Trade Secrets

             willfully and maliciously.

                                 AS AND FOR THE THIRD CAUSE OF ACTION
              (Violation of Virginia’s Uniform Computer Information Transactions Act (“VUCITA”),
                               Va. Code §§ 59.1-501.1, et seq., against All Defendants)

                    248.    Plaintiff repeats, reiterates and realleges each and every allegation contained in the

             foregoing paragraphs of this Complaint with the same force an effect as though alleged herein.

                    249.    DCL had and has valuable Trade Secrets relating to their product and service

             offerings in interstate and/or foreign commerce, namely its provision of cyber security products

             and services marketed to the United States federal government including but not limited to

             hypervisor development, reverse engineering, and CNO tool development.

                    250.    The VUCITA provides default rules and remedies to commercial transactions

             related to computer information transactions. Computer information transactions under VUCITA

             can include the digital transfer of informational rights, which include trade secrets.

                    251.    The VUCITA defines “[i]nformational rights” to include all rights in information

             created under laws governing “all rights in information created under laws governing patents,




                                                              48
#4910599v1
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                                                                             115PageID#
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                                                                                  PageID#
                                                                                    of 166
                                                                                         139
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                                         PageID# 972



             copyrights, mask works, trade secrets, trademarks, publicity rights, or any other law that gives a

             person, independently of contract, a right to control or preclude another person's use of or access

             to the information on the basis of the rights holder's interest in the information.” Va. Code § 59.1-

             501.2(38).

                    252.    By and through the use of computer information transactions, Carpenter and

             Missimer and the other Defendants, singularly and in concert, purposefully or knowingly accessed,

             took, and destroyed Trade Secrets contained in data and/or databases and otherwise disseminated

             or utilized Trade Secrets belonging to DCL for their own benefit to the detriment of DCL.

                    253.    Defendants have disclosed DCL Trade Secrets and have communicated with other

             existing and prospective customers and employees regarding the facts and circumstances described

             in this Complaint, with the intent to disparage DCL, to cause other persons or entities to cease

             doing business with DCL and to otherwise cause harm to DCL.

                    254.    As a result, DCL has been damaged and is entitled to compensatory and punitive

             damages, as well as reasonable attorneys’ fees and costs of suit and other relief.

                              AS AND FOR THE FOURTH CAUSE OF ACTION
              (Misappropriation of Trade Secrets under Virginia common law against All Defendants)

                    255.    Plaintiff repeats, reiterates and realleges each and every allegation contained in the

             foregoing paragraphs of this Complaint with the same force an effect as though alleged herein.

                    256.    Pursuant to well-established Virginia common law, to be protected as a “trade

             secret,” courts require that: (1) The information is secret; (2) The economic value is derived from

             its secrecy; (3) The information is not readily ascertainable by proper means by competitors who

             could obtain economic value from its disclosure; and (4) The owner uses reasonable efforts to

             safeguard the information. MicroStrategy Inc. v. Li, 240 Va. 297, 601 S.E.2d 580 (Va. 2004); see

             Dionne v. Se. Foam Converting & Packaging, Inc., 240 Va. 297, 397 S.E.2d 110 (Va. 1990).



                                                              49
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                                                                                    of 166
                                                                                         140
                                                                                           268
                                         PageID# 973



                    257.    DCL had and has valuable Trade Secrets relating to their product and service

             offerings in interstate and/or foreign commerce, namely its provision of cyber security products

             and services marketed to the United States federal government including but not limited to

             hypervisor development, reverse engineering, and CNO tool development.

                    258.    DCL also had and has confidential and proprietary business information that does

             not rise to the level of a trade secret but is still protectable under Virginia common law.

                    259.    DCL Trade Secrets and confidential/proprietary business information are not

             known outside of its business, have inherent value to DCL and its competitors, were developed

             through the expenditure of a substantial amount of resources and are not capable of being acquired

             or duplicated by others.

                    260.    DCL has taken reasonable measures to keep such information secret by, among

             other things, (i) securing DCL’s physical servers in a secure location and placing them within the

             custody and control of Defendant Missimer, who is a DCL’s co-founder andwas DCL’s CTO,

             which are not generally accessible to the public; (ii) having employees sign non-disclosure and

             mutual confidentiality agreements; (iii) requiring that DCL leadership mark outgoing information

             as “confidential”, “company confidential”, and/or “proprietary” before sending it externally; (iv)

             password-protecting all employees’ laptops; (v) requiring full disk encryption of all employee’s

             laptops; (vi) utilizing a corporate VPN with per employee certificates to access the network; (vii)

             requiring the use of a sophisticated local password management application, Keepass, to encrypt

             all employees’ corporate passwords; (viii) requiring Keepass randomly generated confidential

             passwords to access DCL’s work-related network applications, which also must be accessed

             through the DCL network; (ix) requiring non-disclosure and mutual confidentiality agreements

             with all vendors, insurance carriers, subcontractors, co-brokers and other third-parties; (x) assuring




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                                                                             115PageID#
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                                                                                    of 166
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                                         PageID# 974



             compliance with all applicable cybersecurity regulations; and (xi) utilizing role-based access

             control to enforce least privilege required and only granting developers access to source code

             repositories for which they were authorized by DCL.

                    261.    DCL has further taken reasonable measures to secure its software products, which

             Trade Secret information, by requiring all developers working on software products to utilize

             company laptops for development and to utilize the DCL GitLab which does not have connection

             to the internet. In order to view the repositories, an administrator must affirmatively grant access.

             The only administrators are the owners of DCL, which includes Missimer. DCL additionally

             requires all employees with access to DCL’s network to take reasonable countermeasures to ensure

             access to the company network and subsequent source code repositories are protected. To do so,

             DCL employees were required to have a VPN certificate generated by Missimer, who was DCL’s

             CTO, to gain access to the internal network. Furthermore, once inside the DCL corporate network

             employees were required to authenticate with their DCL accounts through the use of SSO which

             validated the account permissions allowed.

                    262.    Defendants have violated the Virginia common law and other obligations owed to

             DCL by, inter alia, (i) wrongfully possessing, disseminating, misappropriating, utilizing or

             destroying Trade Secrets and/or confidential/proprietary business information, (ii) recruiting and

             soliciting DCL employees away from DCL to join BSS or other employers, (iii) soliciting,

             diverting and/or servicing DCL’s actual or prospective customers, (iv) working for DCL’s direct

             competitor, BSS and others, while still employed by DCL, and thereafter (v) using Trade Secrets

             for the benefit of a person or entity other than DCL, (vii) disclosing Trade Secrets to BSS, Haddock

             and others, (vii) failing to return to DCL all of its confidential and Trade Secret information, (viii)

             causing LMCO to threaten to terminate or actually terminate DCL, (ix) inducing DCL to continue




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#4910599v1
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                                                                             115PageID#
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                                                                                    of 166
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                                         PageID# 975



             to employ Carpenter, Missimer, and Frank until Defendants could complete their plan to

             misappropriate DCL Trade Secrets, and (x) Defendants utilizing Trade Secrets to accomplish these

             aforementioned acts.

                    263.    Defendants acted singular and in concert in the misappropriation of DCL Trade

             Secrets and other wrongful acts alleged herein for the benefit of Defendants.

                    264.    Defendants have disclosed DCL Trade Secrets and have communicated with other

             existing and prospective customers and employees regarding the facts and circumstances described

             in this Complaint, with the intent to disparage DCL, to cause other persons or entities to cease

             doing business with DCL and to otherwise cause harm to DCL.

                    265.    Defendants knew or had reason to know that the Ttrade Secrets and

             confidential/proprietary business information were meant to be kept confidential, yet still

             misappropriated and disclosed same to a directly competitive enterprise, BSS and others.

                    266.    Defendants acquired, utilized and/or disseminated DCL Trade Secrets with

             knowledge that Missimer, Carpenter and Frank breached their various duties to DCL

                    267.    As a result of Defendants’ misappropriation, dissemination, destruction and/or use

             of DCL Trade Secrets, DCL has been damaged.

                    268.    DCL is entitled to compensatory and punitive damages, injunctive relief and

             attorneys’ fees and costs of suit on account of Defendants’ Virginia common law misappropriation

             of Trade Secrets and other relief.

                                  AS AND FOR THE FIFTH CAUSE OF ACTION
                             (Breach of Contract against Carpenter, Missimer, and Frank)

                    269.    Plaintiff repeats, reiterates and realleges each and every allegation contained in the

             foregoing paragraphs of this Complaint with the same force an effect as though alleged herein.




                                                             52
#4910599v1
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                                                                             115PageID#
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                                                                                  PageID#
                                                                                    of 166
                                                                                         143
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                                         PageID# 976



                    270.    DCL has fully performed its material obligations to Carpenter, Missimer, and Frank

             under their employment agreements or shareholder agreement.

                    271.    Defendants have violated their contractual obligations owed to DCL by, inter alia,

             (i) wrongfully possessing, disseminating, misappropriating, utilizing or destroying Trade Secrets

             and/or confidential/proprietary business information, (ii) recruiting and soliciting DCL employees

             away from DCL to join BSS or other employers, (iii) soliciting, diverting and/or servicing DCL’s

             actual or prospective customers, (iv) working for DCL’s direct competitor, BSS and others, while

             still employed by DCL, and thereafter (v) using Trade Secrets for the benefit of a person or entity

             other than DCL, (vii) disclosing Trade Secrets to BSS, Haddock and others, (vii) failing to return

             to DCL all of its confidential and Trade Secret information, (viii) causing LMCO to threaten to

             terminate or actually terminate DCL, (ix) inducing DCL to continue to employ Carpenter,

             Missimer, and Frank until Defendants could complete their plan to misappropriate DCL Trade

             Secrets, and (x) Defendants utilizing Trade Secrets to accomplish these aforementioned acts.

                    272.    Defendants acted singular and in concert in the misappropriation of DCL Trade

             Secrets and other wrongful acts alleged herein for the benefit of Defendants.

                    273.    Defendants have disclosed DCL Trade Secrets and have communicated with other

             existing and prospective customers and employees regarding the facts and circumstances described

             in this Complaint, with the intent to disparage DCL, to cause other persons or entities to cease

             doing business with DCL and to otherwise cause harm to DCL.

                    274.    Defendants knew or had reason to know that the Trade Secrets and

             confidential/proprietary business information were meant to be kept confidential, yet still

             misappropriated and disclosed same to a directly competitive enterprise, BSS and others.




                                                             53
#4910599v1
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              1:23-cv-00326-TSE-LRV
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                                                                 Page
                                                                  Page 54
                                                                        55 of
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                                                                           of 68
                                                                              115PageID#
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                                                                                  PageID#
                                                                                     of 166
                                                                                          144
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                                          PageID# 977



                     275.    Defendants acquired, utilized and/or disseminated DCL Trade Secrets with

             knowledge that Missimer, Carpenter and Frank breached their various duties to DCL

                     276.    Haddock singularly and in concert with the other Defendants solicited, enduced and

             participated in the breaches by Carpenter, Missimer, and Frank.

                     277.    The harm to DCL resulting from Defendants’ acts is irreparable, continuing, and

             not fully compensable by monetary damages.

                     278.    Defendants unlawful acts have damaged DCL and will continue to cause damage

             and irreparable injury to DCL unless enjoined by this Court; therefore, DCL is entitled to a

             preliminary and permanent injunction.

                     279.    DCL is also entitled to compensatory damages as well as contractual attorneys’ fees

             and costs of suit, injunctive and other relief.

                                 AS AND FOR THE SIXTH CAUSE OF ACTION
              (Breach of Fiduciary Duty and Duty of Loyalty against Carpenter, Missimer, and Frank)

                     280.    Plaintiff repeats, reiterates and realleges each and every allegation contained in the

             foregoing paragraphs of this Complaint with the same force an effect as though alleged herein.

                     281.    At all relevant times, Carpenter, Missimer, and Frank owed a fiduciary duty and a

             duty of loyalty to DCL, which required them to use their best efforts on behalf of DCL, to act in

             DCL’s best interests, and to refrain from activities that would damage DCL’s interests.

                     282.    Carpenter, Missimer, and Frank violated these duties when they, without notice,

             accepted employment and/or began working for BSS while still employed by DCL, in a manner

             calculated to divert business and employees from and to interfere with the DCL’s business

             relationships and operations and committed the other acts alleged in this Complaint.




                                                               54
#4910599v1
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            1:23-cv-00476-LMB-LRV
              1:23-cv-00326-TSE-LRV
                1:23-cv-00326-LMB-LRV
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                                                                 Page
                                                                  Page 55
                                                                        56 of
                                                                           Page
                                                                           of 68
                                                                              115PageID#
                                                                                 101
                                                                                  PageID#
                                                                                     of 166
                                                                                          145
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                                          PageID# 978



                    283.    Additionally, as DCL employees, Carpenter, Missimer, and Frank had a duty of

             loyalty, honesty and fidelity to maintain the confidentiality of DCL Trade Secrets and

             confidential/proprietary business information.

                    284.    Carpenter, Missimer, and Frank misappropriated and/or wrongfully disclosed and

             used for improper purposes such confidential information and Trade Secrets to compete with DCL.

                    285.    Carpenter, Missimer, and Frank’s actions constitute a scheme of self-dealing,

             where Carpenter, Missimer, and Frank acted against the interests of DCL for their own economic

             advantage and that of BSS’s, thereby disadvantaging DCL’s economic and business interests.

                    286.    Defendants have violated their fiduciary duties and duty of loyalty owed to DCL

             by, inter alia, (i) wrongfully possessing, disseminating, misappropriating, utilizing or destroying

             Trade Secrets and/or confidential/proprietary business information, (ii) recruiting and soliciting

             DCL employees away from DCL to join BSS or other employers, (iii) soliciting, diverting and/or

             servicing DCL’s actual or prospective customers, (iv) working for DCL’s direct competitor, BSS

             and others, while still employed by DCL, and thereafter (v) using Trade Secrets for the benefit of

             a person or entity other than DCL, (vii) disclosing Trade Secrets to BSS, Haddock and others, (vii)

             failing to return to DCL all of its confidential and Trade Secret information, (viii) causing LMCO

             to threaten to terminate or actually terminate DCL, (ix) inducing DCL to continue to employ

             Carpenter, Missimer, and Frank until Defendants could complete their plan to misappropriate DCL

             Trade Secrets, and (x) Defendants utilizing Trade Secrets to accomplish these aforementioned

             acts.Defendants acted singular and in concert in the misappropriation of DCL Trade Secrets and

             other wrongful acts alleged herein for the benefit of Defendants.

                    287.    Defendants have disclosed DCL Trade Secrets and have communicated with other

             existing and prospective customers and employees regarding the facts and circumstances described




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              1:23-cv-00326-TSE-LRV
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                                                                  Page 56
                                                                        57 of
                                                                           Page
                                                                           of 68
                                                                              115PageID#
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                                                                                  PageID#
                                                                                     of 166
                                                                                          146
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                                          PageID# 979



             in this Complaint, with the intent to disparage DCL, to cause other persons or entities to cease

             doing business with DCL and to otherwise cause harm to DCL.

                    288.    Defendants knew or had reason to know that the Trade Secrets and

             confidential/proprietary business information were meant to be kept confidential, yet still

             misappropriated and disclosed same to a directly competitive enterprise, BSS and others.

                    289.    Haddock singularly and in concert with the other Defendants solicited, induced and

             participated in the breaches by Carpenter, Missimer, and Frank.

                    290.    The harm to DCL resulting from Defendants’ acts is irreparable, continuing, and

             not fully compensable by monetary damages.

                    291.    Defendants’ acts have damaged DCL and will continue to cause damage and

             irreparable injury to DCL unless enjoined by this Court; therefore, DCL is entitled to a preliminary

             and permanent injunction and other relief.

                    292.    Defendants have also proximately caused DCL to suffer compensatory damages in

             an amount to be proven at trial.

                                 AS AND FOR THE SEVENTH CAUSE OF ACTION
                                  (Aiding and Abetting a Breach of Contract and/or
                              Fiduciary Duty and Duty of Loyalty against All Defendants)

                    293.    Plaintiff repeats, reiterates and realleges each and every allegation contained in the

             foregoing paragraphs of this Complaint with the same force an effect as though alleged herein.

                    294.    All Defendants are have knowledge of the contractual, statutory and common law

             duties owed by Carpenter, Missimer, and Frank to DCL yet Defendants encouraged and assisted

             them in committing breaches of same.

                    295.    Defendants’ assistance in this regard was knowing and substantial.




                                                             56
#4910599v1
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            1:23-cv-00476-LMB-LRV
              1:23-cv-00326-TSE-LRV
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                                                                 Page
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                                                                        58 of
                                                                           Page
                                                                           of 68
                                                                              115PageID#
                                                                                 103
                                                                                  PageID#
                                                                                     of 166
                                                                                          147
                                                                                            275
                                          PageID# 980



                    296.    The harm to DCL resulting from Defendants’ acts is irreparable, continuing, and

             not fully compensable by monetary damages.

                    297.    Defendants’ unlawful acts have damaged DCL and will continue to cause damage

             and irreparable injury to DCL unless enjoined by this Court; therefore, DCL is entitled to a

             preliminary and permanent injunction and other relief.

                    298.    Defendants have also proximately caused DCL to suffer compensatory damages in

             an amount to be proven at trial.

                                 AS AND FOR THE EIGHTH CAUSE OF ACTION
                              (Common Law Unfair Competition against All Defendants)

                    299.    Plaintiff repeats, reiterates and realleges each and every allegation contained in the

             foregoing paragraphs of this Complaint with the same force an effect as though alleged herein.

                    300.    Rather than build their own client base by investing the time and capital necessary

             to do so, Defendants have conspired to misappropriate DCL’s confidential client lists, other Trade

             Secrets, clients, employees and other business information, then used same to unfairly compete

             against DCL.

                    301.    Defendants have taken for themselves client relationships that DCL nurtured,

             developed and maintained since the founding of the company

                    302.    Defendants have unfairly received the benefit of DCL’s client relationships without

             any of the costs associated with developing those relationships, which costs were born solely by

             DCL.

                    303.    Defendants have violated the common law prohibitions against unfair competition

             owed to DCL by, inter alia, (i) wrongfully possessing, disseminating, misappropriating, utilizing

             or destroying Trade Secrets and/or confidential/proprietary business information, (ii) recruiting

             and soliciting DCL employees away from DCL to join BSS or other employers, (iii) soliciting,



                                                             57
#4910599v1
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              1:23-cv-00326-TSE-LRV
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                                                                  Page 58
                                                                        59 of
                                                                           Page
                                                                           of 68
                                                                              115PageID#
                                                                                 104
                                                                                  PageID#
                                                                                     of 166
                                                                                          148
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                                          PageID# 981



             diverting and/or servicing DCL’s actual or prospective customers, (iv) working for DCL’s direct

             competitor, BSS and others, while still employed by DCL, and thereafter (v) using Trade Secrets

             for the benefit of a person or entity other than DCL, (vii) disclosing Trade Secrets to BSS, Haddock

             and others, (vii) failing to return to DCL all of its confidential and Trade Secret information, (viii)

             causing LMCO to threaten to terminate or actually terminate DCL, (ix) inducing DCL to continue

             to employ Carpenter, Missimer, and Frank until Defendants could complete their plan to

             misappropriate DCL Trade Secrets, and (x) Defendants utilizing Trade Secrets to accomplish these

             aforementioned acts.

                    304.    Defendants acted singular and in concert in the misappropriation of DCL Trade

             Secrets and other wrongful acts alleged herein for the benefit of Defendants.

                    305.    Defendants have disclosed DCL Trade Secrets and have communicated with other

             existing and prospective customers and employees regarding the facts and circumstances described

             in this Complaint, with the intent to disparage DCL, to cause other persons or entities to cease

             doing business with DCL and to otherwise cause harm to DCL.

                    306.    Defendants knew or had reason to know that the Trade Secrets and

             confidential/proprietary business information were meant to be kept confidential, yet still

             misappropriated and disclosed same to a directly competitive enterprise, BSS and others.

                    307.    Haddock singularly and in concert with the other Defendants solicited, enduced and

             participated in the breaches by Carpenter, Missimer, and Frank.

                    308.    Defendants’ conduct constitutes common law unfair competition.

                    309.    The harm to DCL resulting from Defendants’ acts is irreparable, continuing, and

             not fully compensable by monetary damages.




                                                               58
#4910599v1
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            1:23-cv-00476-LMB-LRV
              1:23-cv-00326-TSE-LRV
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                                                       04/12/23
                                                         Filed 04/12/23
                                                                 Page
                                                                  Page 59
                                                                        60 of
                                                                           Page
                                                                           of 68
                                                                              115PageID#
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                                                                                  PageID#
                                                                                     of 166
                                                                                          149
                                                                                            277
                                          PageID# 982



                     310.    Defendants’ unlawful acts have damaged DCL and will continue to cause damage

             and irreparable injury to DCL unless enjoined by this Court; therefore, DCL is entitled to a

             preliminary and permanent injunction and other relief.

                     311.    Defendants have also caused DCL to suffer compensatory damages in an amount

             to be proven at trial.

                                  AS AND FOR THE NINTH CAUSE OF ACTION
                (Tortious Interference with Prospective Economic Advantage against All Defendants)

                     312.    Plaintiff repeats, reiterates and realleges each and every allegation contained in the

             foregoing paragraphs of this Complaint with the same force an effect as though alleged herein.

                     313.    DCL has actual and prospective business relationships with numerous third-party

             customers or clients.

                     314.    DCL also had reasonable expectations of economic advantage with prospective

             business relationships in the form of potential customers or clients.

                     315.    These relationships and expectations constitute protectable interests.

                     316.    Defendants tortiously interfered with DCL’s prospective economic advantage by,

             inter alia, (i) wrongfully possessing, disseminating, misappropriating, utilizing or destroying

             Trade Secrets and/or confidential/proprietary business information, (ii) recruiting and soliciting

             DCL employees away from DCL to join BSS or other employers, (iii) soliciting, diverting and/or

             servicing DCL’s actual or prospective customers, (iv) working for DCL’s direct competitor, BSS

             and others, while still employed by DCL, and thereafter (v) using Trade Secrets for the benefit of

             a person or entity other than DCL, (vii) disclosing Trade Secrets to BSS, Haddock and others, (vii)

             failing to return to DCL all of its confidential and Trade Secret information, (viii) causing LMCO

             to threaten to terminate or actually terminate DCL, (ix) inducing DCL to continue to employ




                                                              59
#4910599v1
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        Case
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            1:23-cv-00476-LMB-LRV
              1:23-cv-00326-TSE-LRV
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                                                       04/12/23
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                                                                 Page
                                                                  Page 60
                                                                        61 of
                                                                           Page
                                                                           of 68
                                                                              115PageID#
                                                                                 106
                                                                                  PageID#
                                                                                     of 166
                                                                                          150
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                                          PageID# 983



             Carpenter, Missimer, and Frank until Defendants could complete their plan to misappropriate DCL

             Trade Secrets, and (x) Defendants utilizing Trade Secrets to accomplish these aforementioned acts.

                    317.    Defendants acted singular and in concert in the misappropriation of DCL Trade

             Secrets and other wrongful acts alleged herein for the benefit of Defendants.

                    318.    Defendants have disclosed DCL Trade Secrets and have communicated with other

             existing and prospective customers and employees regarding the facts and circumstances described

             in this Complaint, with the intent to disparage DCL, to cause other persons or entities to cease

             doing business with DCL and to otherwise cause harm to DCL.

                    319.    Defendants knew or had reason to know that the Trade Secrets and

             confidential/proprietary business information were meant to be kept confidential, yet still

             misappropriated and disclosed same to a directly competitive enterprise, BSS and others.

                    320.    Haddock singularly and in concert with the other Defendants solicited, induced and

             participated in the breaches by Carpenter, Missimer, and Frank.

                    321.    Defendants’ unlawful, improper and deliberate acts have repeatedly interfered with

             DCL’s actual and potential economic relationships.

                    322.    Defendants’ acts of interference with DCL’s business relationships were committed

             with malice and without adequate justification.

                    323.    The harm to DCL resulting from Defendants’ acts is irreparable, continuing, and

             not fully compensable by monetary damages.

                    324.    Defendants’ unlawful acts have damaged DCL and will continue to cause damage

             and irreparable injury to DCL unless enjoined by this Court; therefore, DCL is entitled to a

             preliminary and permanent injunction and other relief.




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#4910599v1
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              1:23-cv-00326-TSE-LRV
                1:23-cv-00326-LMB-LRV
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                                                       04/12/23
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                                                                 Page
                                                                  Page 61
                                                                        62 of
                                                                           Page
                                                                           of 68
                                                                              115PageID#
                                                                                 107
                                                                                  PageID#
                                                                                     of 166
                                                                                          151
                                                                                            279
                                          PageID# 984



                     325.    Defendants have also caused DCL to suffer compensatory damages in an amount

             to be proven at trial and other relief.

                                  AS AND FOR THE TENTH CAUSE OF ACTION
                      (Tortious Interference with Contractual Relations against All Defendants)

                     326.    Plaintiff repeats, reiterates and realleges each and every allegation contained in the

             foregoing paragraphs of this Complaint with the same force an effect as though alleged herein.

                     327.    DCL had contractual relationships with Carpenter, Missimer, and various other

             third-party customers or clients.

                     328.    Defendants tortiously interfered with DCL’s contractual relations by, inter alia, (i)

             wrongfully possessing, disseminating, misappropriating, utilizing or destroying Trade Secrets

             and/or confidential/proprietary business information, (ii) recruiting and soliciting DCL employees

             away from DCL to join BSS or other employers, (iii) soliciting, diverting and/or servicing DCL’s

             actual or prospective customers, (iv) working for DCL’s direct competitor, BSS and others, while

             still employed by DCL, and thereafter (v) using Trade Secrets for the benefit of a person or entity

             other than DCL, (vii) disclosing Trade Secrets to BSS, Haddock and others, (vii) failing to return

             to DCL all of its confidential and Trade Secret information, (viii) causing LMCO to threaten to

             terminate or actually terminate DCL, (ix) inducing DCL to continue to employ Carpenter,

             Missimer, and Frank until Defendants could complete their plan to misappropriate DCL Trade

             Secrets, and (x) Defendants utilizing Trade Secrets to accomplish these aforementioned acts.

                     329.    Defendants acted singular and in concert in the misappropriation of DCL Trade

             Secrets and other wrongful acts alleged herein for the benefit of Defendants.

                     330.    Defendants have disclosed DCL Trade Secrets and have communicated with other

             existing and prospective customers and employees regarding the facts and circumstances described




                                                              61
#4910599v1
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            1:23-cv-00476-LMB-LRV
              1:23-cv-00326-TSE-LRV
                1:23-cv-00326-LMB-LRV
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                                                       04/12/23
                                                         Filed 04/12/23
                                                                 Page
                                                                  Page 62
                                                                        63 of
                                                                           Page
                                                                           of 68
                                                                              115PageID#
                                                                                 108
                                                                                  PageID#
                                                                                     of 166
                                                                                          152
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                                          PageID# 985



             in this Complaint, with the intent to disparage DCL, to cause other persons or entities to cease

             doing business with DCL and to otherwise cause harm to DCL.

                     331.    Defendants knew or had reason to know that the Trade Secrets and

             confidential/proprietary business information were meant to be kept confidential, yet still

             misappropriated and disclosed same to a directly competitive enterprise, BSS and others.

                     332.    Defendants, as non-parties to these agreements, deliberately and intentionally

             interfered with these contractual relationships.

                     333.    Defendants’ acts of interference with DCL’s contractual relationships were

             committed with malice and without adequate justification.

                     334.    The harm to DCL resulting from Defendants’ acts is irreparable, continuing, and

             not fully compensable by monetary damages.

                     335.    Defendants’ unlawful acts have damaged DCL and will continue to cause damage

             and irreparable injury to DCL unless enjoined by this Court; therefore, DCL is entitled to a

             preliminary and permanent injunction.

                     336.    BSS has also caused DCL to suffer compensatory damages in an amount to be

             proven at trial and other relief.

                                   AND FOR THE ELEVENTH CAUSE OF ACTION
                                      (Civil Conspiracy against All Defendants)

                     337.    Plaintiff repeats, reiterates and realleges each and every allegation contained in the

             foregoing paragraphs of this Complaint with the same force an effect as though alleged herein.

                     338.    Defendants committed overt acts in furtherance of an intentional, common scheme,

             as described in this Complaint.




                                                                62
#4910599v1
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        Case
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              1:23-cv-00326-TSE-LRV
                1:23-cv-00326-LMB-LRV
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                                                       04/12/23
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                                                                 Page
                                                                  Page 63
                                                                        64 of
                                                                           Page
                                                                           of 68
                                                                              115PageID#
                                                                                 109
                                                                                  PageID#
                                                                                     of 166
                                                                                          153
                                                                                            281
                                          PageID# 986



                     339.    Defendants’ unlawful acts have damaged DCL and will continue to cause damage

             and irreparable injury to DCL unless enjoined by this Court; therefore, DCL is entitled to a

             preliminary and permanent injunction and other relief.

                     340.    Defendants have also caused DCL to suffer compensatory damages in an amount

             to be proven at trial and other relief.

                                 AS AND FOR THE TWELFTH CAUSE OF ACTION
                            (Preliminary and Permanent Injunction against All Defendants)

                     341.    Plaintiff repeats, reiterates and realleges each and every allegation contained in the

             foregoing paragraphs of this Complaint with the same force an effect as though alleged herein.

                     342.    DCL has shown a likelihood of success on the merits.

                     343.    DCL has acted in good faith toward Defendants at all times, and has substantial

             business interests that must be protected.

                     344.    Defendants, by contrast, have acted in bad faith by deceptive and unlawful means

             in order to interfere and/or divert DCL’s clients in furtherance of their own self-interests.

                     345.    The balance of equities lies decidedly in favor of DCL.

                     346.    The harm to DCL resulting from Defendants’ acts is irreparable, continuing, and

             not fully compensable by monetary damages.

                     347.    Defendants’ unlawful acts have damaged DCL and will continue to cause damage

             and irreparable injury to DCL unless enjoined by this Court; therefore, DCL is entitled to a

             preliminary and permanent injunction.

                                AS AND FOR THE THIRTEENTH CAUSE OF ACTION
                                        (Accounting against All Defendants)

                     348.    Plaintiff repeats, reiterates and realleges each and every allegation contained in the

             foregoing paragraphs of this Complaint with the same force an effect as though alleged herein.




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                       349.    A fiduciary relationship existed by and between Carpenter, Missimer, and Frank,

             on the one hand, and DCL, on the other hand.

                       350.    Carpenter, Missimer, and Frank breached their fiduciary duties owed to DCL by,

             inter alia, (i) failing to keep confidential DCL Trade Secrets and/or confidential/proprietary

             business information, (ii) recruiting and/or soliciting employees from DCL to join BSS, (iii)

             inducing DCL’s employees to leave DCL, (iv) soliciting, diverting and/or servicing DCL’s actual

             or potential customers, (v) working for DCL’s direct competitor, BSS, while still employed by

             DCL, (vi) misappropriating Trade Secrets, (vii) using Trade Secret and/or otherwise

             confidential/proprietary business information for the benefit of a person or entity other than DCL;

             (viii) disclosing confidential and Trade Secret information to BSS, and (ix) failing to return to

             DCL all of its confidential and Trade Secret information.

                       351.    Defendants must account to DCL for all business obtained by Defendants through

             the wrongful acts alleged in this Complaint.

                       352.    DCL is entitled to a judgment against Defendants in an amount equal to the funds

             obtained by and through Defendants for all business they obtained through the wrongful acts

             alleged herein.

                                                PRAYER FOR JUDGMENT

                       WHEREFORE, DCL demands a preliminary and permanent injunction against

             Defendants further use or dissemination of DCL Trade Secrets and/or confidential/proprietary

             business information and the deletion of same from any repositories to which they may have been

             copied.

                       WHEREFORE, DCL demands a preliminary and permanent injunction that, for a period

             of two (2) years measured from the date of the injunction order, Defendants shall not solicit or




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                                                                              115PageID#
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                                                                                     of 166
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                                          PageID# 988



             otherwise communicate with any client or customer that Carpenter, Missimer, and Frank

             maintained any contact with while in the employ of DCL.

                    WHEREFORE, DCL demands a preliminary and permanent injunction that, for a period

             of two (2) years measured from the date of the injunction order, Defendants shall not provide any

             services to any client or customer that Carpenter, Missimer, and Frank maintained any contact

             with while in the employ of DCL.

                    WHEREFORE, DCL demands a preliminary and permanent injunction that, for a period

             of two (2) years measured from the date of the injunction order, measured from the date of the

             injunction order, Defendants shall not solicit, employ, or retain DCL’s employees.

                    WHEREFORE, DCL demands immediate turnover for forensic analysis of all DCL

             property in Defendants’ possession as well as personal and business devices used by Carpenter,

             Missimer, and Frank for work performed by DCL and access to Carpenter and Missimer’s BSS

             email accounts and BSS’s computer network.

                    WHEREFORE, DCL demands an accounting of all accounts relating to actual and

             potential customers and/or clients that Defendants solicited for BSS in violation of their

             employment agreements, and a return of all proceeds, compensation, commissions, alleged

             “wages,” alleged “salary,” consulting fees, incentive payments, profits, earnings, monies and/or

             other benefits that were unjustly obtained by Defendants through violation of Carpenter, Missimer,

             and Frank’s employment agreements and against BSS and Haddock for aiding and abetting such

             breaches, plus all interest, costs, fees and expenses.

                    WHEREFORE, DCL demands judgment against Defendants for compensatory,

             consequential, liquidated, exemplary and punitive damages in an amount to be proven at trial,




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                                                                                     of 166
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                                          PageID# 989



             together with interest, attorneys’ fees, costs and disbursements, and for such other and further relief

             as may be appropriate.

             Dated: March 23, 2023                               Respectfully submitted,



                                                                 Steven J. Weber, VSB No. 35573
                                                                 Gregory R. Begg, Pro Hac Vice (pending)
                                                                 Lauren Rayner Davis, Pro Hac Vice (pending)
                                                                 Peckar & Abramson, P.C.
                                                                 2055 L Street, NW
                                                                 Suite 750
                                                                 Washington, DC 20036
                                                                 Telephone: (202) 293-8815
                                                                 Facsimile: (202) 293-7994
                                                                 SWeber@pecklaw.com
                                                                 GBegg@pecklaw.com
                                                                 LDavis@pecklaw.com
                                                                 Attorneys for Plaintiff Dark Circuit Labs, Inc.




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                                            DEMAND FOR JURY TRIAL

                   Plaintiff respectfully demands a trial by jury.

             Dated: March 23, 2023                           Respectfully submitted,



                                                             Steven J. Weber, VSB No. 35573
                                                             Gregory R. Begg, Pro Hac Vice (pending)
                                                             Lauren Rayner Davis, Pro Hac Vice (pending)
                                                             Peckar & Abramson, P.C.
                                                             2055 L Street, NW
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                                                             Telephone: (202) 293-8815
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                                                             SWeber@pecklaw.com
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                                                             LDavis@pecklaw.com
                                                             Attorneys for Plaintiff Dark Circuit Labs, Inc.




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                                               DARK CIRCUIT LABS.INC.

                                            SHAREHOLDERS AGREEMENT

                    This SHAREHOLDERS AGREEMENT, dated as of iloy' 3^l _,2021, ('Effective
             Date"), by and among DARK CIRCUIT LABS, [NC., with a principal address located at 1900
             Reston Meno Plaza, Floors 5-5, Reston" VA 20190 and (the "Company") and each of the
             Shareholders listed on Schedule I attached hereto (each, a "shareholder", and collectively, the
             "Shareholders").

                                                   WITNESSETH:
                      WHEREAS, as of the Effective Date, each of the Shareholders owns the number of
             shares of Common Stoclq respectively, specified with respect to such individual on Schedule I
             attached hercto, and such shares, as of the Effective Date, represent the percentage ownership of
             all of the Capital Stock of the Company on a fully diluted basis as specified with respect to such
             individual on Schedule l;

                     WHEREAS, the parties hereto desire to set forth their mutual agreements and
             understandings with rcspect to, among other things, certain of their respective rights, duties and
             obligations and certain transactions and anangements in respect of the Company, the Capital
             Stock of the Company and related matters; and

                  WHEREAS, the parties hereto desire to ensure the continuity of the business of the
             Company and that all Shareholders remain actively engaged in the business of the Company.

                    NOW, THEREFORE, the parties hereto, intending legally to be bound, hereby agree as
             follows:

                                                        ARTICLE I
                                                       DEFINITIONS

                       l.l   Defined Tetms and Interyretation. (a) Each capitalized term found in this
             Agreement that is not specifically defined in this Section l.l shall have the defrnition ascribed to
             it in the particular Section of this Agreement where such term is found. As used in this
             Agreement, the following terms shall have the following meanings:

                            "A.ffi,liglg": of any specified Person means any other Person directly or indirectly
             Controlling or Contolled by or under dir€ct or indirect conrmon Control with such specifted
             Person.

                             "Agrcpmg!": this Shareholders Agreemen! together with all Schedules and
             Exhibits hereto, as the same may be amended, supplemented or modified in accordance with the
             terms hereof from time to time.

                           "Elank1gplgy" shall mcan, with respect to any Person, the occurrence of any of the
             following events: (a) the filing by such Person of a petition in bankruptcy or for relief under
             applicable bankruptcy laws; (b) the filing against such Person of any such pctition (unless such


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             petition tt dismissed胡 hin nineり (90)days ttom he date of aling thereoo;(c)enり        agalnst
             such Person of an order for relief under applicable bankmptty ttwsi(d)Written admistton by
             such Person ofits inabitiv to pay its debts as hey mtture,or m assignment by such Person for
             the ttnent of creditors;or(e)appomttnent oF a mtee,∞ risewator or re∝ 市er for he pЮ peHy
             or aば 農遁rs oFsuch Person.

                               Buvout Event"shallコ nean he occuren∝ of an lnvolmttry Transfer or the
             removal oFa Director For Cause(as deined in S∝      tion 2.5).


                                     4 my and au shares,interests,pa耐      cipatioils or Oner equivЛ ents
             (hOWeVer designattd)ofCapittl st∝ k ofhe Company,any and all e■ uivalent ownership interests
             h a Person(other ttm a∞ 叩oratbn)and att and al nghts,warants or owOns tt pwchase any
             oFhe fbre80ing。

                               Common Stocr'Ishatts ofthe Company's∞ mmon stock,par value SO.0001.

                           ・COmDanV'':Dark Circuh Labs,Inct,a Delaware∞ rpom重 on.
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                              ρ∩nttr、 1'':(inCludin8, Win corel誠 市e meanings, he ttrrns ∞ n甘oHing歩 "
             ̀℃ onttolled by,"lmd    wlder common∞ ntЮ l胡 山''),as used with respect to any Person,he
             possession,directly or indirecdy,ofthe powerto dと ℃ct or cause the direcdon ofthe rnanagement
             or policies of such Person,whether thЮ u8h he ownershP of voting secwihes or by conttact or
             ohemse.
                            ̀IErect市 e Date":the date ofthis ABreement rirst witten above.

                               FounderS"shali collecively mean Chase Bettke,Ronald
                                                                             RonaldPd的       Jr. 甑 d Eric
                                                                                    Pelkey,,Jr。
             MissimeL and each individually,at̀FoundeF'.

                             Govemmental Authodtv'':any nation or goverШ nent any state or oher pondcal
             subdividon hereof or any enity exercising ex∝ u苗 ve,legidttve,,udi胡 孤,re8daЮ v or
             ad:ninisttative Amctions oFor pertai耐 ng to goveHlment or any oner regulatory auhottv.

                            lh鯉 劉四堕H」"means,wih respect to my Dれ ctor or Shareholdett that such
             person is unable to mttage heir∬ 簡 rs and that a guardim,msttt or oner Person is apFЮ inted
             to mattge he afFairs oFsuch Dittctor or Shareholder.

                               hvolun協Ⅳ TransFeF'shan mean any T『 甑 Sttr,proceeding or action by or in
             which a Shareholder sh』 i be dep重 ved or divested ofany nght titic Or hterest in or to any ofね
             shares oF CapittI Stockヵ including,widЮut hmitation,any seizure wlder lew of attchnent or
             execution)any ttansFer in conn∝ tion widi BJkmptcy or oher∞ 匝 pЮ ceeding to a debtor in
             ,OSSeSSiOn,mst∝ in bankmptcy or tteiver or other omcer or agency,any ttansfer to a state or
             to a public orers or agency pu― nt to any statute petti:ung to ttheat or abandoned prope守 ,
             any transFer pursuant to a pЮ petty settlement,judgment or anal d∝ ree oF a∞ urt incident to a
             divor∝ ぅdissolution of rnttiage or sepamtion,or the invohHltav dissoludon of any Shareholder
             wMch is an entity.

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                               Person":any indi宙 dual,∞mptty,corpomdon・ pattershp,1拍 正俺d liabiliリ
              company,mst,di宙 sion,Governttnental Auhority or other entiv.

                               Retireう '餌 ldこ IRetireme耐 "means
                                                            a vollm協 り retirement rrom perfOming sewices
              forthe Company as an employee or consulttnt or othew,se

                             ̀IR【   quirement of Laげ ': as to any Person,he articles or certincate of
              h∽ rpomtion and by‐ laws or oher organittiorlal or govemitt docHlents oF such PersoL and
              any law,stttute,竹eav,Rde Or reguladonぅ order or detemination oF an arbittator or a coutt or
              Oner cOvernmental Auhonv,in each case applicable to or binding upon such Person or any of
              its pЮ petty,orto which such Person or any ofits pЮ     perv is su可 ∝
                                                                                  t・




                             ̀IS∝ unties Acr':The secwities Act of 1933,as mended.

                             ̀IShattholder':each Of those shttholders oF the Company listed on Schedule l
              attached hereto and each oher Person that b∝ omes a patty to his ABreement from time to dme
              pusuantto Secion 3.1(b)he鶯 Oi

                               Shareholdetts":collectively,an ofthe shareholders ofthe Company.

                            TttnsFe世 胡 h resPcct to any Capittl Stock"(a)any Sale,assigШ nent or ttnsFer
              oF such Capね I Stock or any五 ght or interest tttrem;(b)any pledge or hypothecation of such
              CapitaI Stock or any interest hettin;(c)any grant,sale or oher ttansFer ofs∝      wities convertible
              or exchangeable into or exercisable For or oher options,warrants or dBhts to acquire such
              CapittI Stock or any interest hettini and(d)any Oher d漁 滑t or indir∝ t mmsfer OFsuch Capittl
              Stock or any inttrest therein.


                            (b) The words hereor', hereiば 'and hereunder'and wOrds oF similar
              impott when used in his ABreement shall reFer to tMs Agreement as a whole and not to any
              panicular pЮ vision of his Agreement,and section)schedule and eぶ ibit ttferences are to his
              Agreement嗣 ess ohettse specitted.

                             (C)       ■le meanings given to tems deaned hetth shali be equally applicabに to
              he singular and plural fbrrns oFsuch temms.

                                                          ARTICLE H
                                     VOTING AGREEMENT,AND RELATED MAttERS
                     2.l    Nllmber ofD檄 ぷors,The Board ofDirectors ofhe Company shall∽ nsist oFnot
              iess hm fow individuals(each,a Dir∝ tor').For so long as Nayara is a shareholder oF the
              Company,Nayara shall have he nghtto designate one(1)Director to ne Board ofDirectors(he
              ̀Nayara Dと ectoド ').The mtial Nayam Director shtti be Latty Lideton The remaining members
              oFhe Board oFDirectors shali co:lsist ofhe uree(3)Foutlders(the          Founding DirectottPゥ   .




                     2.2 Founders Desittm∝ s to he Board oFDirectors.The Fomders hereby agree to vo俺
              血ett Shares of Cornmon Stock tt any regular or special meeting oF he Shareholders calictt for
              he pЩpose of ttlling positions on he Board of Directors of he Comptty,or in ttly wraten
              consent executed in lieu of such a meedng of Shareholders,and sha‖ otherwise take an actions



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             n∝essary,to enswe the elecdon of an OF the Founders to Board of Directors,suttect tO he
             prOvisions oFSections 2,5 and 2.6 below.

                    2.3 Navatt Desi2n∝ to the Board oF Directors.At ali dmes dunng which Nayam is a
             Shareholder,Nayatt shali be pemitted to desigmate one(1)member Ofthe Board of Dね ∝tors
             (thèNayam Directorゥ .h he event hat he Nayam Director is removed in a∝ ord甑 ∝ Wih
             Section 2.5 below or is unable or linwi‖ ing to serve,then onty Nayara shall have he right to
             appoint a repla∝ ment Nayara Director。

                    2,4   Ditector Votes. For an actiOns and decisions coming before the Board of
             Dittctors,cach Foll:lder Sewing as a director shall have ten(10)VOteS ttd any director who is
             not a Founder,including any director who repltts a Founder director,and he Nayara director,
                                                                                                   う
             shall have one(1)VOte(C01lect市 ely, D諏 ℃ctor Votes"and indi宙 dually)a Director Votげ ).For
             any matter coming before he Board of Directors at a duly called meeting of he Board of
             Dね ∝tors,血 e ttmmat市 e vote of a maJoriv of he Director Votes sI盟 1l be required to appЮ ve
             such matter;provided however,hat at my time where less han ali ofhe Founders are members
             of he Board of Directors,he ammative vott oF a mttority oF Director Votts to be cast by
             Founders then seⅣ ing on Board wi‖ be required to approve any mattero The consent of ali
             Ditttors shali be required for all acion ofthe Board ofDirectors taken by前 龍 n∞ nsent.

                    2.5 Removal of Directors.Dと ectors holding a mtto五 ty of the Dttector Votes may
             remove a Dittctor ttom the Board of Directors(i)For Cause,as dettned beiow or(ii)if Such
             Dね∝tor(or he patty who has he dghtto designate such Dir∝ tor)no 10nger holds any shares of
             Capital Stock ofhe Company;provided that a Director shall be deemed to hold shares oFCapital
             Stock ttnsfeFed fOr estate plaming puposes. For pttoses of his ABreement For Causげ          '


             shali mem,前 h respect to any DirectoL(o suCh Dir∝ tor's dishonesげ ,inCOmpeten∝ ,輔 ‖角l
             misconduct gross negligen∝ ,or breach of nduciary duty,(ii)any COn宙 cion ot Or the entedng
             of a plea of guilty or nolo contendere to,a cdme that oonsdtutes a Felomy,or any willFul or
             matenal viotation by such Director oF any federal,state or foreign secu五 ties iaws,(iti)any
             conviction of any oher c五 面 nal act or act of mated』 dishonesv,diSioyЛ v or mis∞ nduct by
             such E)irector hat has a mate五 al adverse er∝ t on the propeHy, operations, business or
             reputatiom oFhe Company or cv)the mmttal breach by such Dittctor oFany前 柱en∞ venant
             or attment witt he Company notto disclose any conndentialinfomation or notto competc or
             interfere with he Company.

                    2,6 Filina of Vacandes.In he event of(1)he deah or h∞ mpetence of a Founding
             Director,hen hc heir,8uardian,ttttee or oner Person appointt to mmage the arah ofsuch
             Founding Dir∝ tor shali have he n8ht tO appoint a replacement D撤履or,pЮ 宙ded that such
             時pla∝ ment Dir∝ tor shali not have ttn(10)Director Votts,but shaⅢ       have one(1)Dir∝ tor
             Vote.h the event hat any Founding Director is othe前 se unwilling to sewe as a Director,or is
             removed as al)と ℃ctor m accordmce win Secdon 2.5 above,then he remttning Founders acting
             unanimously may appoint a replacement DirectoL PЮ 宙ded that such replacement Director
             shali not have ten(10)Director Votes(as descibed beiow,but shall have one(1)Director Vote.
             A vacancy oFNaytt Dir∝ tor shali be alled by ttc Nayam only.




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                                                                            of 22
                                                                               115PageID#
                                                                                  120
                                                                                   PageID#
                                                                                      of 166
                                                                                           164
                                                                                             292
                                           PageID# 997



                                                        ARTICLE HI

                          SPECIAL PROVISIONS RELAコ NG TO DILUTION,SERVICE PROVIDER
                                          SHARES AND PREEMPTIVE RIGHTS
                    3,1

                    In he event hat the Board of Directors el∝ ts to issue additional shatts of Common
             Stock to employees,consultants and oontttors ofthe Company in exchange lbr seⅣ ices to be
             pЮ vtted to he Company(cOll∝ t"elyぅ he Sewice PЮ 胡ders"and such shares oF Common
             Stock issued to ScⅣ i∝ PЮ 宙ders are hereaner refered to as     Service PЮ uder Shareぎ り,輔 th
             resp∝t to he issuan∝ of the irst[290D3231 SeⅣ iCe PЮ 甑der Shares to Sewice PЮ 宙ders he
             nwnber oF shares oF Cornmon Stock of die Company issued to Nayatt shali be appropriately
             刺 uSted,Such hat dlutive efFect of he issuance ofthe irst[290,323]SewiCe PrOvider Shares
             to Sewi∝ Providers shali be bome solely by he Folinders on a pЮ mta basis(i.e・ he percentage
             owHlership of Nayam shan not be reduced as a result oF such issuan∝ s of additional Cornmon
             Stock until such the as[290,3231 SeⅣ iCe PЮ vider Shares have been issttd to Sewice
             PЮ viders.Aner the issuance oF such[290,323]ShareS,血 e per∝ nttge oMlership of he
             Shattholders覇 嵐di respect to he issuance of any addidonal shares of Comnion Sttk shali be
             diluttd appЮ priately and pЮ poHionately on a pro‐ mta basis.

                    3.2 PrrDβ mntt■ ′
                                    βRiohtミ    .




                              (a)   r he cOmpEny pЮ poses tt any time to issue shares of CapittI Stock
             (Oher han tO Sewice Providers as conttmplated in Section 3,1(b)),he cOmpany shall pЮ     vide
             甫 柱en noti∝ to Nayam(he secdon 3.2 Notice"),setting foHh in reasonable de函 I he number
             oF shares oF CapittI Stock to be issued,he pe卜 share and aggregate considemtion to be paid by
             each ptthaser,and the oherte口 ms and conditions upon which such shares oF CapittI Stock are
             being sold.Nayara shall ttve he right,for a pe五 od oFten(10)business days aner del市 cry ofhe
             Section 3.2 Noti∝ to a8ree by witten noti∝ to he Company(an            A∝ epttnce Noti∝ り tO
             pwchase From he Company he nunber oF shares oF CapitaI Stock that would cause Nayara to
             own,aner he issuan∝ oFttle shares ofCapittl Stock set fotth in he Section 3.2 Notice,the same
             percentage ofttl issued md outstanding shares oFCaplttI Stock that the Nayttl owned as ofhe
             dme ne section 3,2N孤 ∝ was given.The shatts oF CapitaI Stock plHhasod tinder his Section
             3.2 shali be he on the same tems and conditions for sale as are set Fott in such S∝ tion 3.2
             Notice.Nayara's el∝ tion to purchase shares of Capital Stock hereunder shali be binding and
             irevocable.The ttilure ofNayara to deliver tt Acceptance Noti∝ shali constimte a w五 ver Ofits
             ights under S∝ tion 3.2 wih respectto the脚 時hase of shaК ,s oF Capitti Stock o■ bК 旭at such
             time but shali not arect its■ ghts wih respect to any角 仇re issHttm∝s or sales of shares of
             Capital Stock。


                              (b)At thc ciosing of he sale or issuan∝ of the shares oF Capital Stock as set
             forth in he Section 3.2 Noti∝ ,he Cor叫 )any shalitmnsferto Nayara,and Nayam shali puchse,
             he number ofshares oFCapital Stock that Nayara is obligtted to purchse,for he purchase p五 ce
             and on the teHris and∞ nditions pЮvided Forin Section 3,2.




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                                                                                   PageID#
                                                                                      of 166
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                                                        ARHCLEIV
                                   ACREEMENTS RELATING TO THE CAPITAL
                                 STOCK OF THE COMPANY AND OTHER MArrERS
             Section 4.I   TransFers ofCaDiね I Stock.



                            (a) No Shareholder oher than Nayara shall,wihout he pior appЮ val of he
             Board oF D諏 爵tors(whiCh approval shali not be unreasonably前 せheld),directiy or indirectly,
             TransFer any Capital Sttk of he Company(or any intettst herein or irevocable pЮ xy with
             respect hereto),nOW Or hereaner at any dme omed by such SharelЮ lder.To he exttnt such
             Shttholder obttiils such p■ or appЮ vtt oF he Board ofDirectos,such TransFershall be sttect
             to adherence前 血 he temns ttld pЮ宙sions oF this Agttement,including,but not timited to he
             telBus oFdiis tticle rVe



                            (b) Any TmnsFer oF Capね i St∝ k of he Compatt by my Sharehomer(Or
             TransFe醒 ,aS deined)Shali not relieve die ttansfeЮ r of its obligatiolls hereunder and,assuming
             such Transfer is done in complian∝ win he teHニ ュ  s ofthis Attment,ShaII only be vdid if he
             Person to whom such CapittI St∝ k is TransFered(a THmsfe虚 ")priOr tO he TttnsfeL agtts
             in witing in m agr∝ ment reasonably acceptable to he Company to be bound by he temns of
             his Agttement(if nOt already a paHy to this A8時 ement)irШnttiattly pHor to such Transferi
             pЮ vided.蝉         ifa Tttnsfer of Capatal Stock involves he TransFer oFali outstanding sharcs
             oF Capital Stock by am of he shareholders,hen he TmmsFeree need not be paHy to this
             Attment and his Agreement shall be automatically teminatt upon consulnmation oF such
             Transttr.Any such Transttree thtt agrees to be bollnd by he ttms of his Agttment as
             pЮ 宙ded in his parattph(b)Shali be d∝ med,upon ex∝ ution and deliveり oF such agttment
             to be so bound,to be a Sharehomer hereunder.Each such THnsttree thtt agrees to be bound by
             he temis oF his Attment shali be entitled to ЛI of he rights mder his Agreementto which
             he ttansFeЮ r was e面ded immediately pnor to such Transfer.Any pupotted Transfer胡 hout
             obttning he agreement by the Transferee to be bound by he tems oF his ABttement
             reasonably a∝ eptable to he Company(ex∝ pt in he case oF the TrattFer oF ali outstanding
             shatts oFCapital St∝ k)shЛ i be deemed void md of no ttHher er∝ t and shtti be 80Vemed by
             he pЮ 宙sions oFparagraph(C)beiOW.


                           (C) h the event a Tmnsfer of tty Capittl Stock of he Compmy has ttken
             pla∝ or remains in pla∝ h violation ofせ le pЮ visions of his AHicle IH or any oher provision
             of his Agreement,suCh Transfer shaⅡ be void and of no eFFect,and no dividend of any ttnd
             whatsoever mor any disttibutiom pwsuant to liquidadon or oherwise shali be p面 d by the
             Company to he Transferee h respect oFsuch Capital Stock(ali Such dividends and dsdbutions
             being d∝ med waived),and any voting五 ghts of such Capital Stock on my mattr whatsoever
             shali rem面 n vested in he ttamsfeЮ r.The Company shali not be reqdred to re∞ Hd on its st∝ k
             世ansFer iedger or its stock register or other re∞ rds any TttnsFer made in violation of his
             Agr∝ ment.




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                    4.2   Lettends on Stock. Eれ ch cmficate evidencing shtts oF Capital Stock of the
             Company held by any Shareholder or any Transferec of a Shareholder shali bear the Followh8
             1egend on the Face thereon

                     ̀THIS CERTIFICATE IS ISSUED SUBJECT TO THE PROVISIONS OF A
                     SHAREHOLDERS AGREEMENT DATED AS OF                                  2021 AND
                     NEITHER THIS CERTIFICATE NOR THE SHARES REPRESENTED BY IT
                     ARE ASSIGNABLE OR OTHERWISE TRANSFERABLE, EXCEPT IN
                     ACCORDANCE WITH THE PROVISIONS OF SAID AGREEMENL A COPY
                     OF WIIICH IS ON FILE WITH THE SECRETARY OF THE COMPANY."
                      THE SECURImES EVIDENCED BY THIS CERTIFICATE HAVE NOT
                     BEEN RECISTERED UNDER THE SECLIRI「 HES ACT OF 1933, AS
                     AMENDED(THÈ｀ ACT,,THE FLORIDA SECURITIES AND INVESTOR
                     PROTECTION ACT,OR ANY OTHER STATE SECURITIES LAWS AND
                     MAY NOT BE OFFERED, SOLD OR OTHERMSE TRANSFERRED
                     UNLESS RECISπ RED【 JNDER THE ACT AND ANY APPLICABLE STATE
                     SECURITIES LAW OR UNLESS AN EXEMPTION FROM SUCH
                     RECISTRATION IS AVAILABLE."
                    △my∝ 耐 icate issued at tty time in exchange or substitution for any cettincate bearing
             sudh iegend(ex∝pt a new ceHiacate issued upon compledon oF a pubhc disdbudon under a
             reJStttiOn st熊)ment of he Capittl St∝ k ttpresented thereby)shЛ !』 So bear such iegend
             miess,in he opinion oF counsei for he holder oF such Capital Stock(whiCh∞ unsei shali be
             reasonおly satislhtory to the Company),he CapittI St∝ k ttpresented hereby tt not,試 such
             dme,req岨 時d by law to bear such iegend.The Company agr∝ s that h胡 H not Tttnsfer on its
             books any cettiricate lbr its Capital Stock in violation ofhe provisions oFthis Agreement or amy
             applicable laws,

                     4.3   HtthttofFirst Rettsal.



                            (a) r a shareholder re∝ 市es a bona nde hird pa噂 orer to purchase ali or
             part of his shttes oF Capitai Stock(aこ IThird‐ PaHv Orer'ゥ ,suCh Shareholder(a Se‖ in宜
             Shareholder'')may seli such sttres ofCapital Stock sutteCttO the pЮ visions ofhis S∝ tion 4.3:

                                   (i)    If a selling Shareholder receives a Thi:d‐   Patty Oぼer,he Selling
             Shareholder must arst ofFer to sell he shtts of CaplttI Stock that are he suttect Ofa Third‐
             Pany OfFer(he     Orered htettst'')to he Oner shttholders(hèNOm‐ sellintt Shareholdeば '),
             as follows:


                                           (1)SuCh Orer for sale(he           Oreギ ')shali be in前 ting md
             addressed by he Selling Shareholder to he Non‐ Selling Shareholder(s)at heir addresses listed
             h his À匹 ement(Or tO Such other address hat hey sh』 l designate in wrating to the Company).
             Such Orer sha‖ fomЛ け noti,he Non‐ Sening Shareholdeく O Of he mtted孤 terlns and
             ∞ ndhions of he Third‐ Pany Orer,including,but not ttnittd to,the ttemv ofthe ddrd pa守
             pwchaser,he pd∝ to be paid for he Orettd httrest to be acquired and the pЮ posed closing



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                                                                            of 22
                                                                               115PageID#
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                                                                                      of 166
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             date.he Selling Shareholder shali represent and warant in such OFfer that the Third‐       Party
             orferis a boma ride ofFertnd hat he Selling Shareholder is Mttlling to sell he OreH錮 Interest to
             he Non‐ Seiling Shareholder(s)ftte and clear ofall liens and enclHibttn∝ so rhe sale involves
             more than nfty percent(50%)ofthe shares of Capitti Stock in the Company,and if the Selling
             Shareholder inttnds tO exercise he Drag AIong mght set fom in s∝ tion 4.5,such Selling
             Shareholder shall arlmatively indicate in he Orer its intent to exercisc he Dm8 Along Right
             and hat the pЮ spective puchaser has b∝ n notined Of this inttntion ttd is ready前 1ling and
             able to puichase such additionai shares oFCapitaI Stock.

                                       (2) The Non‐ Selling Shareholder(s)caCh Shall have,for a
             penod ofhiHy(30)dayS aner recetpt ofhe OfFer(he ExDimtiOn Date'り ,he nght,but not he
             obligation,oれ a prO‐ rata basis or such oher basis as agreed in HⅣ riting in witing among the Non‐
             SeMing Shttholders,to acquire rrona he selling Shareholder an and not less than all of he
             OrFtt lnterest(he       Right af Firく            n3',On he Same te― md conditions set Fotth in the
                                                     =RaiBく
             OfFer.In order to exercise he К ght oF First Rettsal,a Non‐ Selling Shareholder must provide
             蛹 龍en rЮ ti∝ to the Selling Shareholder and he Companyぐ .Exercise Noti∝ 'ぅ ofhiS decision to
             exercise he臣 8ht Of First Refusal prior to the Expimdon Date.r a NonoSelling Shareholder
             does not exercise heir Right of First ReFusal to pltthase heir pЮ ‐ rata poHion of the OrFered
             hterest,the other Non‐ Selling Shareholdeく s)muSt eiher el∝ tto pwchaseぅ on such basis as they
             may agree mong themseives,that pottion of he OFFe嵐 姐 Interest hat the other Non‐ Selling
             Sharcholder(s)dd nOt electto purchase or forego heir own Righ ofFirst Re嗣           .




                                            (3) lhe c10Sing oF each sale and purchase pttuant to the
                                                                        sofhe compmy onthe n食 ∝nh
             exercise ofhe Right oFFirst ReAisat shaII be held tt the om∝
             (15い )Bushess Day fOliowing the date he Selling Shareholder receives the Exercise Nodce rttOm
             a Non‐ Seiling Shareholder.


                                     (ii) r he Risht of First Rettsal has not been exercised on or prior to
             he Expimtion Date,hen the Selling Shareholder shall have he right,beginning ave(5)
             Budness Days hereattr md for a period oFttneり (90)days aner such Expiration Da侍 ,to sen
             to the OfFeにd hterest to he borla■de third patty puchaser that made the Third PaHy OfFer on
             he same teニ ュ‖s and∞ ndidons as set foHh in he OfFer,Any pЮ posed Trttsfer on tems and
             ∞nditions more favomble to ne hird party pltthaser han hose described h he Ottr,as well
             as tty pЮ pOsed Transttr oF shares oF CaplttI Stock more hm minev(90)dayS aner he
             Expimtion Dtte,shall ag正 n be sutteCt tO Complian∝ win he requirements ofhis Section 4.3.

                       4,4   Ta宜 ‐
                                 Alontt H2hts ofShareholders.

                              (a) It at any timett Selling Shareholder(S)hOlding ttAy pettnt(50%)or mOre
             of the shares oF CapitaI Stock deliver an OrFer pursuant to Section 4.3,and he Non‐ SeilinB
             Shareholders wish to participate in such sale(the    Ta宜 ‐
                                                                      Alon里 則鼠ht''),and dO rЮ t wish to
             exercise heir Right OF Hrst Rettsal,he Non‐ Selling Shareholders may noti,the selling
             SharehЛ dett by w血 俺n notice(he Ta2‐ Alon2 Notice'り ,On Or beFore he attenh(15n)day
                                                                                     つ
             follo前 ng he Expimtion Date ofhe Righ ofFirst ReFusalぐ Ta2̲AIon2 Ped6dう ),hatsuch Non‐
             Sellhg Shareholders desire to sell to he bona nde third patty purchaseridentiied in he Orer all
             or patt of heir shares oF Capital St∝ kin he Compmy(̀7ra2̲Alontt Shareholder')on the same
             teコ ms   and condidons under which he Selling Shttholders' shares oF Capitti Stock are to be



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                                                                                      of 166168
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                                          PageID# 1001



             pwchased.The Tag‐ Along Notice shall speci,the pOmOn OF he shaFeS OF Capital Stock h誠
             such'rag‐Along Shareholder desires to sello The ofFer ofeach Tag‐ along Shareholder set Fbtth in
             a Tag‐ Along Notice shtti be irrevocable,and,to he extent such orFer is ac∝            pttdっ   such Tag‐
             along Shareholder shaH be bound and obligated to sell in he pЮ            posed sale on he tenris and
             conditions set fbHh in this Sectiom 7.4.Each Tag‐       Along Shareholder shall have the面 ghtto seW in
             a sale su可 ∝t tO this Sec近 on 7.4 he shares of Capitti Stock equal to me product obttned by
             muitiplying(x)he Shares of Capital St∝ k held by he Tag‐ AIong Shareholder by(y)a ttaction
             (A)he nШ nemtor ofwhich is e■ ual to shares ofCapitat Stock the Selling Shareholders pЮ poses
             to seli or Tmnsferto he bott nde hird‐ patt puchaser and(B)der101ninator of whch is equal
             to ali oFthe shares ofCapital Stock hen owned by such Selling SharelЮ         lders.


                            (b) The selling Shareholders shall usc heir commercially reasonable eFFoHs
             to inctude in the proposed sale to he bona nde third‐ paHy purchaser an ofthe shares oF Capital
             Stock that the Tag‐ AIong Shareholdens have requested to have included pursuant to the
             applicable Ta8‐ Along Notices,it being understood that the bona ride thiHd̲patty purchaser shaW
             not be required to purchase shares ofCapital Stock in ex∝ ss ofthe nulnber set foHh in the Offer.
             In the event the bona ride thitd‐ paHy purchaser elects to plirchase less than a‖      of the shares of
             Capital Stock sought to be sold by the TagoAiong Shttholders,hc numbcr oF shares of Capital
             Stock to be sold to the third Patty purchaser by the Selling Shareholders and each Tag‐       Along
             Shareholder shali be redu∝ d so that each such Shareholder is entitied to sell its pro‐ rata portion
             ofthe shares ofCapitai Stock the bona nde third‐ paHy purchaser elects to purchasc(which in nO
             event may be less than the nllmber ofshares ofCaph』 Stock set Forth in the OfFer).

                            (c) Each Shareholder who does not del市 er a Tag‐ AIong Notice in compliance
             witt ctause(a)abOVe shali be deemed to have waived all of such Shareholder's rights to
             paHttipate in such sale,and the S』 ling Shareholders shЛ I(SutteCt tO the rights of any
             paHicipating Tag‐ Along Shareholder)thereattr be free to seli to ne bOna nde hird PaHy
             purchaser its shares of Capital Stock at a price that is no Breater than the pice set forth in the
             orer and on other same teIIttIS and Conditions which are not:nateria‖    y more Favorable to the
             Selling Shareholders dlan hose set fotth in he Orer,without any ttrther obligation to he non‐
             accepting Shareholders.

                            (d) Each Tag‐ Aiong Shareholder shali take all actions as may be reasonably
             necessaり to consununate the Ta8‐ Along sale, including, without liniitation, entering into
             agreements and delivering certiricates and instl■ vnents, in each case, consistent with he
             agttments being entered into and the ce■ iricates being dchvered by the SeWing Shareholders.

                            (e)     ηle selling Shareholders sh測 I have ninev(90)bllSiness days fonowing
             he expimtion ofthe Tag‐ Alon8 PCriod in which to seli the shares of Capital Stock described in
             he orfer,On ttrms not morc favottble to the Selling Shareholders than those set Forth in he
             orer(which such ninety(90)buSiness day period may be extended for a reasonaЫ e time notto
             exceed one hlindred twenty(120)business days to the extent rcasonaЫ y neccssaり tO Obtain my
             regulatory approvats).IF at he end of such period he Selling Shareholders have not∞ mplettd
             such sale,he SЫ ling Shareholdeぉ may not hen e∬ ∝t a sale ofshares ofCapttI StOck suttect
             to this Section 7.4 without again Fully complying with the provisions ofdis Scction 4.4,




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                                          PageID# 1002



                            (O    ThiS Section 4.4 sha‖ not apply to:(i)sales tO any employce of the
              Company,cxcept for any Founder who is an employee;or(ii)Sales in a dis面 bution to the public
              (Wheher pursuant to a registered public orFering,Rule 144 or otheFWiSe).

                      4.5   DFa2‐ Aiona電 位hts.


                             (a) h he event Selling Shareholder(S)hOlding more ttn att percent 50%)
              ofhe shares oFCapital Stock in he Company desire,coll∝ dvety,to Transfer』 i ofheir shares
              oF Capital Stock,suttect tO he expimtion ot Or el∝ tion not to exercise,he Non‐ Selling
              Shareholdeく o'Right OFFiぉ t Rettsal,such Senh8 SharehЛ de(S)Sh』 l have he■ 8ht tO re■ utte
              he NonoSelling Shareholdeく o to seW(he Dm2‐ Abna Ritht")to die bOna nde ttrd Parげ
              purchaser identitted in he Orer all of he Shares of Capital St∝ k owned by each Non‐ Selling
              Shareholder.Any shares oFCapitaI Stock purchased pursuant to this Section 7.5 shali be paid for
              at he same pHce to be paid to the Selling Shareholder(s)fOr heir shares oF Capital Stock and
              upon he sa▼ 1le ttmns ttd condidons under which he Selling Shareholder(S)'Shares Of Capittl
              St∝k are to be putthased.The Selling SharehOlde<s)may exercise he Dttg Along ight by
              aFrmttively indicating hey are exercising such Dttg‐ Aiong mghtin he OfFer.


                              (b)Each Non‐ Selling Shareholder shali take all actions as may be reasonably
              necessaげ to consuinmate the Dra8‐ Along sate,including,wihout limitation,enttrhg into
              agrcements and delivering cenirECateS and insruments, in each case, consistent win the
              agreements being entered into and the∝ 武iliCates being denvered by he Seming shttholders.


                            (C) The selling Shareholder(S)Shall have nineり (90)BuSiness Days foliowing
              he date oFthe OrFerin which to sell he Shares ofCapital Stock described in he OrFer,on telMis
              not more ttvomble to the Selling Shareholder(s)dian hOSe set foHh in the OrFer(whiCh Such
              ninety(90)Budness Day period may be extended for a rensonabtt time not to exc∝ d one
              hundred twenv(120)Business Days to the extent reasonably necesstt to obtain any regulatoリ
              appЮ vals).rat the end of such period the SeIIhg Shareholder(s)haVe nOt completed such sale,
              he Selling Shareholder(s)may nOt hen efFect a sale of shares of Capital St∝ k su可 ∝ttO hiS
              Section 7.5 without again ttlly complying with the provisions oFdlis Section 4.5.

                      4.6   Buvout Events.

                           (a) In he event a Buyout Event∝ curs wih resp∝ t to a Fomder(a
              .ITemimted Sharehomer),he cOmpany shn have the dght,b直 not he oЫ 試おnれ purchase
                                                                              屯
              ali or any poHion oF he Termimted Shareholder's shares oF Capital Stock(he          BuvOut H2ht'')
              in aocordance wath the tettms ofthis Section 4.6.


                              (b) The cOmpany shЛ l have he optionぅ for a pedod oF one hundred dghv
              (180)dayS fO1lo前 ng a Buyout Event(he     Bwout Period")to purChase ali or any poHion oFhe
              Teminated Shareholder's shatts of CapittI Stock.The nghtOfhe Non‐ Temunated Shareholder
              to purchase he Teminated Shareholder's shares of Capittl Stock shali be exercisable by he
              deliVeり Of a witen nodce(血 e Buvout Exercise Nodce")by he COmpany to he Temintted
              Shareholder,pdorto he expi「 ation ofttle Buyout Pettod,sming what amount ofhe TeriⅢ nated
              Shareholder's shares oF Capital Stock hat the Company has elected to ptthase,Such pllrchase



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                                                                                     of 166170
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             shali be complettd in a∝ ordmce win he ciOsing pЮ cedwes setrbtth in Secdon 4.7 herein,The
             Buyout Exercisc Noti∝ shali be binding on he Terminated Shareholder upon delivery by he
             Company.

                    4,7 Te郎 ユ   IS For Purchase of Buvout rnterest,The Jblio胡 mg tems of purchase shali
             apply to the pwchase ofa Teminattd Shareholder's Shares oFCapital Stock:



                           (a) Purchase Price。 lhe plrchase price For a TeA二 二
                                                                             ginated SharelЮ lder's shares
             of CapitaI Stock shan be tte Fair Market Vatue oF he Teminated Shttholder's shares of
             Capitai Stock( Purchase hi∝ ").


                            (b) CiOSin2.コ he closing of he pHchase of he Tenilinated Sharehdder's
             Shares of Capital Stock pursuant to Section 4,6 hereof shali ttke place at he ottcc oF he
             Comptty on a date(the   ciosin2 Dt胞 ")and at a ume designated by he Company.On the
             Ciosing Date,he Terminated Shareholder shall del市 er the cettincate(s)eЫ dencing the
             Terminated Shareholder's shares of CapitaI Stock being sold along wih a duly ex∝       uted stock
             power md die Company shall deliver by∝ Hiied or bank cashier's check or wire ttmsFer to an
             account desュ gnated in w苗 ting by he TeHュ ニ
                                                       inated ShareholdeL an mount not less h甑 憎 enty
             (20%)perCent ofhe酌 礎hase lttce.The balance ofhe Pwcttse PH∝ ,前 h interest tt a rate oF
             SVe(二 ° /o)percent per attum shali be paid in ive(5)equЛ instalimentt each due to he
             Teminated Shareholder on he航 versav oF he Ciosing Date and shali be eviden∝ d by he
             delivery oF a pЮ missory note(a PrOmissory Note'ゥ by he company to ne TeД 二inated         :「


             Sttreholder.Not胡 thstandh8 he fore80ing,the Compaれ y shall have the right,but not the
             obligadon,to pay the entire Pilrchase Price on the CIosing Date or tte remaining balance of the
             Purchase Pri∝ to the Tel‖ linated Shareholder tt any time witiЮ ut penalv.


                           (C) SDOuSat Consent,Simuttaneously前 血 he execudon ofhis ABreement by
             he Shareholders, each Shttholder shan deliver to the Company, a Fully executed Spousal
             Consent in the Fom atttched hereto as Eれ ibit B,

                    4.8     Fwher Asswan∝ s. A TeHnimted Shattholder sham ex∝ ute and deliver such
             additional docШ nents and insmttlents and perfonm such additional acts as he Company may
             request to e″∝mate Or catt out and perfoHn tttithe teコ
                                                               ms,provisions and conditioris ofSections
             4.6 and 4.7 hercof md he tmnsacdons contem∬ ated thereby,to erec髄 vely ttansfer,asdgn md
             deliver he Teminated Shareholder's Shares ofCapital Stock to the Company.


                    4.9   Remtties. It is specifically understood tmd agtted that tty breach of the
             pЮ 宙sions of Sections 4.6,4.7 or 4.8 her∞ f by a Teコ mimted Shareholder輌 ‖ result in
             irreparable inJuり to he Compmy,hatthe remedy atiaw alome胡 1l be an inadequate remtty for
             such breach,and thtt in addition to any otter remedies hat he Company may have,the
             Company may enforce itt respective dghtt by acdons for specinc perFomm∝ in federal or sttte
             couttin he Commonwealh of Virginiao h he event hat he Company is required to enforce its
             苗ghts under SecdOns 4.6,4.7 or 4.8 hereot he Terminattd Shareholder shali reimbwse the
             Company for all of he Company's ∽sts ttd eXpenses, including attolmeys' fees and



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                                                                                     of 166171
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            dsbursements,incured by the Comptty in enforcing the pЮ 宙sions of S∝ tion 4.6,4.7 or 4.8
            hereo丘



                     4.10
            oF EmDiOVment oF anv Foulder.h he event of he death,h∞ mpeten∝ ,Retttment or
            tettination ofemployment witt the Company ofa Founder for any teason oher hm Cause(aS
            deaned h section 2.5),such Folnder shall be pe   二litted to maintain heir shares oF Capital
            Stock,or Transfer heir shares oFCapital Stock to such Fowider'sim:nediate Family,or a trust or
            oher entiげ COntO‖ ed by or rbr he benerit of such Founder md′ or such Founder's ixШ nediate
            Family.In he event oFthe death,Incompeten∝ ,R前 rement or teminaton ofemployment with
            he Company oF a Founder for any reason oher han Cause,such Founder(in the casc oF
            絶mimtbn oFemployment For any reason oher hm Cause)夢 or Such Founder's su∝ essor,heir,
            or guardim,as applicable,shall appoint a repla∝ ment Dir∝ tor to the Board oF Directors as set
            Fotth in Secuon 2.6,and such replacement Director shali have one(1)Director Vote.

                   4,1l Transfers for Esttte Piamin里 山 m遼 .Notthstanding the prohibition attnst
            Transfers set fotth in this AHicie IV,a Founder may TransFer heir shares oF Capittl Stock,for
            estate pltuuling pu,oses to sald Founder's inl:nediate Family, or a mst,cOrporation, lignited
            liabiliv company or paHnership ContЮ lled by or for he benent Of such Founder or such
            Fowider'simm』随te Family,wittout requidng∞ mpliance前 th S∝tion 4.3.In addition,in he
            event oFsuch a TransFer,the Shareholders shan not have the■   8htS Set fbtth in Section 4.4..

                                                 ARTICLE V
                                     REPRESENTATIONS ANDヽ VARRANTIES

                     5.1                                                           Each of the Shreholders
            severally represents and warants to)he oher Shareholders and the Compを 4y hat:

                            (a)   Auhon伸 。 such Shareholder has ali requisite power to enter into his
            Agreement and to be bolind by he tems hereon This Agreement has been duly executed and
            del市ered by such Shareholde、 脱嗚been efF∝ tivety authorized by a‖ ne∝ ssary action on the paH
            of such Shareholder md∞ :istimtes such shareholder's iegal,valid and binding obligation,
            enforccable agalnst such Shareholder h accordan∝ wih its tems,except as enfor∝ abiliv mlay
            be suttect tO he application of general equね ble principles and to banmptty,insoivency,
            morato五 Rim or oher similar iaws arecting cttdito碍 '五 ghts genemlly.

                          (b) Attreements Noュ in Breach of Other ln― ents.he ex∝ ution and
            denveり 。FtMs Agreement,he consuttngnation oF the ttansacdons contemplated hettby and he
            色Ittliment ofhe telMis hettofwili not resultin a breach ofamy oFhe tems or pЮ visions ot or
            consdmte a deFauit undeL or conaict with(x)孤 v agttement,indentte or oner ins̲ent to
            which such Shareholder is a paHy or by前 ich such Sharehomer tt botind,(y)att judgment,
            decree)order or award ofany∞ 吼 goverttnenttl body,Govementtl Authority or arbittator by
            which such Shttholderis botind or(Z)舶 y Requirement of LEW applicable to such Shareholder.




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                           (C) K興 ね tOW ADDЮ VaIS.here are no consents,appЮ vals,auhorizations oF
             oher req面 rements presc五 bed by any applicable Requirement of Law hat must be obttined by
             such Shareholder or sadsned by such Shareholder in co:in∝ tion胡 th its execution,delivery md
             perfo.lBlance ofthis Agreement.

                            (d) No Letal Bar.¶ here is no suit actiOn or pЮ c∝ding pending oL to such
             Shareholder's knowiedge,hreatened against such Shareholder hat questions he validiり OfthiS
             Agreement,any of he transactions contemplated hereby or any action which has b∝ n taken by
             such Sttholder in connection here￢ 〃ith or in connection widh any of he ttansacdons
             ∞ntemplated hereby or that s∝ ks to ettoin thC∞ nsШ れmttiOn thereot

                                                      ARTICLE VI

                     6.l Books and Accounts。 コhe Company shall k∝ p,or shaII cause to be kept ttII,
             a∝ urate and me books and accolints of he Company's busi:less,in wHch each Company
             仕ansaction shall be ttlly and a∝ Шrately entered.The Board ofDirectors shall have he au血 o■ v
             to designate and rettin a rimn oF independent∝ rtined public comts to assist h he
             mainten甑 ∝ and preparation oFsuch books,records and repotts as the Board oF Dtttors deems
             desirable or as is required under any IRequirement ofLaw.

                     6.2 1nformation m2hs, he cOmpany shall pЮ vide reasonable access or∞ pies for
             re宙 ew to cach Shareholder ofhe Folio前 ng:(i)〔 mllal audited or reviewed anancin statemen偽 ,
             incitxHng a balance sttt as ofthe end oFsuch fiscal year,and a sttltement ofcash flows for such
             year wihin one hundred twenり (120)dayS OFthe close of each iscal year of he Company,(ii)
             linaud諏 』 quarterty Stiancial statements輔 hin hiHy(30)的 S Of he end of each ascal quarter
             of he Company,and(iii)any oher infomation ttasonably re■ uested by he Shareholder ttom
             time to tittleo Nayara shall have the ight to visit and insp∝ tthe Comptty's propeHies,examine
             its books oF a∝ ount ttd HHords and discuss he Company's arairs,anances and a∝ ourits wih
             he officers oF he Company,at reasonable dmes and on reasonable advance notice to he
             Compセmy.

                    6.3    Non‐ ComDete: No Shareholder shaⅢ , dwing he time such Shareholder is a
             Shareholder or employ∝ ofhe Compmy,md for a penod ofone(1)year follo胡 ng the later to
             o∝ ur of(i)he date such Shareholder is no longer a Shareholder of he Company and(it)Such
             Shareholder's employment with he Company is temin試 翻 ,前 血out he p五 or written consent of
             he Company,directty or indirecdy,and whether as principal,agent,omcer,directtt patter)
             employee,consuitantぅ bЮker,dealer or ohemse,EttOne or in association widi any other person,
             五ニュⅢ,corpomtiOn or other business organizatiott cary on,or be engagedヵ have an mterest in or
             take part in,or render sewices to any persom)fim,co中 o盟tion or other business organization
             (Oher than the Company)engaged in a business which偽 ∞mpetidve wi血 』i or patt oF he
             business ofhe Company.

                     6.4    ConfRdenial lnfoma■ on.Each Shareholder agrees diat he,she or it will utilize
             conndential lnfo.l二 lation(aS deintt below)sOlely For he pЩ ,ose of he business of he
             Compmy and w■ l make no oher inse oF Confidential lnfo▲ RRlatiOn. In ttHhemnce of the
             foregoing,no Shareholder shan direcdy Or indirectly divulge,communicate,use to the dettment



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                                                                                       of 166173
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             of the Company or for he benent OF any oher person or entiv Or misuse in any way,any
             cOnndentinI Infomation,includng,but not lim諏 』 to,personal information,forms,knowohow,
             client lists, technical data, business plans and industty analyses. For he puposes of世 is
             Agreement, Confidential lnformation"means htt information wMch is conndential and
             pЮ p五 ettry to he Company(includngぅ but not hmittd to,甘 ade Sccttts)and whCh dedves(Or
             may derive)eCOnOmic value to he Comptty by not being genemlly known to ohers,or which
             he Company is oherwise under m agreement ofconidentialiv with an unattliated hird paHy.
             Each Shttholder agrees hat he or it wili maintain ttd preseⅣ e the conidentialiv and seCrecy
             oF such Conndential lnfoHnation.In he event that a Shareholder shan receive a request to
             disciose ali or any part oF the Conrndential lnfoД 二
                                                                ElatiOn under he tenms oF a subpocna or order
             issued by a couH oF competent jЩ isdicdon,such Shareholder aBr∝ s,to he extent legally
             pe二 Ⅲlissibic to(i)pЮ mpdy nOd,he COmpany of he e濾 stence,temns md circlmstan∝ s
             suHowiding such a request(li)COriSuit wih he Company on he advisabiliげ of tattng iegally
             available steps to resist or narow such request・ and(m)if diSC10swe oF such infomation is
             時quired,exercise reasonable erotts tO obttin an order or other relね ble assurance hat
             ∞n■ dendal tteament前 1l be cordtt to such infomation and to reasonably∞ opemte wih he
             Company in any such erFori by die Company,at Comμ 4y's sole cost and expense.

                    6.5    Non‐ Solicitttion.For割 o long as a Shareholder is a Shareholder or employee of
             dte Company and for a pe■ od ofttenv fOur(24)monhS Following he laterto occw oF(i)he
             date such Shareholder is no longer a Shareholder of he Company and(ii)suCh Shareholder's
             employment就 血 he Company is teHninated,such Shareholder shali not,wihout he written
             pe二 ДBgiSSion ofthe Company or any Atthate・   directly or indrectly(i)sOliCit emp10y or retah,or
             have or calise any oher persom or entity to solicit,employee or retain,any otter Shareholder or
             oher person who is employed by he Company or(it)SOliCit he budness ofor pЮ 宙de sewi∝ s
             or products to any client(or pЮ Sp∝ t市 e client)of he cOmpany at tty time while such
             Shareholder was an employee or Shareholder ofhe Company.

                    6.6   Non‐ lDisDarattement.No Shareholder shallぅ directly or indir∝ tly,individually or
             in concert widh oners, knowingly engage in any conduct or make any statement hat is
             reasonably likely to have the erect oFundel‖ Bining or dispamging the reputttion ofhe Company
             or any AFriliate of he Company,or tte good wi1l of he Company or any Arriliate of he
             Cornpany,pЮ ducts,or business opporturlides,or that is reasonably likely to have the erF∞ t oF
             undermining or dis脚 鴫 ing the reputttion oF any o伍 ∝r,ditttor or employ∝ ,past or present
             of he Company or any ofits Attliates.This Section d∝ s notin my way resttct orimpede any
             Shareholder ttom exercising pЮ t∝ted rights,including rights wtter he National Labor
             Relations Act(NLRA)or he Federal secudties iaws,including he Dodd‐ Frank Act,to ne extent
             that such五 ghts cannot be w五 ved by agreement or ttom∞ mpけ ing甑 h any applttable law or
             regulation or a valid order oF a couH of∞ mpetent,1直 sdiCtiOn or m auhodzed 80Vermment
             agency.

                     6.7  Termination of Prior Shareholders'A2reements. Each oF the Shareholders and
             he Company agree that an shareholders'agreements among or between such patties or any of
             hem in rela苗 on to he Company and′ or its CapitaI Stock are hettby terminated and supettded
             and repla∝ d by his ABr∝ ment・




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                                                         ARTICLE VH
                                         EFttCTIVE DATE;TERM;TERMINATION
                     7.l      Erective Date,This A8朧 ment Shali b∝ ome調 飢 ve on the Erecdve Date.

                     7.2      Teュ ニ
                                  w. The obliga転 ons oF each patt hereunder shali renitun binding upon such
             patt untit such tme as:


                               (a) thiS Agreement has teminattd pursumtto Sectbn 7.3 hereot or

                           (b) SuCh paHy has Transfered ali of its Capittl Stock in the Company in
             ac∞ rdan∝ 萌 th he tems of this Agreement md the byぃ laws of he Company andね in
             complittice wih its obligations under his Agttmenti

                               provided that Sections 6.3‐ 6.6 shan suⅣ ive any temination oFdtis Agreement.

                    7.3 TeliBlination. Except as oheFWiSe expressly pЮ 宙ded herein,ths Agttement
             shan t伽 耐 mte and a‖ 五ghts and obligations hereulder shati∝ 暦 eD upOn he rlrsttO。 ∝ w ofany
             ofthe fbuowing events:

                               (a) he VOlunttry dissoluion ofhe cOmpany;or

                               (b) heヽ 甫 確 n agreement ofeach oFthe panies hedO tO such teminatiott or
                               (C)   he efFecdve date of an inidal puЫ   ic orering of shares of he Company's
             CapittI Stock,

                                                        ARTICLE VHI
                                                     MISCELLANEOUS
                    8.l       Enttt A宜 醸 ment, Ttt Agreemeni together witt he oner attments,
             insmments and docurnents expressly reFered to herein,∞ nstimte he endtt agreement of the
             paHies胡 血 respect to he mnsattions contemplatt hereby and supersede mi ttOr agttments
             md understandings萌 h respect hereto,wheher written or oral.

                    8.2 No W函 veR Amendment Modticationsin W五 dn空・ No Faユ llre or delay by a pany
             in exercising any dght,power or ttmedy hettunder shali operate as a wttver thereoi nOr sh孤 I
             any single or pattial exercise oF any such苗 ght power Or reHledy preclude any oher or a四 直her
             exettise hereofor he exercise ofany oher苗 ght,power or remedy.The remedies pro宙 ded For
             herein are cumuladve and are not exclusive oFany― edies that rnay be available to any patty at
             iaw orin eq岨 v or oherwiseo No wa市 er of or consent to any departば e by a paHy ttm any
             provision of this ABreement sha‖ be efFective uniess signed in削 輯ting by he panies entitled to
             he benent hereOt No amendment modificttion or ttmi斑 二           五on of any pЮ vision of tMs
             △8r∝ ment sh』 i be efFective ld鶴 signed in witing by Лl pames.Any mendment,
             S叫 ),lement or modin∝ tion of or to any pЮ 宙sion of his ABttement)any walver oF any
             pЮ vision ofms Agreement,and any consentto any depattre ttom he ttms ofany pЮ ttion of
             his Attment)Shall be erective Only in the sp∝ inc instance md for the specinc pЩ ,。 se fOr
             ゛Mch made or given.Notwihttnding anyhing to he∞ ntraty contained in his Agreement,he



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             Board oFDirectors ofthe Company ls hereby auhod潤 to amend Schedule i to this Agreement
             tO ren∝ t any changes to Schedule l made in accordm∝ win he temns of this ABreement
             including,(i)he addition or deletion of Shareholders,(ii)Changes h the number and′ or vpe of
             shares held by Shareholders,(tii)Changes in percenttge ownership and(iv)Changes ofaddress of
             a Shareholder Fnade at the request oFsuch Shareholder in wnting.

                    8.3    Notices. All notices,dcHlands and requests which may be or is requitt to be
             given under his ABreement shall be in widng md,shali be deemed to have been duly given,(i)
             when sent by reputable ovemight carier,(ii)When r∝ dved,rperson』 ly d』 市ered,or c市 )When
             sent by United States registered or∝ Hined m劇 ,retm receipt request翻 ,posttge prepared.Any
             such notices shall be addressed as Followsi

                            rtothe comomv: Dark Circuit Labs,Inc.
                                                    1900 Reston MetЮ Piaza
                                                    FI∞ rs 5‐ 6,
                                                    Restonぅ VA   20190

                            Ifto the Shareholder: Atthe respective addttsses set fbtt in Schedule l.

             Any pa守 に reto may change he addttss or addresses to which nodce is to be sent by giving
             前 tten notice to the oher patties in the rnanner provided lbr herein.

                    8.4     Ex∝ ution in CounterpaHs. This ABreement inay be executed in any nunber of
             ∞unterpatt md by diぼerent patties hereto on separatt comterpatts,cach ofwhich∞ unterpatts,
             when so executed and dehvered,shali be deemed to be an original and ali ofwhich counte￢ patts,
             協ken toge瞳,shall∞ nstittte but one and he same Agreement.

                    8.5 Bindm2 EfFect Assittnrnent.The五 ghtt and oЫigations of he pamies under his
             Agttement may not be assigned or onerwise ttnsfered to any oher Person,except(i)witt he
             prior w撤 en consent ofhe oher parties hereto and(ii)in∞ nnection前 h a TransFer of Cap協 1
             Stock of he Compatt by a Shareholder made m∞ mpliance胡 h』 l oF he provisions of his
             ABttement. Except as exp鸞 欝ly pro宙 ded in his ABreement,his Agttment shali not be
             cOnsmed so as to conFer any dght or benent upon any Peぉ on oher hm he pttesto his
             Agreement ttd hdr respective successos,pemitted assigns,heiぉ and personal ttpresentatives.
             This Agreement shall be binding upon and shall inure to he beneFit oF he parties hereto md
             heir respective suc∝ ssors,pemitted assiBns,hetrs and personal representttives.

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             docunents, insttuments and agreements and ttke such ttHher actions as may be reasonably
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             expenses hat each resp∝ dvely incurs萌 h respect to ne negOtintion,ex∝ ution and deliveД y of
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          CONFIDENTIALITY NON-COMPETITION AND PROTECTABLE RIGHTS
                                AGREEMENT

            This Confidentiality and Protectable Interest Agreement (the “Agreement”) is entered
  into this December 20th, 2021, between Dark Circuit Labs, Inc., a Delaware corporation (which
  together with its subsidiaries, affiliates, assigns and/or successors is “the Company” or the
  “Company”) and John Carpenter (the “Employee”). The purpose of this Agreement is to set forth
  certain reasonable restrictions related to active and prospective clients and referral sources of The
  Company as well as the Company’s Confidential Information and Trade Secrets. This agreement
  contains a limited “non-compete.”
            WHEREAS, the Company’s business (“Company Business”) is the development of
  cyber security products, software and services, or other lines of business that the Company enters
  (or has taken concrete steps to enter into in the near future) during the term of your association
  with the Company for third parties who utilize the Company’s offerings (“Clients”), which Clients
  do business with, or seek to utilize the services of the Company and/or its employees.
          WHEREAS, Company Business also includes the use of and interaction with referral
  sources of business from business and individuals who refer prospective or actual clients
  (“Referral Sources”).
            WHEREAS, the Company has expended substantial time, effort and financial resources
  on marketing, entertaining and servicing Clients, so as to develop and maintain those relationships,
  its brand, name and reputation in the marketplace. In doing so, the Company has generated and
  enjoys the expectation of continued patronage (“Goodwill”) from those Clients with whom it has
  done business and from prospective Clients with whom it is actively working to obtain new
  business and those individuals which refer business to the Company (“Referral Sources”) the loss
  of which will cause the Company irreparable harm. A “Prospective Client” or Referral Source
  shall mean one with whom the Company is or was working with to obtain new business at the
  relevant time period in question.
            WHEREAS, the Company has expended substantial time, effort and financial resources
  on identifying and developing business relationships with, negotiating terms for product and
  software development with, and working with third-party service providers of components and
  software for the Company’s products and services (“Service Providers”), so as to develop and
  maintain those relationships and to have its proprietary products and services created. In doing so,
  the Company has generated and enjoys the expectation of a continued working relationship with
  those Service Providers with whom it has done business and from prospective Service Providers
  with whom it is actively working to establish new business relationships (“Goodwill”) the loss of
  which will cause the Company irreparable harm. A “Prospective Service Provider” shall mean
  one with whom the Company is or was working with to establish a business relationship at the
  relevant time period in question.
            WHEREAS, the Company has expended substantial time, effort and financial resources
  in identifying, recruiting, hiring and retaining employees, the loss of whom will cause the
  Company irreparable harm.




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            WHEREAS, the Company has also acquired, maintains, and protects information that is
  not known publicly or readily available in the marketplace relating to Company Business including
  Clients, Service Providers and Referral Sources and which it regards as “Confidential
  Information,” and/or as “Trade Secrets”, as such terms are defined below, and Employee will
  have access to such Confidential Information and Trade Secrets of the Company in his or her or
  their role with the Employer.
         Now, in view of these considerations and the mutual obligations contained in this
  Agreement, the Parties further agree as follows:
  1.      Consideration. The Company may offer employment and/or receipt of an equity award or
  option to purchase equity to the Employee subject to the terms and conditions in an offer letter
  between the Company and Employee and other agreement governing the grant of equity or options
  to purchase equity. In the event of an inconsistency, the terms of this Agreement shall govern.
  Employee’s employment shall be at all times at-will, subject to the notice provisions herein.
  Employee acknowledges that any offer of employment is conditioned upon Employee entering
  into this Agreement and shall constitute sufficient and valid consideration to Employee for
  purposes of Employee entering into this Agreement.

  2.      Faithful and Diligent Performance; No Conflicts of Interest. Employee agrees to devote
  Employee’s full business time and attention to the performance of duties for the Company and to
  perform Employee’s duties for the Company faithfully and diligently, to act at all times while
  employed by the Company with undivided loyalty, and to refrain from engaging in any conduct
  while employed by the Company that involves a conflict of interest between employee’s personal
  or financial interests and the Company’s business interests, including obtain other employment or
  independent contractor work while employed by the Company unless Employee first fully
  discloses such conflict of interest to the Company and receives consent from the Company’s Chief
  Executive Officer, President or Chief Operating Officer (the Company’s “Contact Persons”) to
  engage in such conduct.

  3.           Confidentiality and Use of Confidential Information and Trade Secrets.

          (a) Confidential Information and Trade Secrets. The Employee and the Company
  agree that for the purposes of this Agreement, and in addition to any meaning that it may have
  under the common law, the term “Confidential Information” shall mean information belonging
  to or possessed by the Company, whether or not reduced to writing (or in a form from which such
  information can be obtained, translated or derived into reasonably usable form), that derives
  independent economic value from not being readily known to or ascertainable by proper means by
  others who can obtain economic value from the disclosure or use of such information, including
  without limitation, financial information, reports, and forecasts; improvements and other
  intellectual property owned by or relating to the Company; the buying practices of Clients or
  prospective Clients; the disclosures from or to Service Providers or prospective Service Providers;
  pricing offered to Clients or; pricing offered from Service Providers; the Company’s production,
  advertising, marketing and growth strategies, methods and research; the prices/rates/terms at which
  the Company obtains or has obtained, or sells or has sold its products or services; the Company’s
  sales, costs and sales methods; and business plans, prospects and opportunities (such as possible
  acquisitions or dispositions of businesses or facilities) that have been discussed or considered by

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  the management of the Company; the Company’s business systems and methodologies employed
  by the creation, delivery, maintenance and improvement of the Company’s product and services.
  Confidential Information also includes the confidential information of others, such as Clients and
  Service Providers with which Employee or the Company has a business relationship. Confidential
  Information shall also include any information that Employee is required to keep confidential
  pursuant to any ethical obligation or state or federal law, rule or regulation. Notwithstanding the
  foregoing, Confidential Information does not include documents in the public domain unless due
  to breach of Employee’s duties under the Agreement. Confidential Information, such as all forms
  and types of financial, business, scientific, technical, economic, or engineering information,
  including patterns, plans, compilations, program devices, formulas, designs, inventions, product
  drawings, designs and photographs, prototypes, methods, business systems, techniques, processes,
  procedures, programs, or codes, whether tangible or intangible, and whether or how stored,
  compiled, or memorialized physically, electronically, graphically, photographically, or in writing
  for which reasonable measures are taken to protect the information from disclosure and which
  derive independent economic value from not being generally known are referred to as “Trade
  Secrets”.

          (b) Use of Information During Employment. While employed by the Company,
  Employee shall not use any Confidential Information or Trade Secrets other than on behalf of and
  in furthering the business and business interest of the Company. Employee shall adhere to all rules
  and policies of the Company relating to maintaining and safeguarding Confidential Information
  from public disclosure or use by an individual or business, including those that compete for
  Company Business.
          (c)    Information if no Longer Employed. All documents, records, data, information
  and physical property, whether or not amounting to or containing Confidential Information or
  Trade Secrets, which are furnished to Employee by the Company or are produced by Employee in
  connection with Employee’s employment will be and remain the sole property of the Company.
  Employee is required to return to the Company all such materials and property, including any
  material or medium from which any Confidential Information or Trade Secrets may be ascertained
  or derived, as and when requested by the Company. In the event Employee shall no longer be
  employed by the Company, Employee shall not use or otherwise distribute or disseminate
  Confidential Information or Trade Secrets on his/her/their behalf or that of a third person. Upon
  the end of the employment relationship between the Employee and the Company, Employee shall
  immediately gather and return to the Company all Confidential Information and Trade Secrets in
  his/her/their possession or control. At the Company’s request, Employee shall delete all
  Confidential Information and Trade Secrets stored electronically which he/she/they maintains or
  has access to, including those residing in email accounts or on computers or portable electronic
  devices and shall remove from Employee’s electronic storage, email or networking sites (such as
  LinkedIn) any Confidential Information or Trade Secrets by deleting such contacts from such
  websites and not re-engineering same. It is the express intent of the Parties that if no longer
  employed by the Company, the Employee shall not use or have access to Confidential Information
  or Trade Secrets relating to Clients, Prospective Clients, Service Providers, Prospective Service
  Providers, and Referral Sources including those for which Employee had a pre-existing
  relationship that existed prior to employment by Company (or its subsidiaries, affiliates or
  predecessors) it being expressly understood and agreed that the goodwill in such relationships has
  been transferred and sold to the Company.

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            (d)    Defend Trade Secret Act Notice. An individual shall not be held criminally or
  civilly liable under any Federal or State trade secret law for the disclosure of a Trade Secret that
  is made in confidence to a Federal, State, or local government official, either directly or indirectly,
  or to an attorney; and is (i) solely for the purpose of reporting or investigating a suspected violation
  of law; or (ii) is made in a complaint or other document filed in a lawsuit or other proceeding, if
  such filing is made under seal. Further, an individual who files a lawsuit for retaliation by an
  employer for reporting a suspected violation of law may disclose the Trade Secret to the attorney
  of the individual and use the Trade Secret information in the court proceeding, if the individual
  (iii) files any document containing the Trade Secret under seal; and (iv) does not disclose the Trade
  Secret, except pursuant to court order.

  4.    No Diversion of Client, Prospective Client, Service Provider, Prospective Service
  Providers, and Referral Source Relationships.

           (a) During the course of Employee’s employment, Employee shall not, directly or
  indirectly: (i) solicit, accept an offer to do business with, service or divert any Clients, prospective
  Clients, Service Providers, prospective Service Providers, Referral Sources and/or Company
  Business for Employee’s personal benefit or that of a third-party or to the Company’s detriment
  or (ii) consistent with Employee’s duty of loyalty, work for another business which competes with
  the Company for Company Business including, without limitation, running, owning, managing,
  operating, controlling, being employed by, providing consulting services to, being a manager,
  officer, director or employee of, participating in, lending Employee’s name to, investing in, or
  being connected in any manner with the management, ownership, operation, or control of any
  business, venture or activity that performs competitive services with the Company.

          (b) In recognition of the Company’s interest in protecting its Goodwill interest in
  Clients, Prospective Clients, Service Providers, Prospective Service Providers and Referral Source
  relationships, Employee agrees that for a period of twelve (12) months after he/she is no longer
  employed, Employee shall not directly or indirectly, on behalf of himself/herself/themselves or a
  third party: solicit business of the same type or related to the Company Business from; accept an
  offer to do business of the same type or related to the Company Business with or referral from;
  provide services of the same type or related to the Company Business to; or induce the termination,
  non-renewal of, or reduction of business done or referred of any person or entity who, at the time
  Employee’s employment with the Company ended was a Client, Prospective Client, Service
  Provider, Prospective Service Provider, or Referral Source of the Company within the last twenty-
  four (24) month period prior to termination of Employee’s employment with the Company.

  5.       Non-Solicitation of Company Employees. Employee recognizes the desire of the
  Company to preserve its Goodwill, its Confidential Information and Trade Secrets through the
  continued services of its employees. While employed by the Company and for a period of twelve
  (12) months thereafter, Employee shall not (directly or indirectly or on behalf of himself/herself
  or a third party) solicit, assist or induce any then-current (a) employee; (b) independent contractor;
  or (c) consultant of the Company, to terminate or reduce his, her, their or its relationship with the
  Company or to become an employee, consultant or independent contractor with an entity other
  than the Company. Furthermore, Employee shall not (directly or indirectly on behalf of
  himself/herself or a third-party) hire as an employee, or engage as independent contractor or
  consultant, any former employee, consultant or independent contractor of the Company who was
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  employed or engaged by the Company at any time during the twelve (12) month period prior to
  such hiring or engagement.

  6.      Calculation of Time in Sections 4, 5 & 9. In the event of a breach of the Employee’s
  obligations in paragraphs 4, 5 or 9, the duration for which such breach is continuing shall be
  excluded from the period during which such obligations shall apply and such time period shall be
  extended thereby.

  7.           Representations & Acknowledgments.

               (a)        Representations. Employee represents to the Company that:

                       (i)   there are no restrictions, agreements or understandings whatsoever to which
               Employee is a party which would prevent, impair, restrict or make unlawful the execution
               of this Agreement or performance hereunder;

                      (ii)  Employee does not possess any confidential information or trade secrets of a
               former employer or other thirty-party; and

                       (iii)   in the course of employment with the Company, Employee will take no action
               to violate or infringe upon the intellectual property, confidentiality or ownership rights of
               any third-party.

                (b)       Acknowledgements. Employee acknowledges that:

                       (i)    Employee shall fill a role for Company which will allow Employee to
               create, maintain and foster unique and extraordinary close and trusting relationships with
               Clients, Prospective Clients, Service Providers, Prospective Service Providers, and/or
               Referral Sources or is expected to utilize the Company’s Confidential Information and
               Trade Secrets in performing the duties required by Employee’s position;

                       (ii)  Employee expressly waives any defense to the enforcement of paragraph 4
               of this agreement that Employee had a pre-existing relationship with any Client, Service
               Provider or Referral Source;

                      (iii)  Employee is not and will not be unduly burdened by the provisions and
               enforcement of this Agreement;

                       (iv)   the covenants set forth in Sections 4 and 5 are reasonable in all respects
               (including geography, scope and duration) and necessary for the protection of the
               legitimate protectable interests of the Company, including its Goodwill and are not
               overreaching; and

                      (v)    Employee has been given sufficient time to review and consider the terms of
               this Agreement and has been afforded the opportunity to consult with an attorney. By signing
               this Agreement, Employee has done so knowingly and voluntarily and without duress or
               coercion.

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  8.           Remedies for Breach.

          (a) In the event of any actual or threatened breach of any of the covenants contained in
  this Agreement, the Company shall be entitled to seek an injunction (temporary, preliminary and/or
  permanent) to enforce this Agreement, without the requirement of posting a bond or other form of
  collateral, and may also pursue any other available remedies available to it in law and/or equity.

         (b) Should the Company be a Prevailing Party in any litigation to enforce the terms of
  this Agreement, Employee shall be responsible for and pay the reasonable costs, fees and expenses
  of Company’s attorneys associated with such litigation, including appeals. The Company shall be a
  “Prevailing Party” if it obtains temporary, preliminary and/or permanent injunctive relief, or is
  awarded monetary damages for such breach or threatened breach.

               9.    Ownership of Inventions.

          (a)      Inventions Retained and Licensed. Employee has attached hereto, as Exhibit A,
  a complete list describing with particularity all Inventions (as defined below) that, as of the date
  of this Agreement: (i) Employee made or created, and/or (ii) are owned solely or jointly by
  Employee or belonging to Employee jointly with others or in which Employee has an interest, and
  that relate in any way to any of the Company’s actual or proposed businesses, products, services,
  or research and development, and which are not assigned to the Company hereunder (collectively,
  “Prior Inventions”); or, if no such list is attached, Employee represents that there are no such
  Inventions at the time of signing this Agreement, and to the extent such Inventions do exist and
  are not listed on Exhibit A, Employee hereby forever waive any and all rights or claims of
  ownership to such Inventions. Employee understands that Employee listing of any Inventions on
  Exhibit A does not constitute an acknowledgement by the Company of the existence or extent of
  such Inventions, nor of Employee’s ownership of such Inventions.

          (b)      Use or Incorporation of Inventions. If in the course of Employee’s employment
  or working with the Company, Employee uses or incorporates into any of the Company’s products,
  services, processes or machines any Invention not covered by Section 9(d) of this Agreement in
  which Employee has an interest, Employee will promptly so inform the Company in writing.
  Whether or not Employee gives such notice, Employee hereby irrevocably grants to the Company
  a nonexclusive, fully paid-up, royalty-free, assumable, perpetual, worldwide license, with right to
  transfer and to sublicense, to practice and exploit such Invention and to make, have made, copy,
  modify, make derivative works of, use, sell, import, and otherwise distribute such Invention under
  all applicable intellectual property laws without restriction of any kind.

          (c)    Inventions “Inventions” means discoveries, developments, concepts, designs,
  ideas, know how, modifications, improvements, derivative works, inventions, trade secrets and/or
  original works of authorship, whether or not patentable, copyrightable or otherwise legally
  protectable including, but is not limited to, any new product, machine, article of manufacture,
  biological material, method, procedure, process, technique, use, equipment, device, apparatus,
  system, compound, formulation, composition of matter, design or configuration of any kind, or
  any improvement thereon, and to differentiate, for purposes of the disclosure in Exhibit A are
  personal to the Employee and do not involve the Company. “Company Inventions” means any

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  and all Inventions that Employee may solely or jointly author, discover, develop, conceive, or
  reduce to practice during the Employee’s employment or working with the Company on or related
  to Company matters within the scope of Employee’s employment.

          (d)     Assignment of Company Inventions. Employee hereby assigns to the Company,
  or the Company’s designee, and agrees to promptly make full written disclosure to the Company
  of and to hold in trust for the sole right and benefit of the Company, all of Employee’s right, title
  and interest throughout the world in and to any and all Company Inventions and all patent,
  copyright, trademark, trade secret and other intellectual property rights therein. Employee hereby
  waives and irrevocably quitclaims to the Company or the Company’s designee any and all claims,
  of any nature whatsoever, that now have or may hereafter have for infringement of any and all
  Company Inventions. Employee further acknowledges that all Company Inventions that are made
  by Employee (solely or jointly with others) within the scope of and during the period of the
  Employee’s employment or working with the Company are “works made for hire” (to the greatest
  extent permitted by applicable law) and are compensated by Employee’s salary and benefits and
  any other consideration. Any assignment of Company Inventions includes all rights of attribution,
  paternity, integrity, modification, disclosure and withdrawal, and any other rights throughout the
  world that may be known as or referred to as “moral rights,” “artist’s rights,” “droit moral,” or the
  like (collectively, “Moral Rights”). To the extent that Moral Rights cannot be assigned under
  applicable law, Employee hereby waives and agree not to enforce any and all Moral Rights,
  including, without limitation, any limitation on subsequent modification, to the extent permitted
  under applicable law. If Employee has any rights to the Company Inventions, other than Moral
  Rights, that cannot be assigned to the Company, Employee hereby unconditionally and irrevocably
  grants to the Company during the term of such rights, an exclusive, irrevocable, perpetual,
  worldwide, fully paid and royalty-free license, with rights to sublicense through multiple levels of
  sublicensees, to reproduce, distribute, display, perform, prepare derivative works of and otherwise
  modify, make, have made, sell, offer to sell, import, practice methods, processes and procedures
  and otherwise use and exploit, such Company Inventions.

          (e)     Maintenance of Records. Employee agrees to keep and maintain adequate and
  current written records of all Company Inventions made or conceived by me (solely or jointly with
  others) during the term of the Employee’s employment or working with the Company. The records
  may be in the form of notes, sketches, drawings, flow charts, electronic data or recordings,
  laboratory notebooks, or any other format. The records will be available to and remain the sole
  property of the Company at all times. Employee agrees not to remove such records from the
  Company’s place of business except as expressly permitted by Company policy which may, from
  time to time, be revised at the sole election of the Company for the purpose of furthering the
  Company’s business. Employee agrees to deliver all such records (including any copies thereof)
  to the Company at the time of termination of the employee’s employment as provided for in this
  Agreement.

          (f)     Intellectual Property Rights. Employee agrees to assist the Company, or its
  designee in every proper way to secure the Company’s, or its designee’s, rights in the Company
  Inventions and any copyrights, patents, trademarks, mask work rights, Moral Rights, or other
  intellectual property rights relating thereto in any and all countries, including the disclosure to the
  Company or its designee of all pertinent information and data with respect thereto, the execution
  of all applications, specifications, oaths, assignments, recordations, and all other instruments

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   which the Company or its designee shall deem necessary in order to apply for, obtain, maintain
   and transfer such rights, or if not transferable, waive and agree never to assert such rights, and in
   order to assign and convey to the Company or its designee, and any successors, assigns and
   nominees the sole and exclusive right, title and interest in and to such Company Inventions, and
   any copyrights, patents, mask work rights or other intellectual property rights relating thereto.
   Employee further agrees that Employee’s obligation to execute or cause to be executed, when it is
   in Employee’s power to do so, any such instrument or papers shall continue during and at all times
   after the end of the Employee’s employment and until the expiration of the last such intellectual
   property right to expire in any country of the world. Employee hereby irrevocably designates and
   appoints the Company and its duly authorized officers and agents as Employee’s agent and
   attorney-in-fact, to act for and in Employee’s behalf and stead to execute and file any such
   instruments and papers and to do all other lawfully permitted acts to further the application for,
   prosecution, issuance, maintenance or transfer of letters patent, copyright, mask work and other
   registrations related to such Company Inventions. This power of attorney is coupled with an
   interest and shall not be affected by Employee’s subsequent incapacity.

   10.       [Limited Non-Compete Relating Solely to the Compliance with Option Grant. In the
   event the Employee terminates Employee’s employment with the Company, as a condition precedent
   for receiving the benefits of any grant of equity or option to purchase equity, Employee shall not,
   for a period of twelve (12) months after the end of employment work for a Company located within
   a twenty (20) mile radius of the Company’s office address located at 1900 Reston Metro Plaza,
   Reston, VA 20150 that competes with the Company for Company Business.

   11.       Limited Enforcement by The Company; Partial Invalidity. The Company shall have
   the option and right to enforce any provision in this Agreement to a partial, lesser and/or more limited
   extent than this Agreement provides, upon written notice to Employee. If any provision of this
   Agreement is declared to be void, invalid, or illegal, the parties request that such provision be
   partially enforced and modified by the court to most closely reflect the intent of the parties, to the
   fullest extent permitted by law. If any provision of this Agreement is declared to be unreasonable or
   excessively broad by a court, the parties request, to the fullest extent permitted by law, that the court
   interpret such provision in such a manner so as to provide the greatest degree of protection for the
   Company.

   12.       Governing Law and Consent to Jurisdiction. This Agreement shall be construed in
   accordance with and governed for all purposes by the laws of the State of Virginia without regard to
   principles involving the conflict of laws. Any dispute or controversy other than those involving the
   need for a temporary restraining order or a preliminary injunction arising out of or relating to this
   agreement and/or an Employee’s employment that could otherwise be resolved by a court shall be
   resolved through arbitration in accordance with the Employment Arbitration Rules of the American
   Arbitration Association, in which neither class actions nor collective actions will be permitted. The
   Employer shall pay any such filing fee if necessary to ensure that the AAA hears these disputes.
   Judgment upon the award may be entered in any court having jurisdiction. Both you and The
   Company give up any right to resolve a controversy through any other means, except for claims for
   injunctive relief relating to this Agreement and/or Employee’s employment such as requests for
   temporary restraining orders, and preliminary and/or permanent injunctions which shall first be
   heard in the state and federal courts located in the State of Virginia. Employee and the Company
   hereby consent to the jurisdiction and venue of such courts and irrevocably waive the necessity of

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   personal service of process and consent to service of process by overnight mail (UPS or FEDEX
   next day delivery).

           Neither Employee nor the Company will be able to sue in court in connection with
   monetary claims related to this agreement. This inability to sue in court includes, for example,
   claims based on federal statutes such as Title VII of the Civil Rights Act of 1964 and the Fair
   Labor Standards Act and claims based on statutes, common law causes of action and concerning
   compensation. If there is more than one such dispute between Employee and Company, all such
   disputes may be heard in a single arbitration proceeding. Disputes pertaining to different
   employees of Company will be heard in separate arbitration proceedings. Any arbitration shall be
   resolved under the Delaware Rapid Arbitration Act. Each party shall bear its own costs and fees
   in any legal dispute between them except in accordance with paragraph 8(b) of this Agreement or
   any statutory rights that Employee may have. Notwithstanding any language to the contrary in
   this agreement, the parties hereby agree that the award rendered by that arbitrator may be appealed
   pursuant to the AAA’s Optional Appellate Arbitration Rules (“Appellate Rules”); that the award
   rendered by the arbitrator(s) shall, at a minimum, be a reasoned award; and that the award shall
   not be considered final until after the time for filing the notice of appeal pursuant to the Appellate
   Rules has expired. Appeals must be initiated within thirty (30) days of receipt of an Underlying
   Award, as defined by Rule A-3 of the Appellate Rules, by filing a Notice of Appeal with any
   AAA office. Following the appeal process the decision rendered by the appeal tribunal may be
   entered in any court having jurisdiction thereof.

                13.   Miscellaneous.

           (a) This Agreement may be only amended by written agreement of the parties hereto, and
   no person, other than the Parties shall have any rights under or interest in this Agreement or the
   subject matter hereof.

           (b) No delay or omission by the Company in exercising any right under this Agreement
   will operate as a waiver of that or any other right. A waiver or consent given by the Company on
   any one occasion is effective only in that instance and will not be construed as a bar to or waiver of
   any right on any other occasion. No waiver shall be effective unless set forth in writing and signed
   by the party granting such waiver.

            (c)   Employee expressly acknowledges and agrees to be bound by the provisions of this
   Agreement for the benefit of the Company or any subsidiary or affiliate thereof to whose employ
   Employee may be transferred without the necessity that this Agreement be re-signed at the time of
   such transfer. This Agreement will inure to the benefit of the Company, its successors, and its
   assigns. Employee acknowledges and agrees that the Company may assign this Agreement to any
   of its subsidiaries, affiliates, or successors, at any time and without Employee’s further approval or
   consent. Employee further acknowledges and agrees that the Company may be merged or
   consolidated with another entity, and that such entity shall automatically succeed to the rights,
   powers, and obligations that the Company has under this Agreement, without Employee’s further
   approval or consent. Finally, Employee acknowledges and agrees that Employee’s obligations under
   this Agreement are personal and that Employee may not assign this Agreement.



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         (d) The headings or captions used in this Agreement are inserted only for the purpose of
   convenience and reference, and in no way define the scope or intent of any provision or part hereof.

          (e)   The unnumbered paragraphs on page 1, and paragraphs 2 through 13 shall survive
   both the termination of this Agreement and the end of the employment relationship between the
   Employee and the Company.

           (f)    The provisions of this Agreement are independent of and separable from each other,
   and no provision shall be affected or rendered invalid or unenforceable by virtue of the fact that for
   any reason any other or others of them may be invalid or unenforceable in whole or in part. In the
   event of any such prohibition or unenforceability, a court of appropriate jurisdiction is authorized
   to partially enforce, amend and/or sever any such provision to the minimum extent necessary to
   make such provision neither prohibited nor unenforceable.

          (g) This Agreement, together with any other agreement referenced herein (such as any
   Offer Letter or Employment Agreement), constitutes the entire agreement between the Parties with
   respect to subject matter hereof, and supersedes all prior and contemporaneous agreements,
   understandings and negotiations, both written and oral, between the Parties.

          (h) Employee understands that nothing in this Agreement is intended to restrict
   Employee’s rights to discuss wages and working conditions with co-workers, if any, or in any way
   limit Employee’s right to engage in concerted activity under the National Labor Relations Act, if
   any.



                                       [SIGNATURE PAGE FOLLOWS]




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                                                                               PageID#
                                                                                 of 166
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                                                                                        322
                                  PageID# 1027



           CONFIDENTIALITY NON-COMPETITION AND PROTECTABLE RIGHTS
                                 AGREEMENT

              This Confidentiality and Protectable Interest Agreement (the “Agreement”) is entered
   into this July 30, 2022, between Dark Circuit Labs, Inc., a Delaware corporation (which together
   with its subsidiaries, affiliates, assigns and/or successors is “the Company” or the “Company”)
   and Michael Frank (the “Employee”). The purpose of this Agreement is to set forth certain
   reasonable restrictions related to active and prospective clients and referral sources of The
   Company as well as the Company’s Confidential Information and Trade Secrets. This agreement
   contains a limited “non-compete.”
             WHEREAS, the Company’s business (“Company Business”) is the development of
   cyber security products, software and services, or other lines of business that the Company enters
   (or has taken concrete steps to enter into in the near future) during the term of your association
   with the Company for third parties who utilize the Company’s offerings (“Clients”), which Clients
   do business with, or seek to utilize the services of the Company and/or its employees.
           WHEREAS, Company Business also includes the use of and interaction with referral
   sources of business from business and individuals who refer prospective or actual clients
   (“Referral Sources”).
             WHEREAS, the Company has expended substantial time, effort and financial resources
   on marketing, entertaining and servicing Clients, so as to develop and maintain those relationships,
   its brand, name and reputation in the marketplace. In doing so, the Company has generated and
   enjoys the expectation of continued patronage (“Goodwill”) from those Clients with whom it has
   done business and from prospective Clients with whom it is actively working to obtain new
   business and those individuals which refer business to the Company (“Referral Sources”) the loss
   of which will cause the Company irreparable harm. A “Prospective Client” or Referral Source
   shall mean one with whom the Company is or was working with to obtain new business at the
   relevant time period in question.
             WHEREAS, the Company has expended substantial time, effort and financial resources
   on identifying and developing business relationships with, negotiating terms for product and
   software development with, and working with third-party service providers of components and
   software for the Company’s products and services (“Service Providers”), so as to develop and
   maintain those relationships and to have its proprietary products and services created. In doing so,
   the Company has generated and enjoys the expectation of a continued working relationship with
   those Service Providers with whom it has done business and from prospective Service Providers
   with whom it is actively working to establish new business relationships (“Goodwill”) the loss of
   which will cause the Company irreparable harm. A “Prospective Service Provider” shall mean
   one with whom the Company is or was working with to establish a business relationship at the
   relevant time period in question.
             WHEREAS, the Company has expended substantial time, effort and financial resources
   in identifying, recruiting, hiring and retaining employees, the loss of whom will cause the
   Company irreparable harm.




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                                                                                 of 166
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                                  PageID# 1028



             WHEREAS, the Company has also acquired, maintains, and protects information that is
   not known publicly or readily available in the marketplace relating to Company Business including
   Clients, Service Providers and Referral Sources and which it regards as “Confidential
   Information,” and/or as “Trade Secrets”, as such terms are defined below, and Employee will
   have access to such Confidential Information and Trade Secrets of the Company in his or her or
   their role with the Employer.
          Now, in view of these considerations and the mutual obligations contained in this
   Agreement, the Parties further agree as follows:
   1.      Consideration. The Company may offer employment and/or receipt of an equity award or
   option to purchase equity to the Employee subject to the terms and conditions in an offer letter
   between the Company and Employee and other agreement governing the grant of equity or options
   to purchase equity. In the event of an inconsistency, the terms of this Agreement shall govern.
   Employee’s employment shall be at all times at-will, subject to the notice provisions herein.
   Employee acknowledges that any offer of employment is conditioned upon Employee entering
   into this Agreement and shall constitute sufficient and valid consideration to Employee for
   purposes of Employee entering into this Agreement.

   2.      Faithful and Diligent Performance; No Conflicts of Interest. Employee agrees to devote
   Employee’s full business time and attention to the performance of duties for the Company and to
   perform Employee’s duties for the Company faithfully and diligently, to act at all times while
   employed by the Company with undivided loyalty, and to refrain from engaging in any conduct
   while employed by the Company that involves a conflict of interest between employee’s personal
   or financial interests and the Company’s business interests, including obtain other employment or
   independent contractor work while employed by the Company unless Employee first fully
   discloses such conflict of interest to the Company and receives consent from the Company’s Chief
   Executive Officer, President or Chief Operating Officer (the Company’s “Contact Persons”) to
   engage in such conduct.

   3.           Confidentiality and Use of Confidential Information and Trade Secrets.

           (a) Confidential Information and Trade Secrets. The Employee and the Company
   agree that for the purposes of this Agreement, and in addition to any meaning that it may have
   under the common law, the term “Confidential Information” shall mean information belonging
   to or possessed by the Company, whether or not reduced to writing (or in a form from which such
   information can be obtained, translated or derived into reasonably usable form), that derives
   independent economic value from not being readily known to or ascertainable by proper means by
   others who can obtain economic value from the disclosure or use of such information, including
   without limitation, financial information, reports, and forecasts; improvements and other
   intellectual property owned by or relating to the Company; the buying practices of Clients or
   prospective Clients; the disclosures from or to Service Providers or prospective Service Providers;
   pricing offered to Clients or; pricing offered from Service Providers; the Company’s production,
   advertising, marketing and growth strategies, methods and research; the prices/rates/terms at which
   the Company obtains or has obtained, or sells or has sold its products or services; the Company’s
   sales, costs and sales methods; and business plans, prospects and opportunities (such as possible
   acquisitions or dispositions of businesses or facilities) that have been discussed or considered by

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   the management of the Company; the Company’s business systems and methodologies employed
   by the creation, delivery, maintenance and improvement of the Company’s product and services.
   Confidential Information also includes the confidential information of others, such as Clients and
   Service Providers with which Employee or the Company has a business relationship. Confidential
   Information shall also include any information that Employee is required to keep confidential
   pursuant to any ethical obligation or state or federal law, rule or regulation. Notwithstanding the
   foregoing, Confidential Information does not include documents in the public domain unless due
   to breach of Employee’s duties under the Agreement. Confidential Information, such as all forms
   and types of financial, business, scientific, technical, economic, or engineering information,
   including patterns, plans, compilations, program devices, formulas, designs, inventions, product
   drawings, designs and photographs, prototypes, methods, business systems, techniques, processes,
   procedures, programs, or codes, whether tangible or intangible, and whether or how stored,
   compiled, or memorialized physically, electronically, graphically, photographically, or in writing
   for which reasonable measures are taken to protect the information from disclosure and which
   derive independent economic value from not being generally known are referred to as “Trade
   Secrets”.

           (b) Use of Information During Employment. While employed by the Company,
   Employee shall not use any Confidential Information or Trade Secrets other than on behalf of and
   in furthering the business and business interest of the Company. Employee shall adhere to all rules
   and policies of the Company relating to maintaining and safeguarding Confidential Information
   from public disclosure or use by an individual or business, including those that compete for
   Company Business.
           (c)    Information if no Longer Employed. All documents, records, data, information
   and physical property, whether or not amounting to or containing Confidential Information or
   Trade Secrets, which are furnished to Employee by the Company or are produced by Employee in
   connection with Employee’s employment will be and remain the sole property of the Company.
   Employee is required to return to the Company all such materials and property, including any
   material or medium from which any Confidential Information or Trade Secrets may be ascertained
   or derived, as and when requested by the Company. In the event Employee shall no longer be
   employed by the Company, Employee shall not use or otherwise distribute or disseminate
   Confidential Information or Trade Secrets on his/her/their behalf or that of a third person. Upon
   the end of the employment relationship between the Employee and the Company, Employee shall
   immediately gather and return to the Company all Confidential Information and Trade Secrets in
   his/her/their possession or control. At the Company’s request, Employee shall delete all
   Confidential Information and Trade Secrets stored electronically which he/she/they maintains or
   has access to, including those residing in email accounts or on computers or portable electronic
   devices and shall remove from Employee’s electronic storage, email or networking sites (such as
   LinkedIn) any Confidential Information or Trade Secrets by deleting such contacts from such
   websites and not re-engineering same. It is the express intent of the Parties that if no longer
   employed by the Company, the Employee shall not use or have access to Confidential Information
   or Trade Secrets relating to Clients, Prospective Clients, Service Providers, Prospective Service
   Providers, and Referral Sources including those for which Employee had a pre-existing
   relationship that existed prior to employment by Company (or its subsidiaries, affiliates or
   predecessors) it being expressly understood and agreed that the goodwill in such relationships has
   been transferred and sold to the Company.

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             (d)    Defend Trade Secret Act Notice. An individual shall not be held criminally or
   civilly liable under any Federal or State trade secret law for the disclosure of a Trade Secret that
   is made in confidence to a Federal, State, or local government official, either directly or indirectly,
   or to an attorney; and is (i) solely for the purpose of reporting or investigating a suspected violation
   of law; or (ii) is made in a complaint or other document filed in a lawsuit or other proceeding, if
   such filing is made under seal. Further, an individual who files a lawsuit for retaliation by an
   employer for reporting a suspected violation of law may disclose the Trade Secret to the attorney
   of the individual and use the Trade Secret information in the court proceeding, if the individual
   (iii) files any document containing the Trade Secret under seal; and (iv) does not disclose the Trade
   Secret, except pursuant to court order.

   4.    No Diversion of Client, Prospective Client, Service Provider, Prospective Service
   Providers, and Referral Source Relationships.

            (a) During the course of Employee’s employment, Employee shall not, directly or
   indirectly: (i) solicit, accept an offer to do business with, service or divert any Clients, prospective
   Clients, Service Providers, prospective Service Providers, Referral Sources and/or Company
   Business for Employee’s personal benefit or that of a third-party or to the Company’s detriment
   or (ii) consistent with Employee’s duty of loyalty, work for another business which competes with
   the Company for Company Business including, without limitation, running, owning, managing,
   operating, controlling, being employed by, providing consulting services to, being a manager,
   officer, director or employee of, participating in, lending Employee’s name to, investing in, or
   being connected in any manner with the management, ownership, operation, or control of any
   business, venture or activity that performs competitive services with the Company.

           (b) In recognition of the Company’s interest in protecting its Goodwill interest in
   Clients, Prospective Clients, Service Providers, Prospective Service Providers and Referral Source
   relationships, Employee agrees that for a period of twelve (12) months after he/she is no longer
   employed, Employee shall not directly or indirectly, on behalf of himself/herself/themselves or a
   third party: solicit business of the same type or related to the Company Business from; accept an
   offer to do business of the same type or related to the Company Business with or referral from;
   provide services of the same type or related to the Company Business to; or induce the termination,
   non-renewal of, or reduction of business done or referred of any person or entity who, at the time
   Employee’s employment with the Company ended was a Client, Prospective Client, Service
   Provider, Prospective Service Provider, or Referral Source of the Company within the last twenty-
   four (24) month period prior to termination of Employee’s employment with the Company.

   5.       Non-Solicitation of Company Employees. Employee recognizes the desire of the
   Company to preserve its Goodwill, its Confidential Information and Trade Secrets through the
   continued services of its employees. While employed by the Company and for a period of twelve
   (12) months thereafter, Employee shall not (directly or indirectly or on behalf of himself/herself
   or a third party) solicit, assist or induce any then-current (a) employee; (b) independent contractor;
   or (c) consultant of the Company, to terminate or reduce his, her, their or its relationship with the
   Company or to become an employee, consultant or independent contractor with an entity other
   than the Company. Furthermore, Employee shall not (directly or indirectly on behalf of
   himself/herself or a third-party) hire as an employee, or engage as independent contractor or
   consultant, any former employee, consultant or independent contractor of the Company who was
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   employed or engaged by the Company at any time during the twelve (12) month period prior to
   such hiring or engagement.

   6.      Calculation of Time in Sections 4, 5 & 9. In the event of a breach of the Employee’s
   obligations in paragraphs 4, 5 or 9, the duration for which such breach is continuing shall be
   excluded from the period during which such obligations shall apply and such time period shall be
   extended thereby.

   7.           Representations & Acknowledgments.

                (a)        Representations. Employee represents to the Company that:

                        (i)   there are no restrictions, agreements or understandings whatsoever to which
                Employee is a party which would prevent, impair, restrict or make unlawful the execution
                of this Agreement or performance hereunder;

                       (ii)  Employee does not possess any confidential information or trade secrets of a
                former employer or other thirty-party; and

                        (iii)   in the course of employment with the Company, Employee will take no action
                to violate or infringe upon the intellectual property, confidentiality or ownership rights of
                any third-party.

                 (b)       Acknowledgements. Employee acknowledges that:

                        (i)    Employee shall fill a role for Company which will allow Employee to
                create, maintain and foster unique and extraordinary close and trusting relationships with
                Clients, Prospective Clients, Service Providers, Prospective Service Providers, and/or
                Referral Sources or is expected to utilize the Company’s Confidential Information and
                Trade Secrets in performing the duties required by Employee’s position;

                        (ii)  Employee expressly waives any defense to the enforcement of paragraph 4
                of this agreement that Employee had a pre-existing relationship with any Client, Service
                Provider or Referral Source;

                       (iii)  Employee is not and will not be unduly burdened by the provisions and
                enforcement of this Agreement;

                        (iv)   the covenants set forth in Sections 4 and 5 are reasonable in all respects
                (including geography, scope and duration) and necessary for the protection of the
                legitimate protectable interests of the Company, including its Goodwill and are not
                overreaching; and

                       (v)    Employee has been given sufficient time to review and consider the terms of
                this Agreement and has been afforded the opportunity to consult with an attorney. By signing
                this Agreement, Employee has done so knowingly and voluntarily and without duress or
                coercion.

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   8.           Remedies for Breach.

           (a) In the event of any actual or threatened breach of any of the covenants contained in
   this Agreement, the Company shall be entitled to seek an injunction (temporary, preliminary and/or
   permanent) to enforce this Agreement, without the requirement of posting a bond or other form of
   collateral, and may also pursue any other available remedies available to it in law and/or equity.

          (b) Should the Company be a Prevailing Party in any litigation to enforce the terms of
   this Agreement, Employee shall be responsible for and pay the reasonable costs, fees and expenses
   of Company’s attorneys associated with such litigation, including appeals. The Company shall be a
   “Prevailing Party” if it obtains temporary, preliminary and/or permanent injunctive relief, or is
   awarded monetary damages for such breach or threatened breach.

                9.    Ownership of Inventions.

           (a)      Inventions Retained and Licensed. Employee has attached hereto, as Exhibit A,
   a complete list describing with particularity all Inventions (as defined below) that, as of the date
   of this Agreement: (i) Employee made or created, and/or (ii) are owned solely or jointly by
   Employee or belonging to Employee jointly with others or in which Employee has an interest, and
   that relate in any way to any of the Company’s actual or proposed businesses, products, services,
   or research and development, and which are not assigned to the Company hereunder (collectively,
   “Prior Inventions”); or, if no such list is attached, Employee represents that there are no such
   Inventions at the time of signing this Agreement, and to the extent such Inventions do exist and
   are not listed on Exhibit A, Employee hereby forever waive any and all rights or claims of
   ownership to such Inventions. Employee understands that Employee listing of any Inventions on
   Exhibit A does not constitute an acknowledgement by the Company of the existence or extent of
   such Inventions, nor of Employee’s ownership of such Inventions.

           (b)      Use or Incorporation of Inventions. If in the course of Employee’s employment
   or working with the Company, Employee uses or incorporates into any of the Company’s products,
   services, processes or machines any Invention not covered by Section 9(d) of this Agreement in
   which Employee has an interest, Employee will promptly so inform the Company in writing.
   Whether or not Employee gives such notice, Employee hereby irrevocably grants to the Company
   a nonexclusive, fully paid-up, royalty-free, assumable, perpetual, worldwide license, with right to
   transfer and to sublicense, to practice and exploit such Invention and to make, have made, copy,
   modify, make derivative works of, use, sell, import, and otherwise distribute such Invention under
   all applicable intellectual property laws without restriction of any kind.

           (c)    Inventions “Inventions” means discoveries, developments, concepts, designs,
   ideas, know how, modifications, improvements, derivative works, inventions, trade secrets and/or
   original works of authorship, whether or not patentable, copyrightable or otherwise legally
   protectable including, but is not limited to, any new product, machine, article of manufacture,
   biological material, method, procedure, process, technique, use, equipment, device, apparatus,
   system, compound, formulation, composition of matter, design or configuration of any kind, or
   any improvement thereon, and to differentiate, for purposes of the disclosure in Exhibit A are
   personal to the Employee and do not involve the Company. “Company Inventions” means any

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   and all Inventions that Employee may solely or jointly author, discover, develop, conceive, or
   reduce to practice during the Employee’s employment or working with the Company on or related
   to Company matters within the scope of Employee’s employment.

           (d)     Assignment of Company Inventions. Employee hereby assigns to the Company,
   or the Company’s designee, and agrees to promptly make full written disclosure to the Company
   of and to hold in trust for the sole right and benefit of the Company, all of Employee’s right, title
   and interest throughout the world in and to any and all Company Inventions and all patent,
   copyright, trademark, trade secret and other intellectual property rights therein. Employee hereby
   waives and irrevocably quitclaims to the Company or the Company’s designee any and all claims,
   of any nature whatsoever, that now have or may hereafter have for infringement of any and all
   Company Inventions. Employee further acknowledges that all Company Inventions that are made
   by Employee (solely or jointly with others) within the scope of and during the period of the
   Employee’s employment or working with the Company are “works made for hire” (to the greatest
   extent permitted by applicable law) and are compensated by Employee’s salary and benefits and
   any other consideration. Any assignment of Company Inventions includes all rights of attribution,
   paternity, integrity, modification, disclosure and withdrawal, and any other rights throughout the
   world that may be known as or referred to as “moral rights,” “artist’s rights,” “droit moral,” or the
   like (collectively, “Moral Rights”). To the extent that Moral Rights cannot be assigned under
   applicable law, Employee hereby waives and agree not to enforce any and all Moral Rights,
   including, without limitation, any limitation on subsequent modification, to the extent permitted
   under applicable law. If Employee has any rights to the Company Inventions, other than Moral
   Rights, that cannot be assigned to the Company, Employee hereby unconditionally and irrevocably
   grants to the Company during the term of such rights, an exclusive, irrevocable, perpetual,
   worldwide, fully paid and royalty-free license, with rights to sublicense through multiple levels of
   sublicensees, to reproduce, distribute, display, perform, prepare derivative works of and otherwise
   modify, make, have made, sell, offer to sell, import, practice methods, processes and procedures
   and otherwise use and exploit, such Company Inventions.

           (e)     Maintenance of Records. Employee agrees to keep and maintain adequate and
   current written records of all Company Inventions made or conceived by me (solely or jointly with
   others) during the term of the Employee’s employment or working with the Company. The records
   may be in the form of notes, sketches, drawings, flow charts, electronic data or recordings,
   laboratory notebooks, or any other format. The records will be available to and remain the sole
   property of the Company at all times. Employee agrees not to remove such records from the
   Company’s place of business except as expressly permitted by Company policy which may, from
   time to time, be revised at the sole election of the Company for the purpose of furthering the
   Company’s business. Employee agrees to deliver all such records (including any copies thereof)
   to the Company at the time of termination of the employee’s employment as provided for in this
   Agreement.

           (f)     Intellectual Property Rights. Employee agrees to assist the Company, or its
   designee in every proper way to secure the Company’s, or its designee’s, rights in the Company
   Inventions and any copyrights, patents, trademarks, mask work rights, Moral Rights, or other
   intellectual property rights relating thereto in any and all countries, including the disclosure to the
   Company or its designee of all pertinent information and data with respect thereto, the execution
   of all applications, specifications, oaths, assignments, recordations, and all other instruments

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                                  PageID# 1034



   which the Company or its designee shall deem necessary in order to apply for, obtain, maintain
   and transfer such rights, or if not transferable, waive and agree never to assert such rights, and in
   order to assign and convey to the Company or its designee, and any successors, assigns and
   nominees the sole and exclusive right, title and interest in and to such Company Inventions, and
   any copyrights, patents, mask work rights or other intellectual property rights relating thereto.
   Employee further agrees that Employee’s obligation to execute or cause to be executed, when it is
   in Employee’s power to do so, any such instrument or papers shall continue during and at all times
   after the end of the Employee’s employment and until the expiration of the last such intellectual
   property right to expire in any country of the world. Employee hereby irrevocably designates and
   appoints the Company and its duly authorized officers and agents as Employee’s agent and
   attorney-in-fact, to act for and in Employee’s behalf and stead to execute and file any such
   instruments and papers and to do all other lawfully permitted acts to further the application for,
   prosecution, issuance, maintenance or transfer of letters patent, copyright, mask work and other
   registrations related to such Company Inventions. This power of attorney is coupled with an
   interest and shall not be affected by Employee’s subsequent incapacity.

   10.        [Limited Non-Compete Relating Solely to the Compliance with Option Grant. In the
   event the Employee terminates Employee’s employment with the Company, as a condition precedent
   for receiving the benefits of any grant of equity or option to purchase equity, Employee shall not,
   for a period of twelve (12) months after the end of employment work for a Company located within
   a thirty (30) mile radius of the Company’s office address located at 1900 Reston Metro Plaza, Suite
   600, Reston VA, 20191, that competes with the Company for Company Business.]

   11.       Limited Enforcement by The Company; Partial Invalidity. The Company shall have
   the option and right to enforce any provision in this Agreement to a partial, lesser and/or more limited
   extent than this Agreement provides, upon written notice to Employee. If any provision of this
   Agreement is declared to be void, invalid, or illegal, the parties request that such provision be
   partially enforced and modified by the court to most closely reflect the intent of the parties, to the
   fullest extent permitted by law. If any provision of this Agreement is declared to be unreasonable or
   excessively broad by a court, the parties request, to the fullest extent permitted by law, that the court
   interpret such provision in such a manner so as to provide the greatest degree of protection for the
   Company.

   12.       Governing Law and Consent to Jurisdiction. This Agreement shall be construed in
   accordance with and governed for all purposes by the laws of the State of Virginia without regard to
   principles involving the conflict of laws. Any dispute or controversy other than those involving the
   need for a temporary restraining order or a preliminary injunction arising out of or relating to this
   agreement and/or an Employee’s employment that could otherwise be resolved by a court shall be
   resolved through arbitration in accordance with the Employment Arbitration Rules of the American
   Arbitration Association, in which neither class actions nor collective actions will be permitted. The
   Employer shall pay any such filing fee if necessary to ensure that the AAA hears these disputes.
   Judgment upon the award may be entered in any court having jurisdiction. Both you and The
   Company give up any right to resolve a controversy through any other means, except for claims for
   injunctive relief relating to this Agreement and/or Employee’s employment such as requests for
   temporary restraining orders, and preliminary and/or permanent injunctions which shall first be
   heard in the state and federal courts located in the State of Virginia. Employee and the Company
   hereby consent to the jurisdiction and venue of such courts and irrevocably waive the necessity of

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   personal service of process and consent to service of process by overnight mail (UPS or FEDEX
   next day delivery).

           Neither Employee nor the Company will be able to sue in court in connection with
   monetary claims related to this agreement. This inability to sue in court includes, for example,
   claims based on federal statutes such as Title VII of the Civil Rights Act of 1964 and the Fair
   Labor Standards Act and claims based on statutes, common law causes of action and concerning
   compensation. If there is more than one such dispute between Employee and Company, all such
   disputes may be heard in a single arbitration proceeding. Disputes pertaining to different
   employees of Company will be heard in separate arbitration proceedings. Any arbitration shall be
   resolved under the Delaware Rapid Arbitration Act Each party shall bear its own costs and fees
   in any legal dispute between them except in accordance with paragraph 8(b) of this Agreement or
   any statutory rights that Employee may have. Notwithstanding any language to the contrary in
   this agreement, the parties hereby agree that the award rendered by that arbitrator may be appealed
   pursuant to the AAA’s Optional Appellate Arbitration Rules (“Appellate Rules”); that the award
   rendered by the arbitrator(s) shall, at a minimum, be a reasoned award; and that the award shall
   not be considered final until after the time for filing the notice of appeal pursuant to the Appellate
   Rules has expired. Appeals must be initiated within thirty (30) days of receipt of an Underlying
   Award, as defined by Rule A-3 of the Appellate Rules, by filing a Notice of Appeal with any
   AAA office. Following the appeal process the decision rendered by the appeal tribunal may be
   entered in any court having jurisdiction thereof.

                13.   Miscellaneous.

           (a) This Agreement may be only amended by written agreement of the parties hereto, and
   no person, other than the Parties shall have any rights under or interest in this Agreement or the
   subject matter hereof.

           (b) No delay or omission by the Company in exercising any right under this Agreement
   will operate as a waiver of that or any other right. A waiver or consent given by the Company on
   any one occasion is effective only in that instance and will not be construed as a bar to or waiver of
   any right on any other occasion. No waiver shall be effective unless set forth in writing and signed
   by the party granting such waiver.

            (c)   Employee expressly acknowledges and agrees to be bound by the provisions of this
   Agreement for the benefit of the Company or any subsidiary or affiliate thereof to whose employ
   Employee may be transferred without the necessity that this Agreement be re-signed at the time of
   such transfer. This Agreement will inure to the benefit of the Company, its successors, and its
   assigns. Employee acknowledges and agrees that the Company may assign this Agreement to any
   of its subsidiaries, affiliates, or successors, at any time and without Employee’s further approval or
   consent. Employee further acknowledges and agrees that the Company may be merged or
   consolidated with another entity, and that such entity shall automatically succeed to the rights,
   powers, and obligations that the Company has under this Agreement, without Employee’s further
   approval or consent. Finally, Employee acknowledges and agrees that Employee’s obligations under
   this Agreement are personal and that Employee may not assign this Agreement.



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                                                                 11Page
                                                                    of 12
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                                                                                     331
                                  PageID# 1036



         (d) The headings or captions used in this Agreement are inserted only for the purpose of
   convenience and reference, and in no way define the scope or intent of any provision or part hereof.

          (e)   The unnumbered paragraphs on page 1, and paragraphs 2 through 13 shall survive
   both the termination of this Agreement and the end of the employment relationship between the
   Employee and the Company.

           (f)    The provisions of this Agreement are independent of and separable from each other,
   and no provision shall be affected or rendered invalid or unenforceable by virtue of the fact that for
   any reason any other or others of them may be invalid or unenforceable in whole or in part. In the
   event of any such prohibition or unenforceability, a court of appropriate jurisdiction is authorized
   to partially enforce, amend and/or sever any such provision to the minimum extent necessary to
   make such provision neither prohibited nor unenforceable.

          (g) This Agreement, together with any other agreement referenced herein (such as any
   Offer Letter or Employment Agreement), constitutes the entire agreement between the Parties with
   respect to subject matter hereof, and supersedes all prior and contemporaneous agreements,
   understandings and negotiations, both written and oral, between the Parties.

          (h) Employee understands that nothing in this Agreement is intended to restrict
   Employee’s rights to discuss wages and working conditions with co-workers, if any, or in any way
   limit Employee’s right to engage in concerted activity under the National Labor Relations Act, if
   any.



                                       [SIGNATURE PAGE FOLLOWS]




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                                                                              of 166204
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                                  PageID# 1037



   BY SIGNING THIS AGREEMENT, I ACKNOWLEDGE THAT I HAVE READ AND
   UNDERSTAND ALL OF ITS PROVISIONS AND THAT I AGREE TO BE FULLY BOUND
   BY THE SAME.

   EMPLOYEE:                            DARK CIRCUIT LABS, INC.


   By: _____________________________    By: ____________________________________
   Name:                                Name: Ronald Pelkey
                                        Title: President and Chief Operating Officer

   Address:

    904 Elden St
    Herndon, VA 20170

   Email: m.afrank@yahoo.com




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                                                          Page 1Page
                                                                 of 2 PageID#
                                                                      161 of 166
                                                                               333
                                PageID# 1038




          EXHIBIT 3
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 Case1:23-cv-00476-LMB-LRV
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                                          Filed 04/12/23
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                                                          Page 2Page
                                                                 of 2 PageID#
                                                                      162 of 166
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                                PageID# 1039




    Eric                              Missimer                               REDACTED

    237 West St

    Mansfield                      MA                 02048
         REDACTED

         REDACTED

         REDACTED




                                                                                                    REDACTED
                                                                                                    REDACTED
                                                                                                    REDACTED
                                                                                                    REDACTED




                                                                  REDACTED
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                                                                           11/03/2021




     Dark Circuit Labs, Inc.
     1900 Reston Metro Plz     Reston VA 20190-5952           11/12/2021    REDACTED
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                                                          Page 1Page
                                                                 of 2 PageID#
                                                                      163 of 166
                                                                               335
                                PageID# 1040




          EXHIBIT 4
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        Case1:23-cv-00476-LMB-LRV
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                                                                 Page 2Page
                                                                        of 2 PageID#
                                                                             164 of 166
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                                       PageID# 1041
          Dark Circuit Labs, Inc.
          1900 Reston Metro Plz
          Reston VA 20190-5952


                                                                                                 Pay Stub Detail
                                                                                              PAY DATE: 12/30/2022
                                                                                               NET PAY: REDACTED

          *Eric Missimer
          237 West St
          Mansfield MA 02048




EMPLOYER                                                       PAY PERIOD
Dark Circuit Labs, Inc.                                        Period Beginning                   12/10/2022
1900 Reston Metro Plz                                          Period Ending:                     12/23/2022
Reston VA 20190-5952                                           Pay Date:                          12/30/2022


                                                               OTHER PAY/CONTRIBUTIONS              Current    Year To Date
                                                               401k
EMPLOYEE
*Eric Missimer                                                 Guideline Traditional 401(k)        REDACTED
237 West St
Mansfield MA 02048



BENEFITS                      Accrued       Used   Available
Paid time off                                                                                                    REDACTED
                              REDACTED                         NET PAY:
                                                                        REDACTED
                                                                                                                 REDACTED
                                                               Acct#....       :


MEMO:




PAY                   Hours   Rate      Current      YTD       DEDUCTIONS                              Current         YTD
Salary                    -      -                             Roth 401k
Paid time off             -      -   REDACTED                  Guideline Roth 401(k)                  REDACTED
Holiday Pay               -      -                             Guideline Traditional 401(k)
Bonus                     -      -   REDACTED                  Accident Insurance Coverage            REDACTED
Reimbursement             -      -




TAXES                                   Current      YTD
Federal Income Tax                                             SUMMARY                             Current           YTD
Social Security                      REDACTED                  Total Pay
Medicare
VA Income Tax                        REDACTED                  Taxes
                                                               Deductions
                                                                                                REDACTED
MA Income Tax

                                                               Net Pay                        REDACTED
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                                                          Page 1Page
                                                                 of 2 PageID#
                                                                      165 of 166
                                                                               337
                                PageID# 1042



 V I R G I N I A:

                      IN THE CIRCUIT COURT OF FAIRFAX COUNTY


                                                   )
  ERIC MISSIMER,                                   )
                                                   )
                                                   )
                     Plaintiff,                    )
                                                   )
          v.                                       )     Case No.    2023-5543
                                                   )
  DARK CIRCUIT LABS, INC.,                         )
                                                   )
                                                   )
                    Defendant.                     )
                                                   )


                                     NOTICE OF REMOVAL

        PLEASE TAKE NOTICE that Defendant Dark Circuit Labs, Inc. has removed this case

 to the United States District Court for the Eastern District of Virginia, Alexandria Division, having

 filed a Notice of and Petition for Removal (annexed hereto as Exhibit “A”) in said District Court

 on the 11th day of April 2023.

 Division.

 Dated: April 11, 2023                         Respectfully submitted,


                                               __________________________________
                                               Steven J. Weber, VSB No. 35573
                                               Gregory R. Begg, Pro Hac Vice (pending)
                                               Lauren Rayner Davis, Pro Hac Vice (pending)
                                               Peckar & Abramson, P.C.
                                               2055 L Street, NW, Suite 750
                                               Washington, DC 20036
                                               Telephone: (202) 293-8815
                                               Facsimile: (202) 293-7994
                                               SWeber@pecklaw.com
                                               GBegg@pecklaw.com
                                               LDavis@pecklaw.com
                                               Attorneys for Defendant Dark Circuit Labs, Inc.
Case
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                                                Filed 04/12/23
                                                          Page 2Page
                                                                 of 2 PageID#
                                                                      166 of 166
                                                                               338
                                PageID# 1043



                                CERTIFICATE OF SERVICE

        I hereby certify that, on this date, I electronically filed the foregoing Notice of

 Removal, and its Exhibit thereto, with the Clerk of the Court via the Court’s electronic filing

 system and served a copy of Notice of Removal via electronic mail and Federal Express upon

 counsel for Plaintiff as follows:

        Broderick C. Dunn, Esq.
        COOK CRAIG & FRANCUZENKO, PLLC
        3050 Chain Bridge Road, Suite 200
        Fairfax, VA 22030
        (703) 865-7480
        bdunn@cookcraig.com
        Attorneys for Plaintiff Eric Missimer

 Dated: April 11, 2023
                                                  Steven J. Weber, VSB No. 35573




                                                  2
